Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 1 of 187 PageID 1




                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                        ORLANDO DIVISION

HEMOSTEMIX INC.,

                  Plaintiff,                    Case No.
v.

KYLE MAKOFKA, an individual, JED M.
WOOD, an individual, BLAKE WOOD, an
individual, RANDI WOOD, an individual,          JURY TRIAL
ALAN JACOBS, MD, an individual,                 DEMANDED
REGINALD COOPER, an individual,
KINGSMAN SCIENTIFIC MANAGEMENT
INC., an Alberta, Canada corporation, ASPIRE
HEALTH SCIENCE, LLC, a Florida limited
liability company, and AJIA GLOBAL
SERVICES, LLC, a Delaware limited liability
company,

                  Defendants.
                                          /

                                COMPLAINT

      Plaintiff HEMOSTEMIX INC. (“Hemostemix” or “the Company”), hereby

files this Complaint for damages and injunctive relief against Defendants KYLE

MAKOFKA, an individual (“Makofka”), JED M. WOOD, an individual (“Jed

Wood”), BLAKE WOOD, an individual (“Blake Wood”), RANDI WOOD, an

individual (“Randi Wood”), ALAN JACOBS, MD., an individual (“Jacobs”),

REGINALD COOPER, an individual (“Cooper”), KINGSMAN SCIENTIFIC

MANAGEMENT INC., an Alberta, Canada corporation (“KSM”), ASPIRE

                                      1
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 2 of 187 PageID 2




HEALTH SCIENCE, LLC, a Florida limited liability company (“Aspire”), and

AJIA GLOBAL SERVICES, LLC, a Delaware limited liability company (“AJIA”)

(collectively, “Defendants”) and, in support of same, Hemostemix alleges as

follows:

                                 INTRODUCTION

      Hemostemix, a biotechnology company, seeks redress for injuries and harm

sustained as a direct and proximate result of Makofka and Jed Wood attempting,

repeatedly and continuously, to gain control and ownership of Hemostemix and its

proprietary therapy and data. Makofka and Jed Wood executed a long-term, broad-

ranging scheme and conspiracy to steal Hemostemix’s valuable intellectual property.

      As set forth herein, Makofka and Jed Wood had a long-standing business

relationship that constituted a Racketeer Influenced and Corrupt Organizations

Enterprise (a “RICO Enterprise”) by which they agreed to and did conduct and

participate in a pattern of racketeering activity for the unlawful common and similar

purpose of impairing Hemostemix financially, stealing Hemostemix’s valuable

intellectual property (as defined below) and other assets, and ultimately taking

control of Hemostemix and its operations through: (a) fraud; (b) predatory and

commercially unreasonable loans and other funding arrangements; (c) self-dealing

and related transactions; (d) wire fraud; (e) extortion; (f) theft and misappropriation

of assets; and (g) tortiously and unlawfully interfering with and misappropriating

                                          2
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 3 of 187 PageID 3




contractual relationships.   Makofka and Jed Wood employed this pattern of

racketeering activity to acquire and maintain interests in and control over

Hemostemix. Makofka and Jed Wood further formed a RICO conspiracy with each

other and Blake Wood, Randi Wood, Cooper and Jacobs, all of whom became

integral to successful execution of the conspiracy by carrying out acts, including the

pattern of racketeering activity, in furtherance of the RICO conspiracy in order to

fulfill the unlawful common and similar purpose of impairing Hemostemix

financially, stealing Hemostemix’s valuable IP and other assets, and ultimately

taking control of Hemostemix and its operations. As a result of the malfeasance of

all defendants, Hemostemix has sustained substantial monetary, reputational and

other harm for which Hemostemix seeks relief.

      Since Fall 2016, when they first hatched the scheme to take ownership and

control of Hemostemix, Makofka and Jed Wood have used repressive and exploitive

financial pressure, abusive litigation, and self-dealing to ultimately weaken

Hemostemix and benefit Makofka, Jed Wood and Aspire. Makofka misused and

abused his positions of trust and confidence with Hemostemix to gain access to

Hemostemix’s operations, financial and accounting information, finances, network

and servers, valuable IP and other assets which he and Jed Wood eventually

misappropriated, and misused. Makofka and Jed Wood carried out the scheme

principally by impairing Hemostemix financially, impeding its ability to obtain

                                          3
     Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 4 of 187 PageID 4




     outside financing on commercially reasonable terms, and then providing secured

     financing through related entities they own and control, including KSM, J.M. Wood

     Investments, Ltd, and Aspire, with the intent of acquiring the rights to Hemostemix’s

     IP related to ACP-01, a promising clinical stage cell-based, blood derived therapy

     Hemostemix developed for thirteen (13) years prior to the involvement of Makofka

     and Jed Wood. The scheme and conspiracy, including all acts in furtherance thereof,

     were directed at and designed to benefit Makofka, Jed Wood and Aspire’s interests

     in Florida.

           After obtaining possession and control over Hemostemix’s intellectual

     property (including critical clinical trial data), Makofka and Jed Wood have held it

     hostage and extorted Hemostemix by threats to indefinitely withhold the data unless

     Hemostemix pays an exorbitant ransom. Hemostemix is entitled the return of its IP

     and other assets, actual damages, treble damages, injunctive relief, and attorneys’

     fees and costs to make itself whole after being victimized by Makofka, Jed Wood

     and the other individual and corporate defendants who targeted Hemostemix.

                                      THE PARTIES

I.      PLAINTIFF HEMOSTEMIX INC.

           1.      Plaintiff Hemostemix Inc. is a Canadian clinical-stage biotechnology

     company formed under the Business Corporations Act (Alberta). At all times during



                                              4
      Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 5 of 187 PageID 5




  the period covered by this Complaint, Hemostemix has conducted business from its

  headquarters and principal place of business in Alberta, Canada.

           2.    Hemostemix was targeted for takeover by Makofka and Jed Wood, was

  subjected to repressive and exploitive financing arrangements, was defrauded, had

  its assets and other property misappropriated by Defendants, had its contracts

  breached and stolen, and its business relationships tortiously interfered with by

  Defendants, all to ultimately benefit Makofka, Jed Wood and their business interests

  in Aspire.

II.     DEFENDANTS

           A. Kyle Makofka

           3.    Defendant Kyle Makofka is an individual residing in Blackfalds,

  Alberta, Canada.

           4.    Makofka founded and wholly owns and controls Defendant KSM,

  which provided contracted-for management services to Hemostemix during the

  period covered by this Complaint.

           5.    Makofka served first as Chief Restructuring Officer (“CRO”), then as

  President, and Chief Executive Officer (“CEO”) of Hemostemix during the period

  covered by this Complaint. He failed in every position. Makofka also engaged in

  self-dealing transactions in violation of his fiduciary and other duties to

  Hemostemix.

                                            5
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 6 of 187 PageID 6




      6.     Makofka served as President and CEO of Aspire during the same time

period that he served as President and CEO of Hemostemix. Makofka continues to

serve as President and CEO of Aspire. Makofka has held, and continues to hold,

himself out as a representative of Defendants KSM and Aspire for all purposes

including, but not limited to, litigation in Florida.

      7.     During the period covered by this Complaint, Makofka was involved in

or orchestrated business ventures in Florida, executed or directed the execution of

contract obligations for Aspire in Florida, and committed or directed the commission

of tortious and illegal acts against Hemostemix in Florida. Along with and at the

direction of Jed Wood, Makofka was the ringleader of the vast conspiracy to impair

Hemostemix financially, steal Hemostemix’s IP and other assets, and ultimately take

control of Hemostemix and its operations.

      B. Jed Wood

      8.     Defendant Jed Wood is an individual who, upon information and

belief, resided during at least part of the period covered by this Complaint in Alberta,

Canada. Upon information and belief, Jed Wood is currently hiding out in a gated

compound in Los Cabos, Mexico.

      9.     During the period covered by this Complaint, Jed Wood was a minority

shareholder of Hemostemix.



                                            6
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 7 of 187 PageID 7




      10.    Jed Wood formed Defendant Aspire and owns, controls, and/or

operates with significant influence over Aspire through one or more of his corporate

holdings under a family syndicate of affiliated entities which Jed Wood and other

members of his family control (“Wood Group Family Office”). Jed Wood has held,

and continues to hold, himself out as a corporate representative of Aspire in litigation

and other matters in Florida. Since Aspire’s formation, Jed Wood has provided

substantial funding and other material support and assistance to Aspire and its

operations in Florida as part of the overall conspiracy set forth herein.

      11.    During the period covered by this Complaint, Jed Wood was involved

in or orchestrated business ventures in Florida, executed or directed the execution of

contract obligations for Aspire in Florida, and committed or directed the commission

of tortious and illegal acts against Hemostemix in Florida and elsewhere. Along

with Makofka, Jed Wood was the ringleader of the vast conspiracy to impair

Hemostemix financially, steal Hemostemix’s IP and other assets, and ultimately take

control of Hemostemix and its operations.

      C. Blake Wood

      12.    Defendant Blake Wood is an individual who is the adult son of

Defendant Jed Wood. During the period covered by this Complaint, Blake Wood

resided in, and continues to reside in Calgary, Alberta, Canada and Bridgetown, St.

Michael, Barbados.

                                           7
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 8 of 187 PageID 8




      13.     Upon information and believe, Blake Wood is the principal of Wood

Capital Ltd., a Barbados-based private equity investment firm for which Blake

Wood is the titular owner but, upon information and belief, is ultimately owned and

controlled by his father Jed Wood through the Wood Group Family Office syndicate,

of which Blake Wood is a member.

      14.     During the period covered by this Complaint, Blake Wood was

involved in or orchestrated, committed or directed the commission of tortious and

illegal acts against Hemostemix in Florida and elsewhere, all or a substantial part of

which were in furtherance of a vast conspiracy with Makofka, Jed Wood and others

to impair Hemostemix financially, steal Hemostemix’s IP and other assets, and

ultimately take control of Hemostemix and its operations.

      D. Randi Wood

      15.     Defendant Randi Wood is an individual who is the adult daughter of

Defendant Jed Wood. During the period covered by this Complaint, Randi Wood

resided in, and continues to reside in, Beverly Hills, California and Palm Desert,

California.

      16.     Upon information and belief, Randi Wood is the titular owner and

managing member of R.E.J. Investment Group, LLC (“REJ”), a California limited

liability company, a company which is ultimately owned and controlled by her father

Jed Wood through the Wood Group Family Office syndicate, of which Randi Wood

                                          8
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 9 of 187 PageID 9




is a member. REJ wholly owns Drive Capital Holdings (USA), Inc., which, in turn,

wholly owns Aspire. Randi Wood is a Director of Aspire and is directly involved in

the conspiracy to have Aspire’s steal and misappropriate Hemostemix’s IP and other

assets in Florida.

      17.    During the period covered by this Complaint, Randi Wood was

involved in or orchestrated, committed or directed the commission of tortious and

illegal acts against Hemostemix in Florida and elsewhere, all or a substantial part of

which were in furtherance of a vast conspiracy with Makofka, Jed Wood and others

to impair Hemostemix financially, steal Hemostemix’s IP and other assets, and

ultimately take control of Hemostemix and its operations.

      E. Alan Jacobs, MD

      18.    Defendant Alan Jacobs, MD is an individual who, during the period

covered by this Complaint, resided in or around Greenwood Village, Colorado.

Jacobs served as President and Chief Medical Officer (“CMO”) of Hemostemix

from on or about March 29, 2019 through on or about October 31, 2019, at which

time he resigned from both positions at Hemostemix and became employed by

Aspire in contravention of his agreement with Hemostemix.

      19.    Jacobs owns Defendant AJIA through which Jacobs provided services

to Hemostemix.



                                          9
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 10 of 187 PageID 10




       20.   During the period covered by this Complaint, Jacobs engaged in

 business ventures for Hemostemix and Aspire in Florida, executed or directed the

 execution of contract obligations for Aspire in Florida, and was involved in and/or

 orchestrated, committed or directed the commission of tortious and illegal acts

 against Hemostemix in Florida and elsewhere, all or a substantial part of which were

 in furtherance of a vast conspiracy with Makofka, Jed Wood and others to impair

 Hemostemix financially, steal Hemostemix’s IP and other assets, and ultimately take

 control of Hemostemix and its operations.

       F. Reginald Cooper

       21.   Defendant Reginald Cooper is an individual who is an employee of

 Defendant KSM and has worked for Makofka for years. During the period covered

 by this Complaint, Cooper resided in, and continues to reside in, Red Deer, Alberta,

 Canada.

       22.   During the period covered by this Complaint, Cooper was involved in

 or orchestrated, committed or directed the commission of tortious and illegal acts

 against Hemostemix in Florida, as well as breached or caused the breach of one or

 more contracts with Hemostemix in Florida and elsewhere, all or a substantial part

 of which were in furtherance of a vast conspiracy with Makofka, Jed Wood and

 others to impair Hemostemix financially, steal Hemostemix’s IP and other assets,

 and ultimately take control of Hemostemix and its operations.

                                         10
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 11 of 187 PageID 11




       G. Kingsman Scientific Management Inc.

       23.    Defendant Kingsman Scientific Management Inc. is a corporation

 formed under the laws of Alberta and has its principal place of business in Calgary,

 Alberta, Canada. KSM was formed by, and is wholly owned and controlled by,

 Defendant Makofka.

       24.    During the period covered by this Complaint, Makofka used KSM to

 enter into contracts for or on behalf of Hemostemix that were intended to be, and

 were, performed in Florida, executed acts in Florida in violation of the controlling

 contract and/or omitted to do certain acts in Florida otherwise contractually required

 of it for or on behalf of Hemostemix in Florida, and did so in ways that violated

 Hemostemix’s contractual and other rights.

       H. Aspire Health Science, LLC

       25.    Defendant Aspire Health Science, LLC is a Florida limited liability

 company with its principal place of business in Orlando, Florida. Aspire was created

 by Jed Wood, with the aid and assistance of Makofka, Randi Wood and Blake Wood,

 in or about January 2017 as part of and in furtherance of the conspiracy to ultimately

 take control of the Hemostemix IP and other assets.

       26.    Aspire is owned and controlled by Jed Wood through his various

 corporate holdings under the Wood Group Family Office syndicate.                Upon



                                          11
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 12 of 187 PageID 12




 information and belief, Aspire has been funded by Jed Wood through one or more

 entities under the Wood Group Family Office syndicate.

       27.   Aspire is the principal corporate entity through which Makofka, Jed

 Wood and other co-conspirators sought to perpetrate the conspiracy to impair

 Hemostemix financially, steal Hemostemix’s IP and other assets, and ultimately take

 control of Hemostemix and its operations. During the period covered by this

 Complaint, Aspire carried out substantial business in Florida, brought legal action

 in Florida, entered into contracts in Florida that were to be performed in Florida,

 owns and/or leases property in Florida, and had during the relevant period its base

 of operations in Florida. At Makofka’s and Jed Wood’s direction, Aspire has

 unlawfully retained and misappropriated Hemostemix’s IP and other property

 related to ACP-01 and the Clinical Trial, HS 12-01.

       I. AJIA Global Services, LLC

       28.   Defendant AJIA Global Services, LLC is a Delaware limited liability

 company registered as a foreign limited liability doing business in and having its

 principal place of business at 4610 S. Ulster Street, Suite 150, Denver, Colorado

 80237. AJIA is also believed to operate under the name, or is affiliated with, AJIA

 Global, LLC, and, upon information and belief, is a trade name for Stemix Pharma,

 LLC, also a Delaware limited liability company also having its principal place of

 business at 4610 S. Ulster Street, Suite 150, Denver, Colorado 80237.

                                         12
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 13 of 187 PageID 13




       29.   AJIA, a/k/a AJIA Global, LLC, a/k/a Stemix Pharma, LLC, was formed

 by Defendant Jacobs on or about April 2, 2019, in Delaware and filed as a foreign

 LLC to do business in Colorado on or about April 8, 2019.

       30.   Effective on or about February 1, 2019, two (2) months before its

 proper formation or registration to do business in Colorado, AJIA purported to enter

 into a contractor agreement to provide consulting services to Hemostemix. Pursuant

 to that agreement, Jacobs was to serve as President and Chief Medical Officer for

 Hemostemix.

       31.   During the period covered by this Complaint, Jacobs used AJIA to

 provide services to Hemostemix related to the ACP-01 Clinical Trial based

 principally in Florida, carried out substantial business in Florida, engaged in

 business ventures for Hemostemix and Aspire in Florida, executed and/or directed

 the execution of contract obligations in Florida, and was involved in and/or

 orchestrated, committed or directed the commission of tortious and illegal acts

 against Hemostemix in Florida and elsewhere, all or a substantial part of which were

 in furtherance of a vast conspiracy with Makofka, Jed Wood and others to impair

 Hemostemix financially, steal Hemostemix’s IP and other assets, and ultimately take

 control of Hemostemix and its operations.




                                         13
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 14 of 187 PageID 14




                              JURISDICTION & VENUE

          32.   This Court has subject matter jurisdiction over Plaintiff’s claims under

 28 U.S.C. § 1331. There is federal question jurisdiction over one or more claims

 asserted herein, including the Racketeer Influenced and Corrupt Organizations Act

 (“RICO”), 18 U.S.C. § 1961, et seq, the Defend Trade Secrets Act, 18 U.S.C. §§

 1831-39, and the Computer Fraud and Abuse Act, 18 U.S.C. § 1030. This Court

 also has supplemental jurisdiction pursuant to 28 U.S.C. § 1367 to consider and

 adjudicate all state law statutory and common law claims asserted herein.

 Supplemental jurisdiction over the state law claims is appropriate because they arise

 from the same common nucleus of operative facts from which the federal claims

 arise.

          33.   This Court has personal jurisdiction over Defendants Makofka, Jed

 Wood, Blake Wood, Randi Wood, Jacobs, AJIA, Cooper, KSM, and Aspire pursuant

 to, among others, Fla. Stat. § 48.193(1)(a)(1) (operating, conducting, engaging in, or

 carrying on a business or business venture in Florida), (a)(2) (committing a tortious

 act in Florida), and (a)(7) (breaching a contract in Florida by failing to perform acts

 required by the contract to be performed in Florida). Further, this Court has general

 personal jurisdiction over Defendant Aspire, a limited liability company having its

 principal place of business and “home” in the State of Florida.



                                            14
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 15 of 187 PageID 15




           34.    Venue is proper in this Judicial District pursuant to 28 U.S.C. §

     1391(b). Conduct giving rise to the claims occurred within or involved business

     activities within the Middle District of Florida. Upon information and belief, IP and

     other property at issue in this litigation is located within the Middle District of

     Florida.

                                STATEMENT OF FACTS

I.      HEMOSTEMIX’S FORMATION AND DEVELOPMENT OF ACP-01, ITS
        LIFE SAVING PROPRIETARY STEM CELL THERAPY

           35.    Hemostemix was co-founded as TheraVitae Inc. in 2006 by Thomas

     Smeenk, its current CEO and President. TheraVitae, as licensee, amalgamated with

     its licensor in 2008.   Following a plan of arrangement, it amalgamated with

     Technical Ventures RX Corp. in 2014 to become the public company, Hemostemix.

           36.    Hemostemix’s shares trade on the TSX Venture Exchange (“the

     Exchange”) under the trading symbol “HEM.”

           37.    Hemostemix’s principal business is to develop, manufacture, and

     commercialize blood-derived cell therapies to treat various diseases not addressed

     by current therapies.

           38.    Hemostemix is the Food and Drug Administration (“FDA”) approved

     Sponsor of the Clinical Trial # HS-1201 for ACP-01 (the “Clinical Trial”).

     Hemostemix was the winner of the World Economic Forum Technology Pioneer


                                              15
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 16 of 187 PageID 16




 Award. Hemostemix has worked relentlessly to develop and commercialize its lead

 product ACP-01 for the treatment of critical limb ischemia (“CLI”), peripheral artery

 disease (“PAD”), angina, ischemic cardiomyopathy, dilated cardiomyopathy and

 other conditions of ischemia.

       39.    ACP-01 is a therapeutic developed by Hemostemix for the treatment of

 ischemic diseases such as CLI, angina and heart disease. ACP-01 has been used to

 treat over 300 patients, and it is the subject of a randomized, placebo-controlled,

 double blind trial of its safety and efficacy in patients with advanced critical limb

 ischemia who have exhausted all other options to save their limb from amputation.

       40.    Hemostemix owns ninety-one (91) patents across five (5) patent

 families titled: Regulating Stem Cells, In Vitro Techniques for use with Stem Cells,

 Production from Blood of Cells of Neural Lineage, and Automated Cell Therapy.

 Its IP is a highly valuable and coveted asset.

       41.    CLI is a severe form of PAD caused by reduced blood flow to the legs

 which, if untreated, can result in complications such as nerve and tissue damage.

 Without treatment, approximately 50% of all CLI patients either die or require

 amputation of the affected limb within a year of diagnosis. Demand for treatment

 of CLI has steadily increased over time.         CLI predominantly affects diabetic

 individuals over the age of 50.



                                           16
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 17 of 187 PageID 17




          42.   On or about August 21, 2015, the FDA cleared Hemostemix’s

 Investigational New Drug (“IND”) application to expand the Clinical Trial for CLI.

 The FDA’s approval of Hemostemix’s IND was a major milestone in the Clinical

 Trial.

          43.   During the period covered by this Complaint, the Clinical Trial was in

 Phase II. During that time, ACP-01 was being administered and tested at multiple

 sites as part of a double-blinded, randomized, placebo-controlled trial to demonstrate

 the safety and medical efficacy of ACP-01 as a treatment of CLI.

          44.   A double-blinded, randomized, placebo-controlled trial is widely

 accepted as an objective scientific methodology that, when ideally performed,

 produces knowledge and results untainted by bias. This is because a randomized

 controlled trial is a prospective, comparative, quantitative study performed under

 controlled conditions with random allocation of interventions to comparison groups.

          45.   The randomized controlled trial is considered the most rigorous and

 robust research method of determining whether a causal relation exists between an

 intervention and an outcome.

          46.   Hemostemix has served as the Phase II Clinical Trial Sponsor in the

 approved application in order to enroll patients at clinical sites across the United

 States. As the Sponsor, and since inception, Hemostemix has invested over $38

 million to date in its efforts to bring ACP-01 to market.

                                           17
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 18 of 187 PageID 18




       47.    During the period covered by this Complaint, Hemostemix has been

 and continues to be the owner of all IP related to ACP-01. This is true regardless of

 any contracted-for management services, license agreement, or manufacturing

 agreement granting limited rights to a third party.

       48.    Until in or about 2017, Kwalata Trading Limited (“Kwalata”), a Cyprus

 entity and wholly-owned subsidiary of Hemostemix established to own IP, owned

 the patents related to ACP-01 and the Clinical Trial. After a corporate reorganization

 initiated and directed by Makofka, Makofka intimated a plan to wind up Kwalata

 and transfer the IP ownership rights to Hemostemix to enable Jed Wood to perfect

 his control over Hemostemix’s IP. Makofka never actually followed through on

 winding up Kwalata, but did transfer from Hemostemix Ltd. (Israel) (“HEM-

 Israel”) to Aspire possession and custody of all Hemostemix trade secrets—“know-

 how,” “show-how,” confidential information, IP, data, batch records—related to

 manufacturing of ACP-01. Hemostemix retained its title and ownership rights to the

 IP related to ACP-01 and the Clinical Trial, but the move revealed his primary

 objective, which was to give himself and Jed Wood direct day-to-day control over

 and sole access to the IP at Hemostemix.

       49.    During the period covered by this Complaint, the IP owned by

 Hemostemix has included, and continues to include: (a) intellectual property; (b)

 industrial property; (c) proprietary rights and interests; (d) patents and patent

                                           18
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 19 of 187 PageID 19




 applications; (e) inventions; (f) improvements and developments on any of the

 categories within this definition; (f) copyrights; (g) industrial designs; (h) integrated

 circuit topographies; (i) math works; (j) design patents; (k) utility models; (l) trade

 secrets; (m) confidential information; (n) “know how”; (o) “show how”; (p)

 trademarks; (q) domain names; (r) business names; (s) goodwill; (t) all rights to

 apply for and all applications and registrations for any of the foregoing categories,

 as well as any and all continuations, substitutions, confirmations, divisions, reissues,

 extensions and renewals thereof; and/or (u) all legal rights to bring actions or other

 proceedings against third parties for infringement, misuse or misappropriation of any

 of the foregoing categories (one, some or all collectively defined herein as

 “Hemostemix’s IP” or the “Hemostemix IP”).

       50.    “Confidential information” includes all of Hemostemix’s Clinical Trial

 Data such as patient data, batch and manufacturing data, the randomization key or

 table, as well as trade secrets, inventions, innovations, processes, information,

 records and specifications owned or licensed by Hemostemix in connection with

 ACP-01 and the Clinical Trial.

       51.    At all times, Hemostemix took careful, prudent, and reasonable steps to

 secure the confidentiality of all the Hemostemix IP, including without limitation, the

 Clinical Trial Data by, among other things, entering into agreements that contained

 strict confidentiality provisions.

                                            19
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 20 of 187 PageID 20




       52.    Throughout the course of the Clinical Trial, more than seventeen (17)

 clinical trial sites were established across North America, including Florida,

 Pennsylvania, Texas, North Carolina, South Carolina, Colorado and California.

 Each trial site has produced Clinical Trial Data and IP that is the property of

 Hemostemix.

       53.    Moreover, as a testament to the safety and effectiveness of the therapy,

 hundreds of patients have been safely treated with ACP-01 on a compassionate care

 basis. On October 21, 2019, Hemostemix announced the results from its Phase II

 CLI trial abstract presentation entitled “Autologous Stem Cell Treatment for CLI

 Patients with No Revascularization Options: An Update of the Hemostemix ACP-

 01 Trial With 4.5 Year Follow-up” which noted healing of ulcers and resolution of

 ischemic rest pain occurred in 83% of patients, with outcomes maintained for up to

 4.5 years.

       54.    A successful Phase II result in the Clinical Trial would conservatively

 add at least $300 million of commercial value to Hemostemix. Efforts by Makofka

 and Wood, as detailed in this Complaint, have caused the loss, disruption, and/or

 diminution in value to Hemostemix of its ACP-01 therapy.

       55.    Unfortunately, Makofka, Jed Wood, and others have interfered with

 and jeopardized Hemostemix’s ability to commercialize ACP-01 by intentionally



                                          20
 Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 21 of 187 PageID 21




  and illegally committing fraud and tortious acts as part of a broad-ranging pattern of

  racketeering activity and civil RICO conspiracy, causing direct loss to Hemostemix.

II.   EARLY ASSAULTS ON HEMOSTEMIX AND ITS LEADERSHIP
      WEAKENED HEMOSTEMIX IN 2016 WHILE POSITIONING
      MAKOFKA AND JED WOOD TO SCHEME TO TAKE CONTROL OF
      HEMOSTEMIX.

        56.    Makofka and Jed Wood are long-time business partners. Both have a

  track record of using legally questionable or illegal tactics to gain control of

  companies such as Hemostemix.

        57.    Makofka and Jed Wood executed their conspiracy through corporate

  entities they owned and/or controlled including, but not limited to, Drive Capital

  Corp. (“Drive Capital”), KSM, J.M. Wood Investments, Ltd. (“JMWI”), Wood

  Capital Ltd. (“Wood Capital”), REJ, and Aspire. They also utilized corporate

  entities owned or controlled by co-conspirators, including Jacobs’ company AJIA.

        58.    During the period covered by this Complaint, Drive Capital was a

  Canadian corporation owned and controlled by both Makofka and Jed Wood. It was

  later amalgamated into an entity that is currently owned and controlled by Jed Wood,

  through JMWI, also an entity wholly-owned and controlled by Jed Wood.

        59.    Makofka and Jed Wood conspired to take control of Hemostemix. The

  scope and contour of the conspiracy evolved over time, as did the members,

  participants and means of executing the conspiracy. Principally, the conspiracy


                                           21
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 22 of 187 PageID 22




 involved: (a) gaining access to and control over Hemostemix’s management and

 operations; (b) engaging in related and self-dealing transactions in order to empower

 Makofka and Jed Wood and weaken Hemostemix; (c) impairing Hemostemix

 financially by precluding the Company from obtaining outside financing from

 independent investors through arms-length transactions; (d) presenting “last resort”

 repressive and exploitive financing arrangements through Makofka and Jed Wood

 further weakening Hemostemix, paving the way for Makofka and Jed Wood to take

 control of Hemostemix and its operations when Hemostemix was at its most

 vulnerable financially impaired state; and (e) vesting Aspire, Makofka’s and Jed

 Wood’s Florida-based entity, with all IP and other rights to ACP-01 and the Clinical

 Trial to ultimately acquire Hemostemix IP and other assets and effectively step into

 the shoes of Hemostemix as Clinical Trial sponsor.

       60.      Because the conspiracy evolved over time, and was not apparent to

 independent Board members at the time, the full extent of the damage to

 Hemostemix would not be realized for several years.

             2016 Loan-to-Own Offer Rejected by Hemostemix Board

       61.      In or about February 2016, Makofka and Jed Wood, through Drive

 Capital, approached Hemostemix regarding a proposed secured debenture financing

 transaction.



                                          22
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 23 of 187 PageID 23




       62.    Drive Capital offered Hemostemix up to $4 million in secured

 debenture financing, according to the following terms: (a) Drive Capital offered to

 make an initial $1 million payment for a 90-day due diligence period; (b) the initial

 $1 million funding was to be secured by all of Hemostemix’s IP and other assets; (c)

 Drive Capital would make the remaining $3 million payment upon conclusion of a

 90-day due diligence investigation by Makofka and Jed Wood; and (d) payment of

 the remaining $3 million would trigger Hemostemix’s obligation to repay the initial

 $1 million payment within nine (9) months of the initial payment (or six (6) months

 after conclusion of the 90-day due diligence period) (the “2016 Loan-to-Own

 Offer”). Hemostemix’s failure to repay the initial $1 million in full within the

 required repayment period would trigger Drive Capital’s right to acquire all of

 Hemostemix’s IP and other assets pledged as security for the 2016 Loan-to-Own.

       63.    The 2016 Loan-to-Own Offer was the first attempt by Makofka and Jed

 Wood to exploit Hemostemix’s capital financing needs to gain control over

 Hemostemix and its IP.

       64.    In early August 2016, the Hemostemix Board rejected the 2016 Loan-

 to-Own Offer after determining it exposed Hemostemix and its shareholders to

 unreasonable risk.

                 2016 Secured Debenture Acquired by Jed Wood



                                          23
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 24 of 187 PageID 24




       65.     Instead, the Hemostemix Board issued a $1 million secured convertible

 debenture (the “2016 Secured Debenture”).

       66.     On or about January 12, 2017, Makofka, who was serving as President

 and CEO of Hemostemix, and Jed Wood had Drive Capital acquire the 2016 Secured

 Debenture, and, in turn, sell it to Wood Capital, Jed Wood’s and Blake Wood’s

 company.

       67.     Whereas Hemostemix was able to resist the initial run at Hemostemix

 by Makofka and Jed Wood, the debt obligations were later assumed by Jed Wood

 through his various business entities as a way to gain control over Hemostemix.

             2016 Frivolous Litigation and Unsuccessful Proxy Challenge

       68.      Additionally, to illustrate how petty and vindictive Jed Wood and

 Makofka are, despite later acquiring the 2016 Secured Debenture, Jed Wood and

 Makofka formulated a plan to challenge the Hemostemix Board’s authority to even

 issue the 2016 Secured Debenture, bringing a frivolous legal challenge to the Alberta

 Securities Commission, which was later dismissed as without merit. This was all

 part of Makofka’s and Jed Wood’s grand plan to take over Hemostemix by either

 draining the Company of all working capital through frivolous litigation, or

 exploiting and exacerbating the Company’s financial struggles.

       69.     Makofka and Jed Wood were just getting started at this point. Angered

 by the Board’s rejection of the 2016 Loan-to-Own Offer, Makofka and Wood

                                          24
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 25 of 187 PageID 25




 orchestrated a proxy challenge on or about August 22, 2016, in advance of the 2016

 Annual General Meeting (“AGM”) (the “Proxy Challenge”). The Proxy Challenge

 was designed to unseat the Hemostemix Board and install new Board members,

 including Jed Wood himself, as well as others loyal to Makofka and Jed Wood.

       70.   The Proxy Challenge failed. Hemostemix shareholders voted to retain

 the Directors during a vote on September 9, 2016 at the 2016 AGM, again beating

 back Makofka’s and Jed Wood’s frontal assault on the Company.

       71.   The failure of the Proxy Challenge did not deter Makofka or Jed Wood

 in their scheme to take control of Hemostemix. They threatened to pursue, and in

 fact were pursuing, additional frivolous litigation against Hemostemix.        The

 frivolous litigation was designed to cause, and resulted in, the diversion of

 significant financial resources out of Hemostemix in defense costs that would and

 could otherwise have been dedicated to underwriting bona fide Clinical Trial costs.

       72.   Makofka and Jed Wood threatened that there would be “no end in sight”

 to legal challenges against Hemostemix unless and until Hemostemix ceded control

 to them.

       73.   At a meeting with new Hemostemix board member Angus Jenkins on

 or about September 13, 2016, despite having lost the Proxy Challenge, Jed Wood

 and Makofka demanded the right to reconstitute the Board and to take total control



                                         25
  Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 26 of 187 PageID 26




   over the Board and Hemostemix, including its day-to-day management and

   operations.

         74.     Makofka and Jed Wood knew the abusive litigation strategy

   significantly impaired Hemostemix’s ability to secure outside financing for its

   operations.

         75.     Makofka and Jed Wood had the motivation, intent and, most

   importantly, the financial means to make good on their threats unless Hemostemix

   agreed to their demands.

         76.     Jenkins, who was viewed as loyal to Makofka and Jed Wood,

   determined that Hemostemix should capitulate to the pressure from Makofka and

   Jed Wood, including the purported threat of future litigation.

         77.     On or about December 21, 2016, Makofka and Jed Wood induced and

   coerced the Hemostemix Board to approve a management agreement with Drive

   Capital (the “Drive Capital Agreement”). A true and correct copy of the Drive

   Capital Agreement is attached hereto as Exhibit 1.

III.   MAKOFKA AND JED WOOD USED DRIVE CAPITAL AND LATER
       KSM TO FURTHER THEIR CONSPIRACY TO IMPAIR
       HEMOSTEMIX FINANCIALLY, STEAL HEMOSTEMIX’S IP AND
       OTHER ASSETS, AND TAKE CONTROL OF HEMOSTEMIX.

       A. The Drive Capital Agreement for Management/Operational Services.

         78.     Drive Capital was owned and controlled by Makofka and Jed Wood,

   both of whom were principals of Drive Capital.
                                            26
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 27 of 187 PageID 27




       79.    The Drive Capital Agreement had a two-year term, expiring in

 December 2018. (Ex. 1, § 3 at 3.)

       80.    The Drive Capital Agreement was signed by Makofka., as Managing

 Director for Drive Capital, and Angus Jenkins, as Director for Hemostemix.

       81.    Makofka and Jed Wood intended the Drive Capital Agreement, as part

 and parcel to the overall conspiracy, to be carried out and affect activities and

 operations in Florida.

       82.    The Drive Capital Agreement vested Makofka with “authority to

 exercise exclusive work control, direction and management over” the scope of work

 items set forth in the Agreement. (Ex. 1, § 1 at 1.) As Hemostemix would later

 learn, Makofka and Jed Wood used this authority to benefit themselves at the

 expense of Hemostemix.

       83.    As part of this authority and control, Makofka’s scope of work required

 him to provide “[a]dvice, assistance and support in all matters (including with

 respect to financing, management, strategic and operational issues, restructurings,

 dispositions, and mergers and acquisitions) to . . . effect [Hemostemix’s . . . business

 and strategic plans.” (Ex. 1, § 2 at 1.)

       84.    The Drive Capital Agreement vested Makofka authority to reconstitute

 the Hemostemix Board. (Ex. 1, § 2 at 2.) Makofka used this authority to appoint



                                            27
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 28 of 187 PageID 28




 individuals who were loyal to Makofka and Jed Wood for the purpose of benefitting

 Makofka and Jed Wood.

       85.    At the direction of Makofka and Jed Wood, Jenkins was elevated to be

 Chairman of the Board despite having no prior experience whatsoever in the

 biotechnology industry, let alone serving on a board of a clinical trial biotechnology

 company.    Jenkins was viewed as loyal to Makofka and Jed Wood and, as

 Hemostemix would later learn, was someone who would, and did, give deference

 and priority to Makofka and Jed Wood at the expense of Hemostemix.

       86.    At the direction of Makofka and Jed Wood, Don Friesen (“Friesen”)

 was installed as a Board member. Friesen had no prior experience serving on a board

 of a clinical trial biotechnology company. Instead, Friesen had a long-standing

 business relationship with Wood. Friesen was viewed as loyal to Makofka and Jed

 Wood and, as Hemostemix would later learn, was someone who would, and did,

 give deference and priority to Makofka and Jed Wood at the expense of

 Hemostemix.

       87.    The Drive Capital Agreement gave Drive Capital and its principals,

 Makofka and Jed Wood, access to “all required systems and data” of Hemostemix.

 (Ex. 1, § 4 at 3.) As Hemostemix would later learn, Makofka and Jed Wood used

 this access to benefit themselves at the expense of Hemostemix.



                                          28
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 29 of 187 PageID 29




        88.      The Drive Capital Agreement imposed limits and restrictions on what

 its principals and agents, including Makofka and Jed Wood, could do with

 Hemostemix’s IP and other “confidential information,” to wit:

              a. Drive Capital and, as principals, Makofka and Jed Wood, were required

                 to maintain all Hemostemix IP and other property as strictly

                 confidential;

              b. Drive Capital and its principals Makofka and Jed Wood, as well as

                 anyone else affiliated with Drive Capital, were prohibited from

                 retaining any IP or other property after termination or expiration of the

                 Drive Capital Agreement; and

              c. Drive Capital and its principals Makofka and Jed Wood, as well as

                 anyone else affiliated with Drive Capital who acquired access to or

                 copies of Hemostemix IP, were required to return all Hemostemix IP,

                 including all files, records, documents, data and other information, to

                 Hemostemix upon termination or expiration of the Drive Capital

                 Agreement.

 (Ex. 1, § 8 at 4-5.)

        89.      Hemostemix, as an entity, thus took reasonable steps to at least protect

 its Confidential Information. These duties of confidentiality and proper handling



                                             29
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 30 of 187 PageID 30




 and return of confidential information set forth under Section 8 survived termination

 of the Drive Capital Agreement. (Ex. 1, § 11(d) at 7.)

       90.    The Drive Capital Agreement granted Drive Capital and its principals,

 Makofka and Jed Wood, authority to oversee and manage the operations,

 management and even proposed “reorganization” of Hemostemix. As Hemostemix

 would later learn, Makofka and Jed Wood used this oversight and management

 authority to benefit themselves at the expense of Hemostemix.

       91.    The Drive Capital Agreement provided lucrative compensation and

 financial incentives and inducements to increase operating costs. Specifically, Drive

 Capital’s and, by extension, Makofka’s and Jed Wood’s, compensation or

 remuneration, was required to be equivalent to 15% of all Clinical Trial costs. (Ex.

 1, § 5 at 3.) Increasing Clinical Trial costs directly benefitted Drive Capital and its

 principals, Makofka and Jed Wood, at the expense of Hemostemix, by increasing

 compensation Hemostemix was compelled to pay to Drive Capital.

       92.    The Drive Capital Agreement required Drive Capital and its principals

 and agents to “undertake all of the Work diligently in a good and workmanlike

 manner.” (Ex. 1, § 7 at 4.) As Hemostemix would later learn, Makofka and his team

 failed to perform in accordance with this standard.

       93.    The Drive Capital Agreement imposed limits and restrictions on what

 Drive Capital and its principals could do in furtherance of a reorganization, explicitly

                                           30
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 31 of 187 PageID 31




 limiting Makofka and Jed Wood from taking any action that would benefit another

 entity or individual over Hemostemix.

       94.    Specifically, Section 9 permitted Drive Capital and its principals to

 provide services for other clients, “provided that [Drive Capital’s] other services for

 other clients does not interfere with or detract from the provision of the Work and

 the performance of [Drive Capital’s] duties and obligations pursuant to this

 Agreement.” (Ex. 1, § 9 at 5 (emphasis added).) As Hemostemix would later learn,

 Makofka and Jed Wood violated this covenant by taking action designed to benefit

 Makofka, Jed Wood and Aspire at the expense of Hemostemix.

       95.    The Drive Capital Agreement contained a “Non-Solicitation” covenant.

 Drive Capital and its principals Makofka and Jed Wood were prohibited, for a one-

 year period following the expiration date of the Drive Capital Agreement (whether

 or not terminated earlier than the expiration date), directly or indirectly, from: (a)

 soliciting, encouraging or facilitating clients or customers of Hemostemix from

 altering, modifying, varying, diminishing or ceasing their client or customer

 relationships with Hemostemix; (b) soliciting, inducing, encouraging or facilitating

 any employees, consultants, suppliers or subcontractors of Hemostemix to leave the

 employment of, or the consulting, supply or subcontractor relationship with

 Hemostemix. (Ex. 1, § 10(a) at 5-6.) These duties and restrictions arising under the

 Non-Solicitation provision survived termination of the Agreement. (Ex. 1, § 11(d)

                                           31
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 32 of 187 PageID 32




 at 7.) As Hemostemix would later learn, Makofka and Jed Wood violated this

 covenant in the Drive Capital Agreement.

       96.   Within one year of the termination and/or expiration of the Drive

 Capital Agreement, Makofka and Jed Wood, as well as other Drive Capital agents,

 solicited, encouraged, and/or facilitated clients and customers, including without

 limitation vendors and consultants, to alter, modify, diminish and/or cease their

 respective relationships with Hemostemix. They also solicited, induced, encouraged

 and/or facilitated, some under false and fraudulent pretenses, certain employees,

 consultants, suppliers, contractors and/or subcontractors, including without

 limitation, Jacobs, Cooper, Laura Fairbairn, Medrio, Inc. (“Medrio”), Accudata

 Solutions, Inc. (“Accudata”), and Anju ClinPlus, LLC (“Anju”), among others, to

 leave the employment of, consultancy, contractor or subcontractor or other

 relationship with Hemostemix in favor of Aspire, a company formed and controlled

 by Makofka and Jed Wood.

    B. Makofka and Jed Wood Used the Hemostemix Reorganization to Exploit
       Hemostemix’s Financial Difficulties.

       97.   One “reorganization” action taken was the appointment of Makofka as

 Hemostemix’s Chief Restructuring Officer (“CRO”). Makofka’s appointment as

 CRO was designed to give Makofka and Jed Wood access to and control over

 Hemostemix’s operations, finances and accounting, financing and fundraising, and

 contracting, as well as management of the Hemostemix IP.
                                        32
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 33 of 187 PageID 33




       98.    By design, Makofka served simultaneously as both Managing Director

 to Drive Capital and as Chief Restructuring Officer to Hemostemix, which enabled

 him to engage in self-dealing designed to benefit himself and Jed Wood at the

 expense of Hemostemix.

       99.    As Hemostemix’s CRO, Makofka owed fiduciary duties of loyalty and

 care to Hemostemix. These fiduciary duties were separate and independent of any

 contractual duties owed by Makofka to Hemostemix under the Drive Capital

 Agreement.

       100. Makofka’s appointment as CRO was not due to his education or

 experience. Indeed, Makofka was ill-equipped to serve as CRO for Hemostemix.

 Makofka had a high school level education and no scientific-basis record-of-success

 as a CRO of any company, much less a clinical-stage biotechnology company.

       101. Makofka failed as CRO. Makofka’s principal job as CRO was to turn

 Hemostemix around financially and operationally.        Makofka instead steered

 Hemostemix to business ventures that benefited Makofka and Jed Wood at the

 expense of Hemostemix.

       102. Makofka’s efforts as CRO exacerbated Hemostemix’s financial

 condition, making it more dependent upon Jed Wood and Jed Wood’s financing.

 This was by design.



                                         33
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 34 of 187 PageID 34




       103. Makofka’s adverse performance as CRO was part of the plan to take

 control of Hemostemix. He used his position as CRO to affirmatively undermine

 Hemostemix’s opportunities for growth and financing and affirmatively worked to

 weaken Hemostemix financially.

       104. Makofka’s appointment as CRO positioned him to direct reorganization

 efforts and control the management and operations of Hemostemix in furtherance of

 the conspiracy to ultimately take control of Hemostemix’s IP.

       105. Further to this plan, upon being appointed as CRO, Makofka worked in

 concert with Jed Wood to restructure Hemostemix.

       106. One restructuring effort involved targeting Hemostemix’s IP by

 purportedly winding up Kwalata and transferring the IP ownership rights from

 Kwalata to Hemostemix.

       107. This purported corporate restructuring was not done to benefit

 Hemostemix, but rather in furtherance of the conspiracy and to benefit Makofka and

 Jed Wood. Makofka did not complete the winding up of Kwalata. Makofka did,

 however, move all of the assets of Hemostemix from HEM-Israel to Aspire in

 Florida, winding up HEM-Israel to consolidate day-to-day control and ownership of

 the IP of Hemostemix in a manner that Makofka could exercise virtually total control

 as CRO. Thus, Makofka positioned himself and Jed Wood to seize control over the



                                         34
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 35 of 187 PageID 35




 Hemostemix IP after driving Hemostemix further into financial hardship and closer

 to insolvency and receivership.

       108. As CRO, Makofka also moved all manufacturing activities related to

 ACP-01 to the United States and vested those activities in Aspire.

       109. Aspire was formed after Makofka and Jed Wood orchestrated a

 takeover of another company doing business with Hemostemix. In late 2016,

 Makofka and Jed Wood collaborated to take over a distressed company, Advanced

 Innovative Medicine (“AIM”), a development laboratory company that had a license

 agreement with Hemostemix.

       110. Makofka and Jed Wood presented a “loan to own” scheme to AIM,

 pursuant to which AIM pledged its assets and shares as security—similar to the

 leveraged loan-to-own schemes used by Makofka and Jed Wood with Hemostemix.

 The AIM loan was called when AIM was least able to service its debt obligations,

 which ultimately enabled Makofka and Jed Wood to gain control of all AIM assets

 and shares.

       111. Shortly thereafter, in January 2017, Makofka and Jed Wood formed

 Aspire as a Florida LLC and transferred all AIM contracts and activities to Aspire,

 including AIM’s services contract with Hemostemix.

       112. Makofka and Jed Wood appointed Makofka to be President and CEO

 of Aspire.

                                         35
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 36 of 187 PageID 36




       113. Jed Wood underwrote and continues to underwrite Aspire’s operations

 and activities.

       114. Throughout 2017, Aspire assumed an increasingly prominent role in

 Hemostemix’s operations.

       115. Another restructuring effort involved, as referenced above, targeting

 Hemostemix’s manufacturing operations in October 30, 2017 by winding up HEM-

 Israel, the wholly-owned Hemostemix subsidiary that was responsible for

 manufacturing ACP-01.

       116. HEM-Israel was a wholly-owned subsidiary responsible for all ACP-

 01 manufacturing for more than a decade. HEM-Israel possessed all trade secrets of

 “know-how” and “show-how” to reliably produce ACP-01.

       117. Instead of leaving all manufacturing operations with HEM-Israel, or

 transferring manufacturing operations to Hemostemix or a domestic subsidiary,

 Makofka devised a scheme with Jed Wood to have Hemostemix transfer to Aspire

 all ACP-01 manufacturing operations and information.

       118. Aspire had no experience relating to the manufacture or distribution of

 ACP-01.

       119. Makofka falsely represented to and misled the Hemostemix Board and

 shareholders that shuttering HEM-Israel, transferring all manufacturing activities

 related to ACP-01 to the United States, and vesting such activities within Aspire

                                        36
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 37 of 187 PageID 37




 would benefit Hemostemix’s “efficiency and logistics” for its ACP-01

 manufacturing operations by decreasing manufacturing and transport costs.

       120. In reality, the transfer orchestrated by Makofka, in collaboration with

 and at the direction of Jed Wood, was neither necessary nor appropriate. It did not

 materially decrease costs, nor did it materially improve efficiency, logistics or the

 manufacturing process. On the contrary, costs increased once the manufacturing

 operations were transferred to Aspire, an entity that had no prior experience or

 infrastructure to support the manufacturing of ACP-01.

       121. Under the Drive Capital Agreement, Drive Capital’s principals,

 Makofka and Jed Wood, controlled all management and business decisions of

 Hemostemix. Drive Capital’s compensation was equivalent to 15% of all Clinical

 Trial costs. Increasing Clinical Trial costs, rather than decreasing such costs,

 directly benefitted Makofka by increasing compensation Hemostemix paid to Drive

 Capital and Makofka.

       122. Expensing through Hemostemix the legal costs of the consolidation of

 Hemostemix’s IP from Kwalata to Hemostemix, and the transition of manufacturing

 operations from HEM-Israel to Aspire permitted Makofka and Jed Wood to

 immediately gain access to and take physical possession of and control over

 Hemostemix’s IP at Aspire at no cost. This was part of the scheme and conspiracy



                                          37
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 38 of 187 PageID 38




 to benefit Makofka and Jed Wood by consolidating and solidifying Aspire’s control

 over Hemostemix and its IP.

       123. Pursuant to the Drive Capital Agreement, Makofka and Jed Wood also

 secured significant financial and other benefits for Drive Capital and themselves, to

 the detriment of Hemostemix and in furtherance of their conspiracy. Such financial

 benefits included receiving unearned compensation and options rights to acquire a

 sizeable equity stake in Hemostemix at a discounted price per share.

       124. The Drive Capital Agreement further obligated Hemostemix to

 reimburse Drive Capital for all expenses, including those incurred for Drive

 Capital’s legal and advisory services. Hemostemix bore all financial risk and

 expenses under the Drive Capital Agreement, while Drive Capital and its principals,

 Makofka and Jed Wood, bore no risk.

       125. Makofka and Jed Wood used Hemostemix as their personal and

 professional slush fund. Any financial support from Makofka and Jed Wood were

 highly leveraged loan-to-own schemes, as discussed below, designed to saddle

 Hemostemix with greater debt obligations and expose it to a takeover while

 ultimately lining Makofka’s and Jed Wood’s pockets.

                            2017 Loan-to-Own Scheme

       126. In all cases, all financing arrangements presented by Makofka to the

 Board involved Jed Wood—or entities Makofka or Jed Wood owned and

                                          38
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 39 of 187 PageID 39




 controlled—providing financing to Hemostemix for Hemostemix to then pay

 outstanding “debts” of purported “creditors” relating to the conduct of the Clinical

 Trial. The purported “creditors” were, in turn, entities largely owned and controlled

 by Makofka or Jed Wood, or both, giving Makofka and Jed Wood a double-windfall.

       127. Such repressive and exploitive round-trip funding schemes were

 Makofka’s and Jed Wood’s stock-in-trade and were designed to increase Makofka’s

 and Jed Wood’s financial control and leverage over Hemostemix.

       128. On or about January 12, 2017, for instance, Drive Capital acquired the

 2016 Secured Debenture discussed above and, in turn, sold it to Wood Capital, a

 company owned and controlled by Jed Wood and Blake Wood.

       129. While formalizing the purchase of the 2016 Secured Debenture, on or

 about January 25, 2017, at Makofka’s direction, Drive Capital agreed to provide,

 and Hemostemix agreed to accept, $750,000 in purported “emergency funding.”

 The purported “emergency,” as presented by Makofka to the Hemostemix Board,

 was a machination created by Makofka and Jed Wood.

       130. The Drive Capital alleged “emergency funding” involved extending a

 secured demand loan to Hemostemix at a 12% interest rate. It was secured by all of

 Hemostemix’s IP and assets, required interest-only monthly payments, but was

 repayable in full on demand (the “2017 Loan-to-Own”). Drive Capital ensured the



                                          39
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 40 of 187 PageID 40




 terms of the 2017 Loan-to-Own allowed it to exercise its demand option at any time

 in its sole discretion.

        131. The 2017 Loan-to-Own was a sham and its terms were commercially

 unreasonable.

        132. Makofka and Jed Wood prepared the terms of the 2017 Loan-to-Own,

 which weighed heavily in Drive Capital’s favor, and presented it to the Hemostemix

 Board. Despite the commercially unreasonable terms, the Board approved the 2017

 Loan-to-Own based on the misleading advice and recommendation of Makofka that

 the “emergency funding” was necessary.         Drive Capital then advanced to

 Hemostemix $375,000 in purported “emergency” funding.

        133. Drive Capital assigned the 2017 Loan-to-Own to Wood Capital, an

 entity controlled by Jed Wood and Blake Wood under the Wood Group Family

 Office syndicate.

        134. In the course of only a few days, then, Jed Wood, individually or

 through corporate entities he owned and controlled, acquired $1.375 million in debt

 obligations secured by all of Hemostemix’s IP and assets.

        135. On March 21, 2017, at Makofka’s and Jed Wood’s direction,

 Hemostemix issued a press release announcing the Company’s purported

 deteriorating financial health, its difficulty obtaining financing to maintain

 operations, and the possibility that Jed Wood could force Hemostemix into

                                         40
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 41 of 187 PageID 41




 receivership and acquire all of Hemostemix’s IP and assets, as secured collateral for

 the 2017 Loan-to-Own.

       136. The March 21, 2017 press release was intended to, and did, imperil and

 impede Hemostemix’s financing efforts, increase its dependency on Jed Wood’s

 financing, and further solidify Makofka’s and Jed Wood’s control over Hemostemix.

                             2017 Wood Capital Loan

       137. On April 10, 2017, at Makofka’s direction, Hemostemix announced

 another repressive and exploitive round-trip funding scheme: a $4.4 million

 convertible secured loan with Wood Capital (the “Wood Capital Loan”). The

 Wood Capital Loan was designed to benefit Makofka and Jed Wood at the expense

 of Hemostemix.

       138. The Wood Capital Loan was a sham and its terms were commercially

 unreasonable.

       139. More than half of the funds offered under the Wood Capital Loan were

 earmarked to pay, and were in fact used to pay, Wood Capital to benefit Jed Wood

 and Makofka. This included costs Makofka and Jed Wood, or entities they owned

 or controlled, incurred in the failed 2016 Proxy Challenge and costs of conducting

 due diligence of Hemostemix related to the failed 2016 Loan-to-Own Offer, none of

 which should have been charged to or paid by Hemostemix.



                                          41
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 42 of 187 PageID 42




       140. For instance, of the $4.4 million available under the Wood Capital

 Loan, Hemostemix was required to use $2.4 million as a “Bridge Refinancing

 Advance” to benefit Makofka and Jed Wood, specifically:

          a. $1 million was to be used to pay, two years early, the $1 million owed

             to Wood Capital under the 2016 Secured Debenture;

          b. $750,000 was to be used to pay outstanding secured credit obligations

             related to the 2017 Loan-to-Own, also assigned to Wood Capital;

          c. approximately $500,000 was to be used to pay Wood Capital for costs

             related to the due diligence investigation of Hemostemix and expenses

             incurred by Makofka and Jed Wood personally related to the failed

             2016 Proxy Challenge; and

          d. approximately $150,000 was to be used to pay Wood Capital for costs

             related to the due diligence investigation of Hemostemix and the

             expenses incurred by Drive Capital related to the failed 2016 Proxy

             Challenge.

       141. Makofka and Jed Wood ultimately paid themselves while saddling

 Hemostemix with the costs, including debt load obligations, associated with the

 payments on the Wood Capital Loan.

       142. Additionally, the Wood Capital Loan increased Hemostemix’s secured

 debt obligations and impaired Hemostemix financially.

                                         42
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 43 of 187 PageID 43




        143. Consequently, Hemostemix became further impaired in its ability to

 obtain financing from other outside sources and, instead, became increasingly

 dependent on Makofka and Jed Wood.

        144. A May 25, 2017 Information Circular published at the direction of

 Makofka and Jed Wood and filed on SEDAR1 June 6, 2017 sought, inter alia,

 shareholder approval of the sham Wood Capital Loan and the purported “Bridge

 Refinancing Advance.”

        145. The May 2017 Information Circular was intended to and did mislead

 Hemostemix’s shareholders by, among other things, mischaracterizing components

 of the $2.4 million “Bridge Refinancing Advance” as repayment to the adverse and

 losing parties who stood against Hemostemix in the Proxy Challenge—an amount

 that never was nor could be considered a pre-existing debt owed by Hemostemix.

        146. Further, Drive Capital provided no funding to Hemostemix under the

 Wood Capital Loan. Instead, Makofka and Jed Wood restructured the 2016 Secured

 Debenture and the 2017 Loan-to-Own to benefit themselves and their corporate

 interests, at the expense of Hemostemix, by further increasing Hemostemix’s

 secured debt obligations.




 1
   “SEDAR” is an abbreviation for “System for Electronic Document Analysis and Retrieval,”
 which is a mandatory electronic document filing system for publicly traded Canadian companies
 to report securities-related information. It is similar to “EDGAR” in the United States.
                                                    43
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 44 of 187 PageID 44




       147. Under the Wood Capital Loan, then, Hemostemix paid millions to

 entities owned and controlled by Makofka and Jed Wood while Hemostemix

 realized no material financial benefit from the transaction and, instead, emerged with

 even more repressive debt obligations.

       148. Throughout 2017, Makofka continued to serve as CRO of Hemostemix

 pursuant to the Drive Capital Agreement. He and other Drive Capital employees

 tasked to provide services to Hemostemix were expected to provide full time and

 attention to Hemostemix in exchange for a lucrative compensation package.

       149. At no time during the period covered by this Complaint did Makofka

 or the other Drive Capital employees dedicate full time or attention to Hemostemix.

 Instead, Makofka divided allocated more time, attention and loyalty to Aspire and

 Drive Capital than to Hemostemix.

       150. Despite dividing his time and loyalties, Makofka never once pro-rated

 his compensation accordingly.

       151. Makofka thereby stole hundreds of thousands of dollars in unearned

 compensation from and at the expense of Hemostemix through the Drive Capital

 Agreement.

       152. Makofka’s theft in the form of unearned compensation was one of many

 ways Makofka misused and abused his position as CRO of Hemostemix.



                                          44
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 45 of 187 PageID 45




    C. Makofka Misused and Abused his Position as President and Chief
       Executive Officer of Hemostemix.

       153. Despite Makofka already failing at his duties as CRO, and having no

 experience leading a clinical stage biotechnology company, on or about November

 30, 2017, Makofka and Jed Wood coerced and induced the Hemostemix Board to

 appoint Makofka to be the President and CEO of Hemostemix pursuant to the Drive

 Capital Agreement.

       154. Separate and independent of any contractual duties owed by Makofka

 to Hemostemix under the Drive Capital Agreement, Makofka owed fiduciary duties

 of loyalty and care as President and CEO of Hemostemix. Makofka continued to

 breach and violate those duties.

       155. At the same time Makofka was serving as President and CEO of

 Hemostemix, he also served as President and CEO of Aspire pursuant to a

 substantially similar agreement with Drive Capital.

       156. At all times under the Drive Capital Agreement, Makofka had, as one

 of his principal duties and responsibilities secured capital investment for

 Hemostemix to fund its operations, including the Clinical Trial. Makofka was

 expected to capitalize on opportunities for fundraising and promoting Hemostemix,

 ACP-01 and its Clinical Trial successes in Florida and elsewhere.

       157. Hemostemix even engaged outside consultants specifically to assist

 Makofka in raising capital. Makofka still failed and should have been terminated.
                                         45
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 46 of 187 PageID 46




 The only reason Makofka was not terminated was because he and Jed Wood

 effectively controlled the Hemostemix Board.        Despite how poorly Makofka

 performed, he was assured of a management position at Hemostemix during the

 period of the ongoing conspiracy.

       158. On or about July 12, 2018, Hemostemix engaged “Capital Find

 Partners” (“CFP”) as an equity market consultant to attract capital investment. CFP

 provided Makofka with multiple promising investment opportunities. Makofka met

 with CFP’s investment leads, but refused to disclose any meeting notes or a critical

 path to close a financing.

       159. Obtaining outside financing meant Makofka and Jed Wood would lose

 some degree of control over Hemostemix and its operations, which was unacceptable

 to Makofka and Jed Wood.

       160. Makofka squandered the CFP financing opportunities.              Instead,

 Makofka continued to focus his attention on managing Aspire’s operations in Florida

 in order to position Aspire, and therefore himself and Jed Wood, to take control of

 Hemostemix.

       161. Despite CFP’s knowledge of the industry and promising prospects,

 Makofka never invited CFP to accompany him to any of the investor meetings or

 conferences. He was also secretive about what occurred at those investor meetings



                                         46
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 47 of 187 PageID 47




 and conferences. Makofka failed to secure investor funding from any of the CFP

 financing opportunities.

       162. Makofka’s poor presentation skills, lack of industry knowledge and

 experience, and ulterior motivations of focusing on raising funds for Aspire rather

 than Hemostemix, caused Hemostemix to miss out on critical financing

 opportunities.

       163. Makofka’s failure to raise meaningful capital for Hemostemix—

 whether by design, negligence or incompetence—led Hemostemix to become even

 more heavily dependent on highly leveraged funding from Jed Wood.

       164. Despite owing fiduciary duties to Hemostemix, Makofka’s actions

 were designed and directed to benefit Aspire and, by extension, Makofka and Jed

 Wood, to Hemostemix’s detriment.

       165. Among other things, Makofka misused his position with Hemostemix

 to mislead and misdirect the Hemostemix Board to take actions to benefit Makofka

 and Jed Wood, not Hemostemix, including transferring manufacturing operations to

 Aspire, and entering into manufacturing and licensing agreements to benefit Aspire.

 Manufacturing Agreement and Original License Agreement (February 2018)

       166. Soon after convincing the Hemostemix Board to transition

 manufacturing operations from HEM-Israel to Aspire, Makofka and Jed Wood

 convinced the Board to have Hemostemix enter into a Contract Manufacturing

                                         47
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 48 of 187 PageID 48




 Services Agreement with Aspire dated February 15, 2018 (“Manufacturing

 Agreement”). A true and correct copy of the Manufacturing Agreement is attached

 hereto as Exhibit 2.

       167. Under the Manufacturing Agreement, Aspire was to provide laboratory

 manufacturing services to Hemostemix in Florida.

       168. At the direction of Makofka and Jed Wood, Jenkins signed the

 Manufacturing Agreement for Hemostemix.

       169. Also at the direction of Makofka and Jed Wood, Matthew Bolin, Vice

 President of Operations for Aspire, signed the Manufacturing Agreement on behalf

 of Aspire to conceal the fact that Makofka was negotiating both sides of the

 transaction.

       170. Makofka and Jed Wood negotiated for and advised Hemostemix on the

 purported benefits of entering the Manufacturing Agreement while at the same time,

 negotiating for the benefit of and in furtherance of Aspire’s interests.

       171. Hemostemix received no compensation or other consideration from

 Aspire for the rights conferred on Aspire under the Manufacturing Agreement.

 Instead, Makofka secured approval of the Jed Wood-controlled Board by making

 false representations to the Board about the need for and benefit of Hemostemix

 approving the Manufacturing Agreement, and by leveraging Jed Wood’s financial

 and other control over Hemostemix and the Board members.

                                           48
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 49 of 187 PageID 49




       172. Despite the Manufacturing Agreement, Hemostemix remained the sole

 owner of the Hemostemix IP, including all Clinical Trial Data.

       173. At the same time, Makofka and Jed Wood convinced the Board that

 Hemostemix enter into a License Agreement with Aspire dated February 15, 2018

 (“Original License Agreement”). A true and correct copy of the Original License

 Agreement is attached hereto as Exhibit 3.

       174. Under the Original License Agreement, Aspire received licensing

 rights to use, sell and import ACP-01 in Florida and certain Central American and

 Caribbean countries.

       175. At the direction of Makofka and Jed Wood, Jenkins signed the Original

 License Agreement for Hemostemix.

       176. Also at the direction of Makofka and Jed Wood, Matthew Bolin, Vice

 President of Operations for Aspire, signed the Original License Agreement on behalf

 of Aspire to conceal the fact that Makofka was negotiating both sides of the

 transaction for his and Jed’s benefit.

       177. Makofka and Jed Wood advised and negotiated for Hemostemix on the

 purported benefits of entering the Original License Agreement while at the same

 time, negotiating for the benefit of and in furtherance of Aspire’s interests.

       178. Hemostemix received no compensation or other consideration from

 Aspire for the rights conferred on Aspire under the Original License Agreement.

                                           49
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 50 of 187 PageID 50




 Instead, Makofka secured approval from the Jed Wood-controlled Board by making

 false representations to the Board about the need for and benefit of Hemostemix

 approving the Original License Agreement, and by leveraging Jed Wood’s financial

 and other control over Hemostemix and the Board members.

       179. The Original License Agreement delegated to Aspire certain

 responsibilities with respect to the registration of new patients and testing sites for

 Phase II of the ACP-01 Clinical Trial. Aspire was also obligated to treat all

 Hemostemix IP and other property as confidential.           This obligation survived

 termination or expiration of the OLA. Aspire and Makofka failed and refused to

 comply with and, in fact, violated their duty to treat and protect all Hemostemix

 property as confidential.

       180. Section 16.2 of the Manufacturing Agreement and Section 13.2 of the

 Original License Agreement contain identical language regarding the parties’

 obligations to protect confidential information during the term of each agreement

 and even after termination or expiration of each agreement. These confidentiality

 obligations were separate and exclusive from the duty of confidentiality of

 Hemostemix’s IP set forth in the Drive Capital Agreement discussed above.

       181. At all times, Hemostemix remained the sole owner of all IP related to

 ACP-01 and the Clinical Trial.



                                           50
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 51 of 187 PageID 51




       182. Nonetheless, Makofka gained unfettered access to Hemostemix’s IP

 and its proprietary Clinical Trial Data both through the terms of the Manufacturing

 Agreement and Original License Agreement, but also through the Drive Capital

 Agreement which remained in effect through December 2018.

       183. Throughout the course of the relationship with Aspire, Hemostemix

 took careful, prudent, and reasonable steps to secure the confidentiality of the

 Hemostemix IP, including all Clinical Trial Data, by among other things, ensuring

 that the Manufacturing Agreement and Original License Agreement contained strict

 confidentiality provisions.

       184. Aspire and Makofka were obligated to return all Hemostemix IP,

 including Clinical Trial Data, to Hemostemix upon the termination or expiration of

 the Manufacturing Agreement and Original License Agreement. These obligations

 to return and not retain are separate and exclusive from the obligations of Aspire and

 Makofka to return Hemostemix’s IP set forth in the Drive Capital Agreement

 discussed above.

       185. Aspire and Makofka failed and refused to comply with and, in fact,

 violated their duties and contractual obligations to return all Hemostemix IP,

 including Clinical Trial Data, to Hemostemix upon termination of the Original

 License Agreement, the Manufacturing Agreement and the Drive Capital

 Agreement.

                                          51
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 52 of 187 PageID 52




          186. In late December 2018, the Drive Capital Agreement expired by its

 terms.

          187. Makofka and Jed Wood convinced the Hemostemix Board to substitute

 the Drive Capital Agreement with a management agreement with KSM (the “KSM

 Agreement”), effective January 1, 2019. A true and correct copy of the KSM

 Agreement is attached hereto as Exhibit 4.

    D. The KSM Agreement for Management/Operational Services.

          188. The KSM Agreement had an initial one-year term. (Ex. 4, § 3 at 4.)

          189. The KSM Agreement did not supersede or nullify any obligations

 Makofka, Jed Wood, or Drive Capital owed to Hemostemix after termination of the

 Drive Capital Agreement.        Instead, their obligations survived expiration or

 termination of the Drive Capital Agreement.

          190. Likewise, Makofka’s and KSM’s contractual obligations under the

 KSM Agreement were independent of, mutually exclusive from, and not superseded

 or nullified by any obligations Makofka owed to Hemostemix under the

 Manufacturing Agreement or Original License Agreement, discussed above, or by

 the Amended License Agreement, discussed below.

          191. The KSM Agreement was signed by Makofka for KSM, and Angus

 Jenkins for Hemostemix.



                                          52
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 53 of 187 PageID 53




       192. Makofka and Jed Wood intended the KSM Agreement, as part and

 parcel to the overall conspiracy, to be carried out and affect activities and operations

 in Florida.

       193. Like the preceding Drive Capital Agreement, the KSM Agreement

 authorized KSM and Makofka to advise, manage, assist and support Hemostemix in

 its day-to-day operations in order to effectuate Hemostemix’s business and strategic

 plans. (Ex. 4, § 2 at 2.) As Hemostemix would later learn, Makofka and Jed Wood

 used this authority to benefit themselves at the expense of Hemostemix.

       194. According to Section 2 of the KSM Agreement, Makofka, as both

 owner of and agent to KSM and as President and CEO of Hemostemix, reported

 directly to the Hemostemix Board, chaired by Jenkins. (Ex. 4, § 2 at 3.) In reality,

 Makofka and Jed Wood controlled Jenkins’ decision-making.

       195. Like the preceding Drive Capital Agreement, the KSM Agreement gave

 KSM, Makofka and all KSM employees assigned to provide services under the KSM

 Agreement access to “all required systems and data . . . .” (Ex. 4, § 4 at 3.) As

 Hemostemix would later learn, Makofka and Jed Wood used this access to benefit

 themselves at the expense of Hemostemix.

       196. Like the preceding Drive Capital Agreement, the KSM Agreement

 imposed limits and restrictions on what KSM, its principal (Makofka) and agents



                                           53
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 54 of 187 PageID 54




 assigned to provide services under the KSM Agreement could do with

 Hemostemix’s IP and other “confidential information,” to wit:

          a. KSM and its principal (Makofka) and agents were required to maintain

              all Hemostemix IP and other property as strictly confidential;

          b. KSM and its principal (Makofka) and agents were prohibited from

              retaining any IP or other property after termination or expiration of the

              KSM Agreement; and

          c. KSM and its principal (Makofka) and agents who acquired access to or

              copies of Hemostemix IP, were required to return all Hemostemix IP,

              including all files, records, documents, data and other information, to

              Hemostemix upon termination or expiration of the KSM Agreement.

 (Ex. 4, § 8 at 7.)

       197. Hemostemix, as an entity, thus took reasonable steps to at least protect

 its Confidential Information. These duties of confidentiality and proper handling

 and return of confidential information set forth under Section 8 survived termination

 of the KSM Agreement. (Ex. 4, § 13(e) at 12.) As Hemostemix would later learn,

 KSM and Makofka violated their duties and responsibilities under Section 8 in the

 handling, misappropriation and improper retention of Hemostemix’s confidential

 information, all for the benefit of Makofka and Jed Wood, at the expense of

 Hemostemix.

                                          54
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 55 of 187 PageID 55




       198. Like the preceding Drive Capital Agreement, the KSM Agreement

 granted KSM and Makofka authority to oversee and manage all aspects of the

 operations and management of Hemostemix. As Hemostemix would later learn,

 Makofka and Jed Wood used this authority to benefit themselves at the expense of

 Hemostemix.

       199. Like the preceding Drive Capital Agreement, the KSM Agreement

 provided Makofka lucrative compensation whereby he was paid a fixed fee for key

 management personnel costs, support services, accounting and office rental. KSM

 and Makofka were provided financial incentives and inducements to increase

 operating costs. Specifically, KSM’s and, by extension, Makofka’s, compensation

 or remuneration was to be equal to 15% of all Clinical Trial costs. (Ex. 4, § 5 at 4.)

 Increasing Clinical Trial costs directly benefitted KSM and its principal, Makofka,

 by increasing compensation Hemostemix paid to KSM and Makofka.

       200. Pursuant to the KSM Agreement, Makofka retained his position as

 President and CEO of Hemostemix and maintained control over Hemostemix’s day-

 to-day operations. Makofka continued to owe fiduciary duties to Hemostemix,

 which he violated through his self-dealing conduct.

       201. Like the preceding Drive Capital Agreement, the KSM Agreement

 required KSM, Makofka, and agents assigned to provide services to Hemostemix to

 “undertake all of the Work diligently in a good and workmanlike manner.” (Ex. 4,

                                          55
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 56 of 187 PageID 56




 § 7 at 6.) As Hemostemix would later learn, KSM, as well as Makofka and his team

 failed to perform in accordance with this standard.

       202. Like the preceding Drive Capital Agreement, the KSM Agreement

 required KSM, Makofka, KSM and agents to provide full time services and attention

 to Hemostemix. As Hemostemix would later learn, neither Makofka nor any KSM

 personnel provided full time services to Hemostemix. Rather, KSM and Makofka

 dedicated far less than full time due to KSM and Makofka also providing services to

 Aspire that were contrary to and inconsistent with its responsibilities for

 Hemostemix.

       203. Despite dividing his time between Hemostemix and Aspire, however,

 Makofka and KSM did not reduce the compensation due from Hemostemix. Instead,

 Makofka continued to pay himself and his KSM employees unearned compensation

 for full time work that they did not perform in violation of the KSM Agreement

       204. The KSM Agreement reaffirmed that all property owned by

 Hemostemix and provided to KSM during the term of the KSM Agreement remained

 the “exclusive property” of Hemostemix and, further, must be surrendered upon

 Hemostemix’s request or upon termination of the KSM Agreement. (Ex. 4, § 10 at

 8.) KSM and Makofka breached this covenant by wrongfully retaining, refusing to

 return and misappropriating Hemostemix’s IP and other property.



                                          56
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 57 of 187 PageID 57




       205. Like the preceding Drive Capital Agreement, the KSM Agreement

 restricted KSM and its principal (Makofka) and agents providing services to

 Hemostemix from taking any action that would benefit another entity or individual

 over Hemostemix.       Specifically, Section 11 permitted KSM and its principal

 (Makofka) to provide services for other clients, “provided [KSM’s] other services

 for other clients does not interfere with or detract from the provision of the Work

 and the performance of [KSM’s] duties and obligations pursuant to this Agreement.”

 (Ex. 4, § 11 at 9 (emphasis added).) As Hemostemix would later learn, KSM and

 Makofka violated this covenant by taking action designed to benefit KSM, Makofka

 as well as Jed Wood and Aspire at the expense of Hemostemix.

       206. The KSM Agreement contained a “Non-Solicitation” covenant. KSM

 and its principal (Makofka) and agents, for a three-year period following the

 expiration date of the Agreement (whether or not terminated earlier than the

 expiration date), directly or indirectly, from:

           a. soliciting, encouraging or facilitating Hemostemix clients or customers

              to alter, modify, vary, diminish or cease their client or customer

              relationships with Hemostemix;

           b. using or permitting Hemostemix’s name to be used in connection with

              any business or enterprise competing with Hemostemix;



                                            57
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 58 of 187 PageID 58




          c. soliciting, inducing, encouraging or facilitating any employees,

              consultants, suppliers or subcontractors of Hemostemix to leave the

              employment of, or the consulting, supply or subcontractor relationship

              with Hemostemix; and

          d. soliciting business from any person known by it to be a customer or

              vendor of Hemostemix, whether or not KSM or any of its personnel had

              personal contact with such person during the term of the Agreement.

 (Ex. 4, § 12(a) at 9.)

       207. These duties and restrictions arising under the Non-Solicitation

 provision survived termination of the KSM Agreement. (Ex. 4, § 13(e) at 12.)

       208. As Hemostemix would later learn, Makofka and Jed Wood violated this

 covenant in the KSM Agreement.

       209. Within one year of the termination and/or expiration of the KSM

 Agreement, Makofka and Jed Wood, as well as other KSM agents, solicited,

 encouraged, and/or facilitated clients and customers, including without limitation

 vendors and consultants, to alter, modify, diminish and/or cease their respective

 relationships with Hemostemix. They also solicited, induced, encouraged and/or

 facilitated, some under false and fraudulent pretenses, certain employees,

 consultants, suppliers, contractors and/or subcontractors, including without

 limitation, Jacobs, Cooper, Fairbairn, Medrio, Accudata, and Anju, among others, to

                                         58
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 59 of 187 PageID 59




 leave the employment of, consultancy, contractor or subcontractor or other

 relationship with Hemostemix.

         210. Unbeknownst to the Hemostemix Board at the time, KSM had a

 virtually identical management agreement with Aspire, effective in or about January

 2017.

         211. KSM’s agreement with Aspire called for Makofka to provide

 substantially the same management and operational services to Aspire as it was

 providing to Hemostemix.

         212. Makofka served as President and CEO of Aspire at the same time that

 he served as President and CEO of Hemostemix.

         213. Makofka assigned the same employees to provide services to Aspire as

 he assigned to provide services to Hemostemix.

         214. KSM and Makofka stole money in the form of unearned compensation

 from Hemostemix. Pursuant to the KSM Agreement, KSM and Makofka were

 obligated to provide full-time services to Hemostemix. In exchange, KSM and

 Makofka were entitled to compensation under the KSM Agreement.

         215. Makofka did not provide full time services to Hemostemix. Instead,

 Makofka, through KSM, was serving as Aspire’s President and CEO for which he

 earned compensation under Aspire’s agreement with KSM.



                                         59
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 60 of 187 PageID 60




       216. Despite dividing his time between Hemostemix and Aspire, however,

 Makofka did not reduce his compensation from Hemostemix. Because Makofka

 controlled Hemostemix’s finances, Makofka continued to pay himself and his KSM

 employees unearned compensation for full time work that they did not perform.

       217. In fact, Makofka paid himself and other KSM employees tens of

 thousands of dollars in unearned compensation. In other words, Makofka stole tens

 of thousands of dollars from Hemostemix in unearned compensation.

       218. Further, by simultaneously serving as President and CEO of both

 Aspire and Hemostemix, Makofka subordinated Hemostemix’s rights and interests

 to those of Aspire, Makofka and Jed Wood.

    E. Makofka Misused and Abused his Position as President and CEO of
       Hemostemix.

       219. By ratifying and approving the KSM Agreement, the Jed Wood-

 controlled Board ensured that Makofka would remain a part of Hemostemix’s

 decision-making and strategy development processes. This was part of and in

 furtherance of the conspiracy to take control of Hemostemix.

       220. Pursuant to the KSM Agreement, Makofka owed a fiduciary duty to

 Hemostemix including a duty of care and duty of loyalty.

       221. Makofka failed to fulfill and, in fact, breached, his fiduciary duty,

 including his duty of care and duty of loyalty, to Hemostemix, as evidenced by his


                                         60
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 61 of 187 PageID 61




 multiple instances of self-dealing and subordinating the interests of Hemostemix to

 those of Aspire, Makofka and Jed Wood.

       222. Pursuant to the KSM Agreement, Makofka was responsible for

 overseeing and managing all aspects of the operations and management of

 Hemostemix from January 1, 2019 until its termination on October 31, 2019.

       223. Pursuant to the KSM Agreement, Makofka assigned KSM employees

 to provide services, including information technology and information security,

 administrative support, controller and accounting services, and oversight of the

 Clinical Trial to Hemostemix.

       224. Pursuant to the KSM Agreement, KSM and its principal (Makofka) and

 agents including Cooper, Laura Fairbairn, and other assigned personnel gained

 access to Hemostemix’s IP.

       225. The KSM Agreement required KSM and its personnel to, at all times,

 maintain and protect the confidentiality of all Hemostemix IP. KSM and Makofka

 failed and refused to comply with and purposefully and intentionally violated this

 duty of confidentiality.

       226. The KSM Agreement prohibited KSM from retaining the Hemostemix

 IP without proper written consent or permission from Hemostemix. KSM and

 Makofka failed and refused to comply with and purposefully and intentionally

 violated this duty of confidentiality.

                                          61
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 62 of 187 PageID 62




       227. The KSM Agreement required KSM to return all Hemostemix IP to

 Hemostemix upon termination of the KSM Agreement. KSM and Makofka failed

 and refused to comply with and purposefully and intentionally violated this duty.

       228. Pursuant to the KSM Agreement, Makofka was principally responsible

 as President and CEO of Hemostemix of raising capital for Hemostemix to fund its

 operations, including the Clinical Trial. Makofka was expected to capitalize on

 opportunities for fundraising and promoting Hemostemix, ACP-01 and its Clinical

 Trial successes.

       229. Makofka failed to fulfill his responsibilities as President and CEO.

       230. Similar to his failure to capitalize on the CFP investment opportunities

 presented in 2018, Makofka continued in 2019 to be incapable of or unwilling to

 raise meaningful capital for Hemostemix to grow the business or improve

 operations.

       231. Makofka’s inexperience, ineptitude and opportunistic intentions

 resulted in Hemostemix raising little new financing under his tenure as President and

 CEO. Instead, Makofka steered financing to companies owned and/or controlled by

 Makofka and Jed Wood.

       232. Makofka misled the Board into accepting new repressive and exploitive

 secured debt obligations in transactions financed by entities owned and controlled

 by Makofka and Jed Wood.

                                          62
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 63 of 187 PageID 63




               2019 Wood Debenture and 2019 Wood Loan-to-Own

       233. On April 15, 2019, Hemostemix, at Makofka’s direction, announced a

 $6 million private placement of secured convertible debentures at 8% interest, with

 a maturity of twenty-four (24) months.

       234. Only two weeks later, on May 3, 2019, Hemostemix, at Makofka’s

 direction, announced a $1 million private placement of secured convertible

 debentures with a 12% interest rate and a seven (7) month maturity date of December

 31, 2019.

       235. The 2019 secured debenture offering was designed by Makofka. Not

 surprisingly, on May 15, 2019, Jed Wood purchased, through JMWI, $500,000 and

 agreed to advance this amount to Hemostemix (the “2019 Wood Debenture”).

       236. That same day, on May 15, 2019, at Makofka’s and Jed Wood’s

 direction, Hemostemix entered into a general security agreement with Jed Wood,

 granting Jed Wood a security interest in all Hemostemix “present and after-

 acquired” assets and property, in order to secure repayment of Hemostemix’s

 obligation under the repressive and exploitive 2019 Wood Debenture.

       237. During this time period, Makofka and Jed Wood conspired to further

 financially leverage Hemostemix in order to acquire the Hemostemix IP rights. In

 particular, Makofka’s written and oral communications with the Board warned,

 falsely, that Hemostemix was at risk of a receivership and, therefore, it should agree

                                          63
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 64 of 187 PageID 64




 to a “royalty” and a new joint venture or new licensing agreement with Aspire that

 was the only hope of saving the Company.

       238. Makofka further advised that Hemostemix must enter into a loan

 agreement with Jed Wood.

       239. Makofka threatened to resign as CEO and withdraw all KSM staff

 unless Hemostemix complied.       Makofka knew that resigning as CEO, and

 withdrawing all KSM staff, would violate the KSM Agreement and his fiduciary

 duties.

       240. Makofka knew at the time he made these communications that the

 Board would rely on his warnings and threats.

       241. Makofka knew that his assessment of the financial condition of

 Hemostemix was exaggerated but, to the extent any aspect was true, the financial

 hardships were created by his acts and omissions.

       242. Makofka knew at the time that the Board would also consider the

 hardship to flow from Makofka’s threatened resignation and withdrawal of all KSM

 employees.

       243.   Consistent with the latest efforts to create a “loan-to-own” scheme

 under the 2019 Wood Debenture, Makofka and Jed Wood initially proposed and

 later pursued a deal between Hemostemix and Aspire that would purportedly create

 a Hemostemix receivership.

                                         64
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 65 of 187 PageID 65




       244. Makofka and Jed Wood routinely tried to extort Hemostemix into

 acquiescing to their demands by threatening to force Hemostemix into insolvency

 and halting Aspire’s day-to-day operations to manufacture and distribute ACP-01

 despite its contractual obligation to do so.

       245. Makofka’s and Jed Wood’s conduct was so egregious and troubling

 that, on June 17, 2019, Kristen Gulka (“Gulka”), then-CFO of Hemostemix and

 Aspire, resigned from her position at Hemostemix effective that same day. In

 resigning, Gulka cited “severe conflicts of interest” related to Makofka and Wood’s

 extortionist tactics. Having observed the tactics firsthand, Makofka’s and Wood’s

 conduct raised serious ethical conflicts and fiduciary breaches. Gulka also had

 significant concerns about Makofka’s destructive acts directed at driving

 Hemostemix into insolvency.

       246. To further solidify financial control over Hemostemix, on August 1,

 2019, Makofka and Jed Wood compelled and induced Hemostemix to enter into

 another repressive and exploitive “loan to own” scheme loan for up to $2 million

 financed by Jed Wood, through JMWI (the “2019 Wood Loan-to-Own”).

       247. The repressive and exploitive 2019 Wood Loan-to-Own gave Jed

 Wood a 12% interest rate payable over a twelve (12) month term starting the date of

 execution.



                                           65
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 66 of 187 PageID 66




       248. The repressive and exploitive 2019 Wood Loan-to-Own became

 payable on demand on or after September 30, 2019, with only sixty (60) days’ notice

 to Hemostemix.

       249. The repressive and exploitive 2019 Wood Loan-to-Own was used by

 Makofka and Jed Wood to compel Hemostemix to enter into a more oppressive

 license agreement with Aspire.

       250. Makofka’s prediction about the impending demise and insolvency of

 Hemostemix was highly questionable. Indeed, at the same time he was threatening

 and extorting the Hemostemix Board, Makofka, on September 19, 2019, sat for an

 interview to discuss Hemostemix’s stem cell technology with Bio Informant, a trade

 publication. During the interview, Makofka made several statements of material fact

 that undermined his threats to ruin Hemostemix.

       251. When describing Aspire’s work and data collection on behalf of

 Hemostemix, for instance, Makofka admitted that “[I]t is important to mention that

 all of the data collected by Aspire belongs to Hemostemix.”

       252. Regarding the safety and efficacy of ACP-01, Makofka advised: “I

 cannot emphasize this message clearly enough. ACP-01 is a platform that has shown

 safety and efficacy in treating multiple indications without severe adverse events.”




                                          66
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 67 of 187 PageID 67




       253. Nonetheless, Makofka continued to peddle in lies and false threats to

 the Hemostemix Board in order to intimidate the Board into ultimately executing a

 more repressive and exploitive license agreement with Aspire.

       254. To seal the deal, on or about October 1, 2019, Jed Wood delivered a

 notice to Hemostemix demanding repayment on or before November 30, 2019 of the

 2019 Wood Loan-to-Own and 2019 Wood Debenture (“Wood Demand Notice”).

 Delivery of the Wood Demand Notice was designed to force the Hemostemix Board

 into believing it had no choice but to execute a more repressive and exploitive license

 agreement proposed by Makofka, on behalf of Aspire.

                  Amended License Agreement (September 2019)

       255. At Makofka’s and Jed Wood’s direction, and under the impending

 Wood Demand Notice, sometime between October 1 and October 8, 2019, the Board

 finally relented and entered into an amended license agreement with Aspire effective

 September 30, 2019 (the “Amended License Agreement”). A true and correct copy

 of the Amended License Agreement is attached hereto as Exhibit 5.

       256. Compared to the Original License Agreement, the terms of the

 Amended License Agreement significantly expanded Aspire’s licensing rights and

 created new rights heavily favoring Aspire at the expense of Hemostemix.

       257. The Amended License Agreement had a ten (10) year term. (Ex. 5, §

 11.1, at 27.)

                                           67
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 68 of 187 PageID 68




       258. The Amended License Agreement, drafted at the direction of Makofka

 and Jed Wood, contained terms that were significantly less favorable to Hemostemix

 than the Original License Agreement.

       259. The Amended License Agreement removed any realistic benefit for

 Hemostemix to obtain revenue from the commercialization of ACP-01 and provided

 all benefit to Aspire.

       260. The Amended License Agreement granted and greatly increased

 Aspire’s ability to unilaterally convert Hemostemix’s IP.

       261. The Amended License Agreement removed significant controls that

 Hemostemix had in the Original License Agreement relating to the Clinical Trial.

       262. The Amended License Agreement included a clause that the Agreement

 would survive and remain in full force in the event of a Hemostemix insolvency.

 (Ex. 5, § 11.3(g), at 28.) This term was added by or at the direction of Makofka and

 Jed Wood in anticipation of their effort to force Hemostemix into a receivership or

 insolvency, and thereafter take control of Hemostemix.

       263. The Amended License Agreement vastly expanded the scope of the

 license granted to Aspire, making it a global license. (Compare, e.g., Ex. Recitals

 at 3, with Ex. 5, Recitals at 3, and § 9 at 23-25.) This, in turn, drastically reduced

 any potential benefit for Hemostemix in relation to ACP-01 by precluding

 Hemostemix, the clinical trial sponsor and holder of the patents, from obtaining

                                          68
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 69 of 187 PageID 69




 additional license revenue from other potential licensees while expressly providing

 for Aspire, a mere contractor, all licensing revenue and royalties. (Ex. 5, § 8.1 at

 22.)

        264. Further punctuating the repressive and exploitive nature of the

 Amended License Agreement is the insertion of a “Partnering Event” concept

 designed by Makofka and Jed Wood. (Ex. 5, § 1.1, at 9, § 9.1-9.4 at 23-25; see also

 Ex. 5 Appendix B.)

        265. This “Partnering Event” concept effectively ensured that all upside

 potential of ACP-01 would flow to Makofka and Jed Wood through Aspire rather

 than to Hemostemix.

        266. A Partnering Event included any agreement among Aspire and any

 third party relating to the development, manufacturing and commercialization of

 ACP-01, including “partnering, licensing, joint venture, co-development, sales and

 marketing alliance, investment, merger or acquisition activity.” (Ex. 5, § 1.1 at 9.)

 This clause was exceedingly broad and would capture even a sub-license executed

 by Aspire.

        267. In addition, the Partnering Event set virtually unattainable monetary

 thresholds for triggering any rights for Hemostemix to receive a share of the

 revenues. Specifically, this clause established that $75 million or less in revenue, if

 during the Phase II clinical trials, or less than $150 million after the conclusion of

                                           69
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 70 of 187 PageID 70




 the Phase II clinical trials, entitled Aspire to take all revenue from the Partnering

 Event and share none with Hemostemix. Only if the $75 million or $150 million

 thresholds were met during the respective designated time periods would

 Hemostemix be entitled to any net proceeds and, even then, only a mere 5% to 25%

 of the net proceeds of the Partnering Event. (Ex. 5, Appendix B, § 2.)

       268. Moreover, these thresholds, and whether Hemostemix surpassed those,

 was determined principally by Aspire and could be manipulated to ensure Aspire,

 not Hemostemix, received all monetary benefits.

       269. The Amended License Agreement substantially weakened a

 requirement in the Original License Agreement that Aspire obtain Hemostemix’s

 consent to enter into sub-licenses and, thus, provided an uninterrupted licensing

 revenue stream for Aspire that would preclude providing any Partnering Event

 consideration to Hemostemix. (Compare Ex. 3, § 2.2 at 13, with Ex. 5, § 3.2 at 13.)

       270. The Amended License Agreement changed the Royalty from a 15% net

 sales royalty in the Original License Agreement, to a 4% gross revenue royalty,

 which greatly reduced Hemostemix’s potential to benefit financially from any sales.

 (Ex. 5, § Appendix B § 1(ii).)

       271. The Amended License Agreement restricted Hemostemix, the rightful

 owner of the IP, from transferring the Hemostemix IP or assigning the Amended

 License Agreement without Aspire’s consent. (Ex. 5, § 7.2(a) at 20.)

                                          70
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 71 of 187 PageID 71




           272. While severely restricting Hemostemix’s ability to share in the

 financial upside of the Clinical Trial, the Amended License Agreement restricted

 Hemostemix’s ability to even oversee the Clinical Trial, a restriction that was

 contrary to FDA and Health Canada regulations and requirements of Hemostemix

 as the clinical trial sponsor.

           273. For instance, the Amended License Agreement removed provisions

 preserving Hemostemix’s oversight rights over the Clinical Trial. (Compare Ex. 3,

 § 2.1 at 13, with Ex. 5, § 3.1 at 13.) While Aspire remained obligated to file required

 reports and applications with the FDA, Aspire was no longer required to obtain

 Hemostemix’s written consent before making any such submissions. (Ex. 5, § 7.1(i)

 at 20.)

           274. The Amended License Agreement further restricted Hemostemix’s

 ability to sell its own IP.

           275. The Amended License Agreement imposed two conditions precedent

 to becoming effective. As a first condition precedent (“Condition Precedent 1”),

 Aspire was required to pay $1 million directly to Hemostemix by no later than

 November 13, 2019—thirty (30) business days of September 30, 2019. (Ex. 5, § 2,

 at 12-13.)




                                           71
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 72 of 187 PageID 72




       276. The Amended License Agreement permitted Hemostemix, in its sole

 discretion, to rescind the Amended License Agreement if Aspire failed to timely

 satisfy Condition Precedent 1.

       277. Should Hemostemix exercise its right of rescission, the Amended

 License Agreement released Hemostemix from any further obligation thereunder

 and made clear that the Original License Agreement—the prior license agreement—

 would remain in full force and effect unless or until otherwise terminated.

       278. Aspire failed to pay any amount to Hemostemix by November 13, 2019.

       279. Hemostemix properly sent a written notice of rescission to Aspire by

 letter dated December 5, 2019.

       280. Some time afterward, Makofka produced a fraudulent document

 prepared by and/or at the direction of himself and Jed Wood that Makofka falsely

 claimed and represented to be an “addendum” to the Amended License Agreement

 (the “Sham Addendum”). The Sham Addendum is attached hereto as Exhibit 6.

       281. The Sham Addendum purportedly was executed on November 22, 2019

 by Jenkins on behalf of Hemostemix, Randi Wood on behalf of Aspire, and Jed

 Wood on behalf of himself and JMWI. (Ex. 6, at 1-2.)

       282. Makofka falsely represented that the Sham Addendum amended the

 Amended License Agreement by modifying Condition Precedent 1, including

 Aspire’s payment deadline and to whom the $1 million payment would be made.

                                          72
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 73 of 187 PageID 73




       283. The Sham Addendum did not modify Condition Precedent. It did not

 extend Aspire’s payment deadline and it did not permit Aspire to make the payment

 to creditors in lieu of paying Hemostemix directly.

       284. Makofka and Jed Wood, together with co-conspirator Randi Wood,

 generated the Sham Addendum with the design and intention of depriving

 Hemostemix of its contractual rights.

       285. Jenkins had no authority to act for Hemostemix on November 22, 2019

 and his action in signing the Sham Addendum was a legal nullity. The Sham

 Addendum was neither discussed nor approved by a properly constituted

 Hemostemix Board prior to November 22, 2019.

       286. Friesen resigned from the Board effective November 21, 2019. Upon

 Friesen’s resignation, there were only two Board members: Jenkins and David Wood

 (who is no relation to Defendants and co-conspirators Jed Wood, Randi Wood or

 Blake Wood).

       287. With only two active members of the Board, Hemostemix lacked a

 properly constituted Board. The Board had no authority to conduct business without

 the three-director quorum required by its articles of incorporation and by-laws.

 Thus, neither the Board nor any individual member could take any action on behalf

 of Hemostemix until the Board was properly constituted.



                                         73
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 74 of 187 PageID 74




       288. The only other Board member, David Wood, had never been told of the

 Sham Addendum, never voted on it, and was not even aware of its existence until,

 at earliest, December 17, 2019 when Makofka sent David Wood a copy of it after

 Makofka received the December 5 rescission notice.

       289. The Sham Addendum also was not supported by additional

 consideration and, thus, was not a proper amendment to or modification of the

 Amended License Agreement.

       290. The Sham Addendum also did not provide for the payment of true

 “clinical trial costs” as required by its plain language, and that of the Amended

 License Agreement. Instead, the Sham Addendum required the vast majority of the

 $1 million payment (or $1.328 million CAD) to be paid to Makofka (through KSM),

 Jed Wood, Aspire, Jacobs (through AJIA), and two separate law firms engaged by

 Aspire unrelated to clinical trial operations and costs, as follows:

           a. KSM (Makofka) was to be paid $229,713.46 (CAD);

           b. Aspire (Makofka/Jed Wood/Randi Wood) was to be paid $235,140.84

              (CAD);

           c. Aspire outside law firms Bennett Jones LLP and Clark Wilson LLP

              (handling work for Makofka and Jed Wood) were to receive a combined

              total of $168,754.29 (CAD);

           d. AJIA (Jacobs) was to be paid $90,010.68 (CAD) and

                                           74
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 75 of 187 PageID 75




            e. Jed Wood was to be paid $283,536.55 (CAD).

 (Ex. 6, at 3 (A/P Aging Summary).)

        291. Of the $1.328 million (CAD) to be paid by Aspire on behalf of

 Hemostemix purportedly in satisfaction of the Sham Addendum, over $1 million

 (CAD) was to be paid to Defendants in this action or their counsel for costs unrelated

 to clinical trial costs.

        292. Makofka, nonetheless, falsely and fraudulently held the Sham

 Addendum out as a proper modification and amendment of the Amended License

 Agreement and, in particular, Condition Precedent 1.

        293. The Sham Addendum was created by Makofka and Jed Wood, in

 conjunction with co-conspirator Randi Wood, in furtherance of the scheme and

 conspiracy to impair Hemostemix financially and ultimately take control of

 Hemostemix and its IP.

        294. That Makofka and Jed Wood held the Sham Addendum out as a valid

 modification to the Amended License Agreement was predicated, at least in part, on

 the contention that Aspire paid the full amount required by Condition Precedent 1 of

 the Amended License Agreement.

    F. Makofka and Jed Wood conspire with Jacobs and Cooper in furtherance
       of the Conspiracy.

        295. Makofka poor performance as Hemostemix’s President and CEO

 threatened the success of Hemostemix.
                                          75
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 76 of 187 PageID 76




        296. Makofka and Jed Wood conspired to recruit Jacobs, a co-conspirator

 with medical and bio-tech credentials who could advance their takeover scheme.

        297. On or about February 1, 2019, at Makofka’s and Jed Wood’s direction,

 Hemostemix executed a contractor agreement with AJIA Global Services, LLC,

 Jacobs’ company, to provide services to Hemostemix (the “Jacobs Agreement”).

 Makofka executed the Jacobs Agreement for Hemostemix. A true and correct copy

 of the Jacobs Agreement is attached hereto as Exhibit 7.

        298. At Makofka’s and Jed Wood’s direction, pursuant to the Jacobs

 Agreement, Jacobs was named President and Chief Medical Officer (“CMO”) of

 Hemostemix.

        299. As President and CMO, Jacobs was responsible for managing and

 coordinating Hemostemix’s various research operations and, most importantly,

 overseeing the Phase II Clinical Trial.

        300. Under the Jacobs Agreement, Jacobs was obligated to provide his full

 time and attention to “Work” for Hemostemix, as defined in the Jacobs Agreement,

 including but not limited to providing scientific guidance on strategic and operating

 decisions, managing and coordinating the scientific and research operations for

 Hemostemix, advancing Hemostemix’s manufacturing processes, overseeing and

 managing the execution of the clinical trial at the trial sites, and assisting in financing

 and fundraising efforts. (Ex. 7, § 2, at 2-3.)

                                             76
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 77 of 187 PageID 77




       301. Jacobs failed to fulfill his duties and obligations, and was negligent in

 his actions, to Hemostemix. Jacobs failed to provide competent and adequate

 guidance on strategic and operating decisions and failed to perform his duties in the

 best interests of Hemostemix, in particular, relating to the manufacturing of ACP-01

 and licensing of ACP-01.

       302. Because Jacobs was conspiring with Makofka and Jed Wood to exploit

 Hemostemix and misappropriate its IP, Jacobs failed to intervene on behalf of

 Hemostemix when, on the advice and direction of Makofka and Jed Wood, the Board

 approved repressive and exploitive loan-to-own schemes, or when the Board

 approved the Amended License Agreement, or when Aspire sought to unlawfully

 access Hemostemix’s network and server and steal Hemostemix’s confidential and

 proprietary business information.

       303. Jacobs further violated and failed to fulfill his duties and obligations to

 Hemostemix when he failed to ensure Aspire was fulfilling its obligations as the de

 facto Contract Research Organization and Aspire’s obligations under the Original

 License Agreement. These failures by Jacobs include, but were not limited to,

 failing to ensure the Clinical Trial was being conducted and carried out

 appropriately, that the Clinical Trial sites were being compensated appropriately,

 that competent KSM personnel were being tasked by Makofka to attend to the

 operation and finances of Hemostemix, and that Hemostemix’s IP and other

                                          77
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 78 of 187 PageID 78




 confidential information was being handled and treated appropriately and in the best

 interests of Hemostemix. Jacobs provided substandard, poor quality services to

 Hemostemix.

        304. Jacobs earned a lucrative salary of $32,500 per month. He was also

 eligible for additional incentive compensation, stock options, substantial bonus and

 expenses reimbursement from Hemostemix at a time when Hemostemix had already

 been driven deep into financial hardship by Makofka and Jed Wood. (Ex. 7, §§ 3-4

 at 4-5.)

        305. Jacobs’ compensation was purportedly in exchange and in

 consideration for full time services provided solely and exclusively to Hemostemix.

        306. During all or portions of his service as CMO and President of

 Hemostemix, Jacobs failed to provide full time services to Hemostemix and, instead,

 served the interests of Aspire, Makofka and Jed Wood.

        307. Section 10 of the Jacobs Agreement (“Confidentiality”) provided that

 Jacobs would, as CMO and President, have access to Hemostemix’s “financial

 information, trade secrets, inventions, innovations, processes, information,

 intellectual property, records and specifications owned or licensed by [Hemostemix]

 and or used by [Hemostemix] in connection with the operation of its businesses

 including, without limitation, [Hemostemix’s] business and product processes,

 methods, customer lists, accounts and procedures.” (Ex. 7, § 10, at 4-5.)

                                         78
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 79 of 187 PageID 79




       308. Section 10 prohibited Jacobs from disclosing, directly or indirectly,

 during the term of the Jacobs Agreement or anytime thereafter, such confidential

 information, as well as any “files, records, documents, notebooks and similar items

 relating to the business” of Hemostemix, which remained, for all purposes, “the

 exclusive property” of Hemostemix. (Ex. 7, § 10, at 4-5.)

       309. Section 10 further prohibited Jacobs from retaining any copies of

 Hemostemix’s IP and other confidential information without Hemostemix’s written

 permission and, more importantly, required that he promptly deliver such documents

 and information to Hemostemix upon demand or within 30 days of termination of

 the Jacobs Agreement. (Ex. 7, § 10, at 4-5.)

       310. Jacobs breached his duty of confidentiality under Section 10 of the

 Jacobs Agreement.

       311. Following termination of the Jacobs Agreement and Jacobs’

 resignation, Jacobs took, retained, misappropriated, transferred to Aspire, Makofka

 and Jed Wood, and refused to return Hemostemix’s confidential information,

 contractor and consultant contracts, IP and other information and material, including

 a $10,000 laptop that contained the above information to which he gained access in

 his capacity as CMO and President of Hemostemix.

       312. In or about September and October 2019, Jacobs conspired with

 Makofka to make a series of material and fraudulent misrepresentations as President

                                          79
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 80 of 187 PageID 80




 of Hemostemix. Specifically, Jacobs omitted a material fact that he had a duty to

 disclose as President and that is required in order to ensure a statement is not

 misleading, to wit: (a) Jacobs omitted from a press release the October 1, 2019 Wood

 Demand Notice; (b) Jacobs omitted reference to the Wood Demand Notice in the

 Hemostemix financial statements that were prepared during his tenure and issued in

 late November 2019; and (c) following his resignation from Hemostemix, Jacobs

 omitted and deliberately concealed from contractors, consultants, vendors, suppliers,

 and regulators such as the FDA Health Canada his true relationship with

 Hemostemix and Aspire.

       313. Jacobs further conspired and colluded with Makofka, Jed Wood and

 Cooper during this same time period to misappropriate Hemostemix’s consultant

 and contractor agreements for the benefit of Aspire in or about November 2019, after

 he had resigned as CMO and President of Hemostemix.

       314. Jacobs conspired and colluded with Makofka, Jed Wood and Cooper to

 access, redirect and steal Hemostemix’s emails and other electronically-stored

 information, including financial information, clinical trial data, trade secrets and

 confidential and proprietary information of Hemostemix.

       315. Section 11 of the Jacobs Agreement (“Conflict of Interest”) prohibits

 Jacobs from engaging in activities that create a conflict of interest with Hemostemix.

 Section 11 requires Jacobs to “devote as much of [his] productive time, energy and

                                          80
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 81 of 187 PageID 81




 abilities to the performance of the duties hereunder as is necessary to perform the

 required duties in a timely and productive manner.” Jacobs was prohibited from

 taking any action that would “interfere with or detract from the provision of the

 Work and the performance of [Jacobs’] duties and obligations pursuant to this

 Agreement . . . .” (Ex. 7, § 11, at 5.)

        316. Jacobs breached his duty to avoid conflicts of interest and to maintain

 loyalty to Hemostemix when he conspired with Makofka, Jed Wood and Cooper to

 serve the interests of Aspire and, specifically, stole and misappropriated

 Hemostemix’s property for the benefit of Aspire, provided Hemostemix’s IP and

 Clinical Trial Data to Aspire, failed to demand such IP and data back upon

 Hemostemix’s demand, and subordinated Hemostemix’s interests to Aspire’s

 interests.

        317. The Jacobs Agreement contained a non-solicitation covenant that

 Jacobs violated.

        318. Section 12 (“Non-Solicitation”) prohibited Jacobs, for one year after

 termination of the Jacobs Agreement, from:

              a. “solicit[ing], encourag[ing] or facilitat[ing] clients or customers of

                 [Hemostemix] . . . . to alter, modify, diminish or cease their client or

                 customer relationships with [Hemostemix]”; or



                                             81
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 82 of 187 PageID 82




           b. “solicit[ing], induc[ing] or facilitat[ing] any employees, consultants,

               suppliers or sub-contractors of [Hemostemix] . . . . to leave the

               employment of, or the consulting, supply or sub-contractor relationship

               with, [Hemostemix] . . . .” or

           c. “solicit[ing] business from any customer of [Hemostemix] whom

               [Jacobs] served or whose name became known to [Jacobs] by virtue of

               his engagement with [Hemostemix], for the purpose of inviting,

               encouraging, or requesting any such customer of [Hemostemix] to

               transfer from [Hemostemix] to himself, his new employer or new client

               . . . .”

 (Ex. 7, § 12, at 5-6.)

        319. Jacobs breached the non-solicitation covenant in Section 12.          In

 collusion with and conspiracy with Makofka, Jed Wood, and Cooper, he solicited,

 encouraged or facilitated, or directed, that customers or contractors of Hemostemix,

 including without limitation, Medrio, Accudata, and Anju, transfer their contractual

 relationship from Hemostemix to Aspire, and that KSM and other contractors of

 Hemostemix abandon or cease their relationship with Hemostemix for Aspire.

        320. Section 13 of the Jacobs Agreement (“Indemnification”) requires

 Jacobs to indemnify Hemostemix in for all damages, liabilities, and costs, including



                                           82
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 83 of 187 PageID 83




 attorneys’ fees for any negligent, reckless or intentionally wrongful act of Jacobs, or

 breach of the Jacobs Agreement. (Ex. 7, § 13, at 6.)

       321. Jacobs owes indemnification to Hemostemix for his negligent, reckless

 and intentionally wrongful acts enumerated herein, as well as breach of the Jacobs

 Agreement.

       322. Jacobs’ tenure with Hemostemix was short-lived.

       323. Jacobs resigned as President and CMO effective on or about October

 31, 2019.

       324. Jacobs immediately began serving as Aspire’s Chief Medical Officer

 the next day, on November 1, 2019.

       325. Jacobs knew about and freely and voluntarily participated in Makofka’s

 and Jed Wood’s scheme and conspiracy to financially impair Hemostemix, steal its

 IP and take control of Hemostemix using Aspire as the corporate vehicle to achieve

 these goals.

       326. Upon joining Aspire, Jacobs knew, then, that Aspire and Hemostemix

 had competing interests and that Aspire was a competitor of Hemostemix.

       327. During his tenure with Hemostemix, Jacobs assisted Makofka, Jed

 Wood and others at Aspire to misappropriate Hemostemix’s IP, including Clinical

 Trial Data and other trade secrets and proprietary information.



                                           83
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 84 of 187 PageID 84




       328. Following his resignation from Hemostemix, Jacobs continued to

 falsely hold himself out as a representative of, and authorized to act on behalf of,

 Hemostemix. One example was Jacobs’ continued use of his Hemostemix email

 address to misrepresent to the FDA, vendors, consultants and Clinical Trial sites that

 actions by him to transfer contracts and services from Hemostemix to Aspire were,

 in fact, authorized by and at the direction of Hemostemix. They were not.

       329. On or about December 6, 2019, for instance, five (5) weeks after

 Jacobs’ resignation was effective and one (1) day after receipt of the Hemostemix

 rescission notice, Jacobs expressly requested, in furtherance of the conspiracy, that

 Cooper create an Aspire email address for Jacobs and his assistant. Jacobs further

 requested that Cooper program all of Jacobs’s and his assistant’s Hemostemix emails

 to automatically forward to their new Aspire email addresses.

       330. Additionally, in January 2020, Jacobs directed that Accudata transition

 the Clinical Trial to Aspire despite the terms of Hemostemix’s contract with

 Accudata.

       331. Jacobs backdated the Accudata consulting agreement with Aspire in

 order to falsely make it appear that the agreement predated Makofka’s resignation

 and that Makofka would, therefore, have been authorized to act on behalf of

 Hemostemix in assigning Hemostemix’s rights to Aspire.



                                          84
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 85 of 187 PageID 85




       332. In collusion with Makofka and Jed Wood, Jacobs falsely held himself

 out as acting on behalf of Hemostemix when he instructed Accudata to transfer the

 Midpoint Analysis and all Clinical Trial Data to Aspire in January 2020. Jacobs

 continued to falsely and fraudulently hold himself out to Accudata as being affiliated

 with or acting on behalf of Hemostemix.

       333. To perpetuate Jacobs’ fraud, as part of the overall conspiracy with

 Makofka and Jed Wood, Jacobs purposefully withheld and did not disclose to

 Accudata that he had resigned from Hemostemix or that he had become Chief

 Medical Officer for Aspire at the time he instructed Accudata to transfer the

 Midpoint Analysis and Clinical Trial data to Aspire.

       334. In collaboration with Makofka and Jed Wood, Jacobs deceived the

 vendors, consultants and trial sites and fraudulently induced them to transfer

 contracts and services from Hemostemix to Aspire when no such authority—

 contractual or otherwise—existed to do so.

       335. Jacobs had no authority to continue acting for or on behalf of

 Hemostemix following his resignation and the termination of the Jacobs Agreement.

       336. Jacobs also violated his fiduciary duties to Hemostemix when he

 subordinated Hemostemix’s rights to those of Aspire. He did so in order to continue

 facilitating Makofka’s and Jed Wood’s efforts, through Aspire, to steal,

 misappropriate and use for their own purposes Hemostemix’s IP.

                                           85
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 86 of 187 PageID 86




       337. At Makofka’s and Jed Wood’s direction, Jacobs colluded with other

 KSM employees, including Cooper, to participate in the scheme, including the theft

 and conversion of Hemostemix property.

       338. Cooper, a KSM employee, was contracted by Makofka to serve as Chief

 Technology Officer (“CTO”) and Chief Information Officer (“CIO”) for both

 Hemostemix and Aspire at the same time. In that position, Cooper was encouraged

 to, and did, steal Hemostemix confidential proprietary and business information,

 trade secrets and IP owned by Hemostemix.

       339. Cooper had administrator access rights to Hemostemix’s computers,

 server and network. At Makofka’s and Jed Wood’s direction, and in furtherance of

 the conspiracy, Cooper used his administrative access rights prior to termination of

 the KSM Agreement to access Hemostemix’s computers, server and network and

 transfer Hemostemix’s confidential proprietary and business information, including

 financial information, as well as trade secrets and IP to Aspire.

       340. After termination of the KSM Agreement, Cooper’s administrative

 access rights were not immediately terminated since Cooper, and Cooper alone,

 controlled who had administrative access rights and who did not.

       341. As such, Cooper, at Makofka’s direction, continued to access without

 authority Hemostemix’s computers, server and network to access and transfer to



                                           86
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 87 of 187 PageID 87




 Aspire certain Hemostemix confidential proprietary and business information, trade

 secrets and IP to Aspire.

    G. Even after his resignation as CEO of Hemostemix, Makofka continued to
       carry out acts in furtherance of the Conspiracy with Jed Wood to impair
       Hemostemix financially, and take control of Hemostemix and its IP.

       342. The KSM Agreement was terminated effective October 31, 2019.

       343. Makofka resigned as CEO of Hemostemix effective October 31, 2019.

       344. Following termination of the KSM Agreement and Makofka’s

 resignation, he refused to provide Hemostemix’s new management with full and

 complete access to Hemostemix IP, including the books, records and information in

 Makofka’s and KSM’s possession, including all Hemostemix “Confidential

 Information,” in violation of the KSM Agreement.

       345. Even after termination of the KSM Agreement, at Makofka’s direction,

 Cooper and other KSM personnel falsely and fraudulently continued to hold

 themselves out as having authority to act on behalf of Hemostemix in order to secure

 the conversion of certain contractual relationships from Hemostemix to Aspire.

       346. Following termination of the KSM Agreement and Makofka’s

 resignation, Makofka and Jed Wood conspired to and did divert substantial sums of

 money from Hemostemix to Makofka and Jed Wood, and/or companies that

 Makofka and Jed Wood owned or controlled including principally Aspire.



                                         87
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 88 of 187 PageID 88




       347. Makofka engaged in business ventures for Hemostemix and Aspire in

 Florida, executed or directed the execution of contract obligations for or on behalf

 of Hemostemix and Aspire in Florida, and committed or directed the commission of

 tortious acts against Hemostemix in Florida.

       348. Makofka issued, or caused the issuance of, misleading press releases

 regarding Hemostemix and its manufacturing operations in order to conceal

 Makofka’s and Jed Wood’s true intentions.

       349. Soon after formal termination of the KSM Agreement, Makofka

 directed Cooper to access Hemostemix’s computers, internal servers and network

 using his Hemostemix credentials and reactivated the Hemostemix email accounts

 for Makofka, Jacobs, Cooper, and others.

       350. Cooper, at Makofka’s and Jacobs’ direction, also programmed the

 email server to automatically forward all incoming emails sent to Cooper’s,

 Makofka’s, Jacobs’ and others Hemostemix.com email addresses to their new Aspire

 email addresses at aspire2cure.com.

       351. Cooper, also at Makofka’s and Jacobs’ direction, then enabled auto-

 forwarding so that all emails sent to their Hemostemix email account automatically

 would be forwarded to their respective Aspire email accounts.

       352. Cooper, also at Makofka’s and Jacobs’ direction, enabled auto-

 forwarding for three Hemostemix corporate accounts (the “Corporate Accounts”):

                                         88
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 89 of 187 PageID 89




 “SAE” (severe adverse event), used for communications related to severe adverse

 events; “Booking,” used for communications related to Clinical Trial treatments; and

 “Accounting,”    used   for   general   accounting-related   correspondence    with

 Hemostemix.

       353. Hemostemix neither authorized nor approved of Cooper’s access to its

 internal systems, nor was it aware of Cooper’s access to its internal servers after

 terminating the KSM Agreement.

       354. Following termination of the KSM Agreement and Jacobs Agreement,

 Makofka, Jacobs and Cooper intended to and did use their former Hemostemix email

 accounts to falsely hold themselves out as authorized agents or representatives of

 Hemostemix despite having no authority to act on behalf of Hemostemix.

       355. Makofka, Cooper and Jacobs worked together to deceive vendors,

 consultants, trial sites and even the FDA and Health Canada in order to falsely and

 without authority transfer contracts and services from Hemostemix to Aspire. Such

 actions interfered with Hemostemix’s contractual relationships and also undermined

 and impeded Hemostemix’s ability to continue the progress of the Clinical Trial.

       356. Makofka, Jacobs and Cooper knew their actions were wrongful and

 illegal at the time. They concealed their actions from the new Board and incoming

 management for months.



                                          89
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 90 of 187 PageID 90




       357. Hemostemix did not learn of Cooper’s improper and illegal access to

 Hemostemix’s network and server or auto-forwarding of Hemostemix emails for

 months. Once new management at Hemostemix learned of Cooper’s unlawful

 conduct, Hemostemix took immediate action to disable the auto-forwarding

 functionality but not before Makofka, Jacobs, Cooper and others had already

 received months of email communications, including highly sensitive Hemostemix

 information, without any authority to otherwise access such information legitimately

       358. Also following termination of the KSM Agreement and Makofka’s

 resignation, at Makofka’s direction, Cooper, through use of his Hemostemix email

 account and other means, held himself out as Hemostemix’s agent in connection

 with third parties who provided various services to Hemostemix related to the

 Clinical Trial. While purporting to act as Hemostemix’s agent, Cooper arranged for

 the transfer of several accounts and contracts from Hemostemix to Aspire.

       359. One such account was a consulting contract with Accudata. In January

 2020, in furtherance of the scheme and conspiracy and unbeknownst to Hemostemix,

 Makofka and Jacobs falsely represented to Accudata that Hemostemix had assigned

 its rights and obligations to Aspire and further falsely represented that Accudata

 should enter into a new consulting agreement with Aspire, thereby superseding

 Accudata’s consulting agreement with Hemostemix.



                                         90
  Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 91 of 187 PageID 91




          360. To conceal the true nature of the fraud, Makofka and Jacobs backdated

   the new agreement to show a purported execution date in November 2019 to appear

   as if the parties had executed it before Makofka resigned from Hemostemix.

   Makofka and Jacobs, also in furtherance of the scheme and conspiracy, directed

   Accudata to only communicate with Jacobs relating to the analysis Accudata was

   conducting in order to prevent Hemostemix from learning of the fraud or taking any

   action to protect its rights thereafter.

          361. Nobody at Hemostemix with the authority to act for or bind

   Hemostemix authorized, ratified or even reviewed any such assignment or transfer

   of rights.

IV.   MAKOFKA AND JED WOOD FURTHER THEIR CONSPIRACY EVEN
      AFTER TERMINATION OF THE KSM AGREEMENT AND AMENDED
      LICENSE AGREEMENT.

        2019 Unauthorized Access to and Alteration of Accounting/Financial
                                  Information

          362. Termination of the KSM Agreement effective October 31, 2019, and

   rescission of the Amended License Agreement effective December 5, 2019, did not

   stop Makofka and Jed Wood from continuing to exploit Hemostemix.

          363. During the transition to new management and a newly constituted

   Board of Directors, Makofka and Jed Wood unlawfully accessed, or directed and

   caused unauthorized access, to Hemostemix’s financial and accounting information

   in QuickBooks (an accounting software for businesses) for an improper purpose.
                                              91
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 92 of 187 PageID 92




       364. Dwight Fieseler (“Fieseler”) was at the time a KSM employee and CFO

 who served, temporarily and prior to termination of the KSM Agreement, as the

 contractor controller to Hemostemix. Makofka and Jed Wood directed and caused

 Fieseler to access Hemostemix’s online QuickBooks account approximately 80

 times, between October 31 and December 31, 2019, more than half of which

 occurred on or after December 5, 2019 when the Amended License Agreement was

 rescinded by Hemostemix.

       365. Neither Makofka, Jed Wood, Fieseler, nor anyone else affiliated with

 KSM or Aspire had any authority to access, or direct access to, Hemostemix’s

 financial and accounting information following termination of the KSM Agreement

 on October 31, 2019, and rescission of the Amended License Agreement on

 December 5, 2019.

       366. Upon information and belief, by unlawfully accessing Hemostemix’s

 financial and accounting records in its QuickBooks account, Fieseler or another

 agent of KSM and Aspire, at the direction of Makofka and Jed Wood, altered certain

 journal entries, including backdating the transaction date of several entries related to

 payments Aspire allegedly made to purported “creditors” of Hemostemix in

 furtherance of Condition Precedent 1.




                                           92
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 93 of 187 PageID 93




          2020 Abusive and Fraudulent Canadian Receivership Action

       367. After Makofka secured the fraudulent Accudata-Aspire Agreement, Jed

 Wood commenced a Canadian receivership action against Hemostemix on January

 24, 2020 (the “Receivership”).

       368. The Receivership was another act by Jed Wood and Makofka in

 furtherance of the conspiracy.

       369. On January 9, 2020, JMWI sent Hemostemix a “Notice of Default” and

 Demand for the immediate repayment of the 2019 Wood Debenture and 2019 Wood

 Loan. The Notice and Demand were premature but nonetheless pursued despite Jed

 Wood’s previous assurances that he would not demand repayment of the loan or

 debenture for 120 days.

       370. At Jed Wood’s direction, JMWI initiated the Receivership action by

 filing a complaint deliberately timed to prevent Hemostemix from closing an

 announced $3 million (CAD) financing that was structured to be raised to repay the

 2019 Wood Debenture and 2019 Wood Loan. The Receivership complaint was

 further deliberated timed as Hemostemix’s newly reconstituted Board was fighting

 to obtain the return of its IP and other trade secrets from Aspire, Makofka and Jed

 Wood who had misappropriated it.




                                         93
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 94 of 187 PageID 94




       371. Hemostemix timely acted and did defend against the receivership that

 it argued was the final step in Jed Wood’s and Makofka’s repressive and exploitive

 “loan-to-own” scheme.

       372. Accordingly, the receivership application properly was dismissed by

 order dated February 28, 2020. Pursuant to the Order, Hemostemix timely paid

 $2,330,633.84 to Jed Wood for debts allegedly owed.

       373. Unbeknownst to Hemostemix at the time, Jed Wood had included in

 the Receivership demand the amount of $283,536.55 as due and owing at the time—

 an exact amount, to the penny, of a payment Aspire, Makofka and Jed Wood (less

 $10,000 paid to another purported “creditor”) contend was paid to Jed Wood in

 satisfaction of the Condition Precedent 1 as amended by the Sham Addendum.

       374. Jed Wood’s contention that this amount was still owed, and was later

 paid in March 2020, in connection with the Receivership Action, conclusively

 establishes that Aspire, Makofka and Jed Wood falsely and fraudulently

 misrepresented that the full amount owed under Condition Precedent 1 was paid in

 a timely manner. Aspire, Makofka and Jed Wood made this false representation in

 furtherance of their scheme and conspiracy to financially impair Hemostemix,

 exploit its IP and other assets, and ultimately take over control of Hemostemix.




                                          94
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 95 of 187 PageID 95




                   2020 Conversion of Hemostemix Data and IP

       375. In or about February 2020, Accudata received raw Clinical Trial

 statistics and data for approximately sixty-five (65) clinical trial subjects. Although

 Accudata was required to return this Clinical Trial data to Hemostemix, it refused to

 do so, at the direction of Jed Wood and Makofka. This refusal caused Hemostemix

 to incur substantial costs and expenses associated with defending against the

 material interference of its rights to use and enjoy its Clinical Trial data.

       376. Using Hemostemix’s misappropriated property, Aspire announced its

 patent filing for ACT-20, a product Aspire claimed treated COVID-19-related

 pneumonia. Upon information and belief, Aspire was able to develop ACT-20 after

 misappropriating Hemostemix’s IP and, thus, Hemostemix is entitled to

 disgorgement and recovery of all revenues resulting from the development of ACT-

 20.

             2020 Improper and Fraudulent Trial Suspension Notice

       377. On or about May 6, 2020, at the direction of and with input from

 Makofka and Jacobs, Aspire sent a misleading, false and fraudulent letter to all

 Clinical Trial sites advising, among other things, that Aspire was suspending HS-

 1201, the clinical trial of ACP-01 (“Trial Suspension Notice”). A true and correct

 copy of the Trial Suspension Notice is attached hereto as Exhibit 8.

       378. The Trial Suspension Notice stated, in pertinent part, that

                                            95
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 96 of 187 PageID 96




       Since November 2019 activities have been managed by the [Contract
       Research Organization], Aspire Health Science, as part of a licensing
       agreement between the sponsor HEM and CRO. This encompasses all aspects
       of the trial management, including manufacturing, electronic data capture and
       distribution of site payments. The sponsor Hemostemix Inc. has made a
       request to rescind the ACP-01 licensing agreement of which AHS has
       declined. Until these issues can be resolved AHS will be suspending its trail
       [sic] management activities provided to Hemostemix Inc.

 (Ex. 8 (emphasis in original).)

       379. The Trial Suspension Notice contained material false and misleading

 representations about the status of the Clinical Trial and actions of Hemostemix

 which were intended to mislead the Clinical Trial sites.

       380. First, as Makofka, Jed Wood, Jacobs and Aspire knew, the December

 5, 2019 Rescission Notice was a notice, not a request, pursuant to Hemostemix sole

 discretion in the Amended License Agreement to do so upon the failure of Aspire to

 satisfy Condition Precedent 1.

       381. Second, suggesting, as Aspire does in the Trial Suspension Notice, that

 Hemostemix’s rescission of the Amended License Agreement was a recent

 occurrence was also materially false and designed to mislead the clinical trial sites

 into believing it was Hemostemix that was at fault for suddenly causing the

 suspension of the trial. Indeed, nowhere in the Trial Suspension Notice does Aspire

 reference the 2020 Florida Litigation Aspire commenced against Hemostemix and

 its improper withholding of Hemostemix’s IP.


                                          96
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 97 of 187 PageID 97




       382. Third, Aspire falsely contends that “[s]ince November 2019 activities

 have been managed by the CRO, Aspire Health Science, as part of a licensing

 agreement between the sponsor HEM and CRO.” (Ex. 8.) In reality, the Amended

 License Agreement was not effective, by its own terms, until Aspire’s satisfaction

 of Condition Precedent 1—the payment of $1 million to Hemostemix by November

 13, 2019, the Condition Precedent Satisfaction Date. Aspire did not make the $1

 million payment to Hemostemix. The Amended License Agreement was thus, not

 effective in November 2019, the parties were not operating under that agreement,

 and the “activities were not managed by Aspire” since November 2019 under that

 agreement.

       383. Fourth, if Aspire was obligated to pay any and all Clinical Trial costs,

 including expenses by the clinical trial sites. Aspire had stopped paying those trial

 site expenses and falsely and misleadingly blamed the failure to pay on Hemostemix

 in order to interfere with Hemostemix’s relationships with the clinical trial sites.

       384. Fifth, the Trial Suspension Notice falsely and misleadingly represents

 that “trial compensation” related issues should be addressed with Hemostemix.

 Makofka, Jed Wood, Jacobs and Aspire knew, however, that the party responsible

 for “trial compensation” under the Amended License Agreement was Aspire, if, as

 Aspire contended, the Amended License Agreement was valid. By directing the trial

 sites to the new CEO and President, Thomas Smeenk, and Hemostemix to address

                                           97
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 98 of 187 PageID 98




 “trial compensation” issues, Aspire not only breached its obligations under the

 Original License Agreement, but also falsely represented that Hemostemix, not

 Aspire, was responsible for paying those costs. This was yet another effort by

 Makofka, Jed Wood, Jacobs and Aspire to mislead participants in the trial, taint the

 trial sites and exert undue pressure on Hemostemix to capitulate to their financial

 and other threats.

       385. Shortly after the Trial Suspension Notice was sent, Aspire conducted a

 conference call with the clinical trial sites but purposefully and intentionally

 excluded Hemostemix from that call. During that call, Aspire falsely advised the

 Clinical Trial Sites that the Hemostemix “trial was done.” Aspire had no authority

 to make any declaration that the trial was “suspended,” or “done.” Additionally,

 doing so interfered with Hemostemix’s ongoing relationship with the Clinical Trial

 Sites, which had already been usurped by Aspire.

       386. Aspire had no authority or grounds to send the Trial Suspension Notice

 to the trial sites, or, for that matter, to suspend the Clinical Trial. Aspire did so for

 the sole purpose of sabotaging Hemostemix and the Clinical Trial, and negatively

 impacting Hemostemix’s financial condition, thereby putting pressure on

 Hemostemix to pay exorbitant sums of money to obtain the return of its IP at the risk

 of losing all gains of the Clinical Trial.



                                              98
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 99 of 187 PageID 99




       387. Following issuance of the Trial Suspension Notice, Hemostemix

 received numerous notifications from Clinical Trial sites indicating they were

 terminating the trial at those locations.

       388. Aspire’s      wrongful     interference   with   Hemostemix’s       business

 relationships with the Clinical Trial sites continues, following a consistent pattern of

 escalation by which Aspire intended to cause significant and permanent damage to

 such relationships in order to obstruct the results of Hemostemix’s Clinical Trial.

    2020 Improper and Misleading Disclosure of ACP-01 Midpoint Analysis
                                 “Report”

       389. By press release dated July 6, 2020, Aspire, by Makofka, wrongfully

 and in a misleading fashion disclosed the purported results of the ACP-01 Midpoint

 Analysis by Accudata (“Aspire Press Release”). A true and correct copy of the

 Aspire Press Release is attached hereto as Exhibit 9.

       390. The disclosure was one more attempt by Makofka, Jed Wood and

 Aspire to exert additional market and financial pressure on Hemostemix to capitulate

 to their demands.

       391. The Aspire Press Release contained numerous knowingly false and

 misleading statements.

       392. The Aspire Press Release indicated that “Under protest by Aspire, the

 Midpoint Statistical Analysis has been released to both Aspire and Hemostemix for


                                             99
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 100 of 187 PageID 100




  review.” (Ex. 9 (emphasis added).) That is materially false for several reasons

  including, but not limited to:

            a. no final analysis was released. As Makofka, Jed Wood and Aspire

               know, and knew at the time, Aspire produced an unsigned, unverified

               draft of a report, whose authenticity, origination and integrity is in

               doubt. It was counsel for Aspire that produced the unsigned, unverified

               draft report and Aspire and its counsel were in possession of this draft

               for an unknown period of time, during which time it was subject to

               change or alteration;

            b. the purported summary report that Aspire claimed to have provided to

               Hemostemix was unsigned and addressed to an individual who was not,

               at the time of the report, a director or officer of Hemostemix and who

               did not act for Hemostemix at that time in any capacity;

            c. although Hemostemix never requested the unsigned, unverified draft of

               an analysis, Aspire counsel falsely suggested it was provided under

               protest and counsel produced it for the sole purpose of disseminating a

               misleading press release to announce not the disclosure of the report to

               Hemostemix counsel but the results, the veracity of which are disputed;

               and



                                          100
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 101 of 187 PageID 101




             d. neither Aspire nor any of its agents or representatives, including

                counsel, had any ownership rights to Hemostemix’s ACP-01 Clinical

                Trial Data nor any rights to publish any type of report or results,

                including the Midpoint Analysis, and, in fact, breached the

                confidentiality provisions of the ALA, OLA, Drive Capital Agreement,

                KSM Agreement, and Jacobs Agreement in doing so.

        393. The Aspire Press Release failed to disclose the foregoing material facts

  necessary to make it accurate to the public. Aspire never issued a correcting press

  release.

        394. Aspire also continued to block Hemostemix from obtaining the return

  of its Clinical Trial Data. And, because Aspire, at Makofka and Jed Wood’s

  direction, continued then, and continues now, to refuse to return to Hemostemix, or

  provide Hemostemix access to, its Clinical Trial Data, as Aspire knows, there is no

  ability by anyone other than Aspire, Makofka, and Jed Wood, to challenge the

  unfounded statements in the Aspire Press Release.

        395. The Aspire Press Release also makes materially false and misleading

  statements about the efficacy of ACP-01. At all times leading up to the disclosure

  by Aspire’s counsel of an unsigned, unverified draft report, not once had there been

  any indicators that the therapy was not effective. To the contrary, all indications,

  including six (6) studies of more than 215 subjects as published in six (6) scientific

                                           101
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 102 of 187 PageID 102




  publications demonstrate that ACP-01 therapy was effective for the purposes it was

  designed and tested.

        396. At a time when he believed he and Jed Wood would be securing control

  and ownership of Hemostemix’s IP, Makofka himself had publicly stated, on behalf

  of Hemostemix, the effectiveness of ACP-01. In September 2019, for instance,

  during his interview with Bio Informant, Makofka stated “I cannot emphasize this

  message clearly enough. ACP-01 is a platform that has shown safety and efficacy

  in treating multiple indications without severe adverse events.”

        397. The Aspire Press Release further states, in pertinent part, that “Aspire

  is not comfortable with past claims by Hemostemix regarding the current status and

  efficacy of ACP-01 and question the capability, established procedures, and

  credentials of those charged with the task of accurately and effectively interpreting

  and publishing results on behalf of Hemostemix.”

        398. This statement is materially false, misleading and designed to further

  impugn Hemostemix, its management, and the ACP-01 therapy.

        399. First, it was Makofka, as CEO and President of Hemostemix who, until

  termination of the KSM Agreement drafted and issued press releases and other

  public statements on behalf of Hemostemix regarding the positive and encouraging

  status and progress of the clinical trial.



                                               102
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 103 of 187 PageID 103




        400. Second, it was Makofka, as CEO of Aspire, who, together with co-

  conspirators Jed Wood, Jacobs, and Cooper, designed the protocols for the midpoint

  analysis. Any defect in those constructs were attributable to the incompetence and

  ineptitude of Makofka, Jed Wood, Jacobs, and Cooper.

        401. Aspire also had no authority to disclose the results, accurate or not, of

  the Midpoint Analysis, in a press release or any other public statement. Hemostemix

  was at the time, and still is, a public company with disclosure requirements. Aspire

  is not, and was not on July 6, 2020, a public company but rather a privately-owned

  LLC, owned and/or controlled, directly or indirectly, by Jed Wood, Randi Wood,

  Blake Wood, and Makofka with no disclosure requirements or obligations.

        402. In July 2020, Aspire had no authority to speak for Hemostemix, hold

  itself out as a representative or authorized agent of Hemostemix, or provide any

  disclosures for or on behalf of Hemostemix.

        403. Aspire also had confidentiality obligations pursuant to the Amended

  License Agreement and Original License Agreement that survived termination,

  expiration and rescission. Aspire was obligated to maintain the confidentiality of,

  and not disclose without the consent of Hemostemix (which it did not have), any

  confidential, proprietary and trade secret information of Hemostemix. (Ex. 5, § 13

  at 30-31.)



                                          103
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 104 of 187 PageID 104




        404. Makofka had separate and independent confidentiality obligations

  pursuant to his fiduciary obligations stemming from his role as the former CEO and

  President of Hemostemix, not to disclose confidential, proprietary and trade secret

  information of Hemostemix that would have been received, obtained, and

  maintained by him. Makofka violated his fiduciary obligations of confidentiality

  including under a duty of care and loyalty he owed Hemostemix.

        405. Makofka,      through   KSM,       had   confidentiality   obligations   to

  Hemostemix pursuant to the KSM Agreement, that survived termination or

  expiration. Makofka, through KSM, was obligated to maintain the confidentiality

  of, and not disclose without the consent of Hemostemix (which it did not have), any

  confidential, proprietary and trade secret information of Hemostemix.

        406. There was no justification for Aspire to issue a press release disclosing

  the results, accurate or not, of the Midpoint Analysis other than to falsely impugn

  Hemostemix, its management, and the ACP-01 therapy, thereby calling into question

  the Clinical Trial and the value of any investment by present or prospective

  shareholders, putting additional financing pressure on Hemostemix.

        407. The Aspire Press Release, directed by Makofka and Jed Wood, was an

  attempt by Makofka and Jed Wood to falsely and fraudulently impugn and disparage

  Hemostemix and its management, and to falsely call into question and undermine

  ACP-01 and the Clinical Trial, to drive the Hemostemix stock price down so that

                                          104
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 105 of 187 PageID 105




  Hemostemix was left with no choice but to cede and surrender to Makofka’s and Jed

  Wood’s demands.

        408. Aspire, at the direction of Makofka and Jed Wood, were willful and

  reckless in issuing, and causing the issuance of, the Aspire Press Release to the

  marketplace and for failing to correct misleading information contained in the Aspire

  Press Release.

        409. On the day Aspire issued the Aspire Press Release, Blake Wood and

  Jed Wood colluded and conspired to sell and, in fact, sold through a broker

  approximately 57,465,000 shares of Hemostemix out of approximately 88 million

  owned by Wood Capital.

        410. Jed Wood and Blake Wood coordinated this sale with the knowledge

  and intent to contribute to an artificial low price for the Hemostemix shares. In

  particular, the massive transaction was intended by Jed Wood and Blake Wood to

  be a public vote of no confidence. The sale, together with the contemporaneous false

  and materially misleading Aspire Press Release, by design and effect, directly

  caused Hemostemix’s stock price to drop almost 70% in value.

        411. The Aspire Press Release had a dramatic, negative effect on the trading

  of Hemostemix shares.




                                          105
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 106 of 187 PageID 106




        412. On Friday, July 3, 2020, the last trading day before the Aspire Press

  Release, the total volume of shares traded was 1,188,000 at $.015/share (i.e., one-

  and-one-half cents per share).

        413. On Monday, July 6, 2020, by contrast, the day of the Aspire Press

  Release and the Jed Wood/Blake Wood massive sale, the total trading volume was

  59,557,345, driving the stock price down to $.006/share (i.e., just over half of one

  cent per share).

        414. Of the 59,557,345 shares traded on July 6, 2020, 57,465,000 were

  owned by Jed Wood and Blake Wood through Wood Capital.

        415. The actions of Jed Wood, Blake Wood, Makofka and Aspire constitute

  breaches of various securities laws, including sections 92(4.1) and 93(a)(ii) of the

  Alberta Securities Act prohibiting misrepresentations and fraud, and, specifically,

  market manipulation.

        416. Jed Wood, Blake Wood, Makofka and Aspire also knew weeks before

  that they held and were planning to disclose in the Aspire Press Release an unsigned,

  unverified draft report of questionable authenticity and credibility but which, when

  disclosed in the form it was, would impugn ACP-01, Hemostemix and its

  management causing the stock price to drop considerably.

        417. Jed Wood and/or Blake Wood received the unsigned, unverified draft

  editable version of the Midpoint Analysis report of questionable authenticity and

                                          106
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 107 of 187 PageID 107




  credibility in at least early May 2019, if not before then. Armed with this document

  in editable form, Jed Wood and Blake Wood thereafter schemed and executed a plan

  to sell and, in fact, sold, 10 million, 10 million, and 7,855,000 shares on or about

  May 21, 25 and 26, 2019, respectively, in violation of insider trading laws under the

  Alberta Securities Commission, including section 147(3) of the Alberta Securities

  Act.

                              Canadian Replevin Action

         418. On or about May 26, 2020, Hemostemix sought, among other things,

  an order for replevin for Hemostemix’s property in an action brought in the Court of

  Queens Bench, Calgary and an order for an injunction for the return of

  Hemostemix’s IP and other property (“Canadian Replevin Action”). A true and

  correct copy of the originating application in the Canadian Replevin Action is

  attached hereto as Exhibit 10.

         419. Aspire was in possession of Hemostemix’s property, consisting

  primarily of records in electronic format and refused to return it to Hemostemix.

         420. The Hemostemix property related to the clinical trials at each site,

  including the manufacturing and business records, was critical to the core business

  of Hemostemix.

         421. Such property relating to clinical trials which Hemostemix sought to

  recover included, but was not limited to, the following:

                                          107
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 108 of 187 PageID 108




           a. documents contained in the “Electronic Document Control” System;

           b. patient data;

           c. clinical trial midpoint data, statistical analysis of the data and reports in

               all formats;

           d. correspondence with the FDA, Health Canada, and other regulatory

               authorities related to the clinical trial;

           e. correspondence with each former contract research organization,

               clinical trial site and clinical related to the clinical trial.

        422. Such property related to manufacturing which Hemostemix sought to

  recover included, but was not limited to:

           a. Standard parenting procedures (SOPs), reports, and validation reports;

           b. Improvements to SOPs;

           c. patient manufacturing batch records, QC results, shipment information,

               certification of analysis and administration to the patient records;

           d. patient manufacturing batch records, QC results, shipment information,

               certification of analysis and notes to all files of all patient records,

               including any patient treated with ACP-01;

           e. out of specifications (OOS) reports and investigations;

           f. faculty inspection records and outcomes;



                                              108
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 109 of 187 PageID 109




           g. “show how” of the creation of ACP-01, NCP-01, and BCP-01 and any

               other derivative products of any of the foregoing;

           h. a list of best practices pertaining to the technology;

           i. a detailed description and a back-up copy of all work carried out to

               automate the production process of ACP-01, NCP-01, and BCP-01, or

               otherwise with respect to autologous stem cell product creation;

           j. a list of suppliers used to obtain the ingredients and supplies to make

               ACP-01 and a copy of the contract terms of the relationship; and

           k. all existing records of batches of all Hemostemix products.

        423. Such property relating to business records which Hemostemix sought

  to recover included, but was not limited to:

           a. electronic records, documents, historical data, SOPs that were

               transferred to Aspire from HEM-Israel, TheraVitae Israel, TheraVitae

               Thailand, TheraVitae Inc., and Kwalata Trading Limited; and

           b. electronic business records of HEM-Israel.

        424. Counsel for Aspire represented to the Court of Queens Bench that all

  property related to the clinical trials, manufacturing, and business records set forth

  above were located in Florida, not Calgary, Alberta, Canada.

        425. Based on Aspire counsel’s representations, the Court of Queens Bench

  determined that the property sought above was in fact located in Florida, not Calgary,

                                           109
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 110 of 187 PageID 110




  Alberta, Canada, and that to obtain the return of such property, Hemostemix must

  pursue an action in Florida.

        426. The location of all such Hemostemix property in Florida has been

  confirmed by Aspire through Cooper. In particular, Aspire maintains all clinical

  trial data is located on a hard drive belonging to Hemostemix in a locked filing

  cabinet.

        427. Hemostemix is entitled to recover such property.

        428. Hemostemix has retained undersigned counsel as its representation in

  this case and is obligated to pay counsel a reasonable fee for their services.

                              COUNT I
    RACKETEERING INFLUENCED AND CORRUPT ORGANIZATIONS
                            ACT (“RICO”)
                18 U.S.C. § 1962(c) (RICO Enterprise)
             (Against Defendants Makofka and Jed Wood)

        429. Hemostemix hereby realleges and incorporates as if fully set forth

  herein paragraphs 1 through 428 above.

        430. Hemostemix brings this claim against Defendants Makofka and Jed

  Wood.

        431. Hemostemix is a “person” with standing to sue under 18 U.S.C. §

  1962(c) within the meaning of 18 U.S.C. § 1964(c).

        432. Makofka and Jed Wood constitute an association-in-fact and, therefore,

  an enterprise (the “RICO Enterprise”) within the meaning of 18 U.S.C. § 1961(4)

                                           110
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 111 of 187 PageID 111




  whose activities affect interstate commerce. The RICO Enterprise is engaged in

  interstate commerce in that its activities and transactions relating to predicate RICO

  acts involved the international and interstate actions of Makofka and Jed Wood

  which affect interstate commerce, and frequently required travel and communication

  across state and international lines.

        433. The RICO Enterprise consists of the long-standing business

  relationship between and among Makofka and Jed Wood with the common and

  similar purpose of: impairing Hemostemix financially by, for example, engaging in

  abusive and frivolous litigation and causing Hemostemix to enter into predatory

  loans they knew Hemostemix would not be able to repay within the allotted time;

  stealing Hemostemix’s IP and other assets; taking control of Hemostemix and its

  operations; self-dealing by enriching themselves and their separate companies at

  Hemostemix’s expense, for example, through the Drive Capital Agreement and

  KSM Agreement; and profiting from Makofka’s and Jed Wood’s fraudulent and

  unlawful conduct by taking ACP-01 to market for significant financial gain.

        434.    Makofka and Jed Wood agreed to and did conduct and participate in

  the conduct of the RICO Enterprise’s affairs through a pattern of racketeering

  activity and for the unlawful common purpose of impairing Hemostemix financially,

  stealing Hemostemix’s IP and other assets, and ultimately taking control of

  Hemostemix and its operations through such acts as: (a) fraud; (b) computer fraud;

                                           111
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 112 of 187 PageID 112




  (c) commercially unreasonable loans and other funding arrangements; (d) self-

  dealing and related transactions; (e) wire fraud; (f) extortion; (g) theft and

  misappropriation of assets; and (h) tortiously and unlawfully interfering with and

  misappropriating contractual relationships.

                                         Fraud

        435. Makofka and Jed Wood engaged in fraud to mislead the Board. In

  particular, Makofka and Jed Wood falsely advised the Board, and the Board relied

  to its detriment thereon, that entering into the 2016 Drive Capital Agreement and

  2019 KSM Agreement were in Hemostemix’s best interests. In reality, the intent

  and design by Makofka and Jed Wood of those agreements was to give them access

  to and control over Hemostemix’s operations and IP in furtherance of the overall

  scheme to impair Hemostemix financially, steal Hemostemix’s IP and other assets

  and ultimately take control of Hemostemix and its operations.

        436. Makofka and Jed Wood engaged in fraud when they advised the Board

  as part the proposed restructuring and reorganization in or about 2017, and the Board

  relied to the detriment of Hemostemix thereon, that winding up Kwalata and

  transferring the IP ownership rights from Kwalata to Hemostemix was in

  Hemostemix’s best interests. In reality, the intent and design by Makofka and Jed

  Wood was not to benefit Hemostemix but to consolidate ownership of the IP within



                                          112
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 113 of 187 PageID 113




  Hemostemix, over which Makofka and Jed Wood exercised virtually total control,

  and position themselves to seize control of Hemostemix’s IP.

        437. Makofka and Jed Wood engaged in fraud when they advised the Board

  as part the proposed restructuring and reorganization in or about October 2017, and

  the Board relied to the detriment of Hemostemix thereon, to wind up HEM-Israel

  and move all manufacturing operations to Aspire, which had no experience,

  infrastructure or know-how to handle a clinical trial manufacturing operation of any

  scale. In reality, the intent and design by Makofka and Jed Wood was not to benefit

  Hemostemix but to consolidate all manufacturing operations over ACP-01 in Aspire,

  to benefit Makofka and Jed Wood.

        438. Makofka and Jed Wood engaged in fraud when they advised the Board,

  and the Board relied to the detriment of Hemostemix thereon, that Hemostemix

  needed “emergency funding” and, thus, must enter into the 2017 Loan-to-Own

  scheme. In reality, the 2017 Loan-to-Own scheme had commercially unreasonable

  terms, benefitted only Makofka and Jed Wood and increased Hemostemix’s debt

  obligations with no material benefit to Hemostemix.

        439. Makofka and Jed Wood engaged in fraud when they advised the Board,

  and the Board relied to the detriment of Hemostemix thereon, that Hemostemix

  needed additional “emergency funding” and it was in Hemostemix’s best interest to

  enter into the 2017 Wood Capital Loan. In reality, the 2017 Wood Capital Loan was

                                          113
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 114 of 187 PageID 114




  secured by all Hemostemix assets, increased Hemostemix’s secured debt

  obligations, impaired Hemostemix financially, impeded its ability to obtain

  financing from other outside sources, and resulted in no material benefit to

  Hemostemix. In fact, as Makofka and Jed Wood were aware, more than half of the

  funds allocated through the Wood Capital Loan were used to pay Wood Capital to

  benefit Jed Wood and Makofka.

        440. Makofka and Jed Wood engaged in fraud when they advised the Board,

  and the Board relied to the detriment of Hemostemix thereon, that Hemostemix

  should enter into the 2018 Manufacturing Agreement and 2018 Original License

  Agreement for no consideration or benefit to Hemostemix. In reality, the intent and

  design by Makofka and Jed Wood of those agreements was to give them access to

  and control over Hemostemix’s manufacturing and licensing operations and rights,

  access to and control over Hemostemix’s IP and proprietary clinical trial data, with

  no material benefit to Hemostemix.

        441. In November 2019 and the months that followed, Makofka and Jed

  Wood engaged in fraud when they falsely held themselves out, and directed Jacobs,

  Cooper, and others to hold themselves out, as authorized representatives and agents

  of Hemostemix to act on behalf of Hemostemix after Makofka’s resignation as CEO,

  after termination of the KSM Agreement, and after termination of the Jacobs

  Agreement, in order to lure, solicit, and induce vendors, consultants and contractors,

                                           114
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 115 of 187 PageID 115




  including without limitation Medrio, Accudata and Anju, to leave their contractor,

  consultant, or vendor relationship with Hemostemix in favor of Aspire. Medrio,

  Accudata and Anju relied on such representations. In reality, the intent and design

  by Makofka and Jed Wood, and their agents, was to benefit Makofka, Jed Wood and

  Aspire, to harm Hemostemix and undermine its operations and ability to continue

  conducting the Clinical Trial.

        442. Makofka engaged in fraud when he purported to provide full time and

  attention to his duties as CRO, CEO and President of Hemostemix and received

  compensation equivalent to full time service. Hemostemix relied on Makofka that

  he was complying with his contractual and professional obligations. In reality,

  Makofka dedicated very little of his time to services for Hemostemix, prioritized

  Aspire’s interests and subordinated Hemostemix’s interests.       Despite this, he

  continued to receive full-time equivalent compensation, thereby defrauding

  Hemostemix of tens of thousands of dollars in unearned compensation.

        443. Makofka and Jed Wood engaged in fraud when they advised the Board,

  and the Board relied to the detriment of Hemostemix thereon, that Hemostemix

  needed additional “emergency funding” and it was in Hemostemix’s best interest to

  enter into the 2019 Wood Debenture and 2019 Wood Loan-to-Own. In reality, the

  predatory 2019 Wood Debenture and 2019 Wood Loan-to-Own had commercially

  unreasonable terms, were secured by all Hemostemix assets, increased

                                         115
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 116 of 187 PageID 116




  Hemostemix’s secured debt obligations, impaired Hemostemix financially, impeded

  its ability to obtain financing from other outside sources, and resulted in no material

  benefit to Hemostemix.

        444. Makofka and Jed Wood engaged in fraud when they advised the Board,

  and the Board relied to the detriment of Hemostemix thereon, that Hemostemix

  should enter into the September 30, 2019 Amended License Agreement for no

  consideration or benefit to Hemostemix. The Amended License Agreement imposed

  drastically unfavorable and commercially unreasonable terms on Hemostemix,

  essentially stripped Hemostemix functionally of any oversight or ownership rights

  over its IP and control over its licensing activities, and provided no financial benefit

  whatsoever to Hemostemix. In reality, the intent and design by Makofka and Jed

  Wood of the Amended License Agreement was to give them full and complete

  access to and control over Hemostemix’s manufacturing and licensing operations

  and rights, and access to and control over Hemostemix’s IP and proprietary clinical

  trial data for which Hemostemix received no material benefit.

        445. Makofka and Jed Wood engaged in fraud when they misled

  shareholders by failing to disclose material information and changed information in

  the consolidated financial statements in 2019, which they had an obligation to do,

  including omitting disclosure about Wood Demand Notice to collect principal and

  interest on the 2019 Wood Debenture and 2019 Wood Loan-to-Own, all the while

                                            116
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 117 of 187 PageID 117




  not paying Hemostemix $1 million (USD) as required by the Condition Precedent 1

  of the Amended License Agreement.

        446. Makofka and Jed Wood engaged in fraud when, after failing to satisfy

  Condition Precedent 1 and knowing they could not obtain Board approval of any

  extension of the Condition Precedent Satisfaction Date, they manufactured the

  November 22, 2019 Sham Addendum and sought to pass it off to new management,

  the reconstituted Board, the clinical trial sites, regulators, and contractors, vendors,

  and consultants as a valid and enforceable modification of the Amended License

  Agreement in an attempt to allow Makofka and Jed Wood to provide “emergency

  funding” to Hemostemix to pay its clinical trial costs. In reality, the intent and design

  by Makofka and Jed Wood of the Sham Addendum was to give them the ability to

  impose on Hemostemix one more round-trip funding scheme by which Makofka and

  Jed Wood purported, falsely, to be providing necessary financial assistance when, in

  fact, more than 75% of the funds were “round-tripped” and were used for Aspire,

  Makofka, Jed Wood, Jacobs, and Aspire’s attorneys, none of which amounted to

  bona fide Clinical Trial costs and which provided no benefit whatsoever to

  Hemostemix.

        447. Makofka and Jed Wood further engaged in fraud when they falsely

  represented that the full $1 million payment was made to the benefit of Hemostemix

  by paying Hemostemix’s purported “creditors” thereby satisfying Condition

                                            117
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 118 of 187 PageID 118




  Precedent 1 of the Amended License Agreement. In reality, among other payments

  never made, Aspire never paid Hemostemix $273,000. Instead, Hemostemix paid

  Jed Wood $273,000 related to the 2019 Wood Debenture and/or 2019 Wood Loan-

  to-Own under the payout order of the Canadian receivership court-approved process.

  It was not until the Canadian receivership court ordered the payment to be made in

  response to Jed Wood’s receivership application demand was that payment made.

  Accordingly, Jed Wood’s and Makofka’s contention that Aspire satisfied Condition

  Precedent 1 was and is false.

        448. Makofka and Jed Wood engaged in fraud when they directed Cooper

  and others to access, without authority, Hemostemix’s computer network and server,

  hard-code program its emails to automatically forward from the Hemostemix email

  addresses to an Aspire email address, to use those email addresses to falsely hold

  themselves out as Hemostemix representatives and agents, to steal sensitive,

  proprietary trade secret and other information, and to steal Hemostemix’s financial

  information and banking information.

        449. Makofka and Jed Wood engaged in fraud when they disseminated the

  false and misleading Trial Suspension Notice that Aspire was suspending the clinical

  trial of ACP-01 due to Hemostemix’s conduct through no fault of Aspire. In reality,

  the Trial Suspension Notice was not only false and misleading, as discussed above,

  but was issued without Aspire having any authority to do so. The intent and design

                                          118
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 119 of 187 PageID 119




  by Makofka and Jed Wood was to falsely disparage Hemostemix, disrupt and

  sabotage the clinical trial, and further impair Hemostemix financially.

        450. Makofka and Jed Wood engaged in fraud when they issued the

  improper, false and misleading Aspire Press Release on July 6, 2020. In reality, no

  final analysis was ever released, Aspire did not do so “under protest,” the report was

  unsigned and of no verifiable authenticity, and despite its false representations,

  neither Aspire nor any of its agents or representatives had any ownership rights to

  ACP-01 Clinical Trial Data, the Hemostemix IP, or the results of any midpoint

  analysis. The Aspire Press Release further made false and fraudulent representations

  about the efficacy of ACP-01 and Aspire falsely held itself out as having authority

  to speak for or on behalf of Hemostemix or the clinical trial. The intent and design

  by Makofka and Jed Wood of issuing the Aspire Press Release was to falsely and

  fraudulently impugn and disparage Hemostemix and its management, falsely call

  into question and undermine ACP-01 and the Clinical Trial, and to drive the

  Hemostemix stock price down so that Hemostemix would be left with no choice but

  to cede and surrender to Makofka’s and Jed Wood’s extortionate, repressive and

  exploitive demands.

        451. Hemostemix and others relied to their detriment on all of Makofka’s

  and Jed Wood’s false and fraudulent representations above, all of which harmed



                                           119
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 120 of 187 PageID 120




  Hemostemix by undermining and impeding its operations and ability to continue

  conducting the Clinical Trial.

        Predatory and commercially unreasonable loans and other funding
                                arrangements

        452. Makofka and Jed Wood induced and coerced Hemostemix to enter into

  predatory secured loans and debentures on commercially unreasonable terms,

  including such round-trip, self-dealing funding schemes as the 2017 Loan-to-Own,

  the 2017 Wood Capital Loan, the 2019 Wood Debenture, and the 2019 Wood Loan-

  to-Own, all of which furthered the goal of the RICO Enterprise to impair

  Hemostemix financially, steal Hemostemix’s IP and other assets, and ultimately take

  control of Hemostemix and its operations.

                        Self-dealing and related transactions

        453. Makofka and Jed Wood coerced and induced Hemostemix to enter into

  the Drive Capital Agreement and KSM Agreement which, in turn, allowed Makofka

  and Jed Wood to install and maintain Makofka as CRO, President and CEO of

  Hemostemix despite his failures at those positions, in order to benefit Makofka and

  Jed Wood.

        454. Makofka and Jed Wood took control of Hemostemix’s day-to-day

  management and operations which allowed them to access and take possession of

  Hemostemix’s IP and other assets, reorganize Hemostemix’s manufacturing


                                         120
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 121 of 187 PageID 121




  operations from HEM-Israel to Aspire to benefit Makofka and Jed Wood,

  reconstitute and reorganize Hemostemix’s Board with members loyal and

  deferential to Makofka and Jed Wood, induce and coerce Hemostemix to enter into

  the commercially unreasonable loans and other funding arrangements discussed

  above that were designed to benefit Makofka and Jed Wood at the expense of

  Hemostemix, and induce and coerce Hemostemix to enter into the Manufacturing

  Agreement, the Original License Agreement, and the Amended License Agreement

  all to benefit Makofka and Jed Wood.

        455. Makofka’s and Jed Wood’s self-dealing and related transactions also

  included disseminating the false and misleading Aspire Press Release and

  immediately selling, or directing the sale, of more than 57 million shares of

  Hemostemix stock with the intent and design to cause the share price to drop by

  more than 70%.

        456. Makofka’s and Jed Wood’s self-dealing and related transactions above

  furthered the goal of the RICO Enterprise to impair Hemostemix financially, steal

  Hemostemix’s IP and other assets, and ultimately take control of Hemostemix and

  its operations.




                                         121
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 122 of 187 PageID 122




               Wire Fraud: 18 U.S.C. § 1343 and Fla. Stat. § 817.034

        457. Makofka and Jed Wood used wire communications, including

  telephone and email, throughout 2018, 2019, and 2020 to further their fraudulent

  scheme.

        458. Makofka and Jed Wood used wire communications, including

  telephone and email, to disparage Hemostemix and its new management, including

  but not limited to the Aspire Press Release and the phone conference with Clinical

  Trial sites convened by Makofka and Jed Wood shortly after issuing the Aspire Press

  Release.

        459. Makofka and Jed Wood used wire communications, including

  telephone and email, to misrepresent Hemostemix’s financial obligations, the status

  of the Clinical Trial and effectiveness of ACP-01.

        460. Makofka and Jed Wood used wire communications, including

  telephone and email, to mislead the Clinical Trial sites and prospective investors.

        461. Makofka’s and Jed Wood’s willful, knowing and intentional acts above

  constitute wire fraud in violation of 18 U.S.C. § 1343 and Fla. Stat. § 817.034.

        462. Makofka’s and Jed Wood’s wire fraud furthered the goal of the RICO

  Enterprise to impair Hemostemix financially, steal Hemostemix’s IP and other

  assets, and ultimately take control of Hemostemix and its operations.



                                           122
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 123 of 187 PageID 123




  Theft of IP/trade secrets: 18 U.S.C. §§ 1831-1839 and Fla. Stat. 688.001, et seq

        463. Makofka and Jed Wood have wrongfully retained and refused to return

  the Hemostemix IP until Hemostemix has no option remaining but to cede control

  over Hemostemix and its IP.

        464. Makofka and Jed Wood used their positions of trust and confidence to

  gain access to, misappropriated, and unlawfully retain and refuse to return

  Hemostemix’s IP and trade secrets relating to the clinical trial, including the Clinical

  Trial data generated in the course of the Clinical Trial such as computerized records

  of the batch data, quality control and quality assurance data, cell count and cell

  viability data of each clinical trial batch, and the randomization key or table, all of

  which constitute trade secrets under the Defend Trade Secrets Act, 18 U.S.C. §§

  1831-1839, and the Florida Uniform Trade Secrets Act, Fla. Stat. 688.001, et seq.

        465. Makofka’s and Jed Wood’s willful, knowing and intentional acts to

  steal, convert, improperly retain and misappropriate Hemostemix’s IP furthered the

  goal of the RICO Enterprise to impair Hemostemix financially, steal Hemostemix’s

  IP and other assets, and ultimately take control of Hemostemix and its operations.

                 Extortion: 18 U.S.C. § 1951 and Fla. Stat. § 836.05

        466. Makofka and Jed Wood have wrongfully and fraudulently and through

  other unlawful means obtained access to and use of Hemostemix’s IP, finances and

  contracts.

                                            123
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 124 of 187 PageID 124




        467. Makofka and Jed Wood used abusive litigation, threats of continued

  abusive litigation, abusive and opportunistic corporate attacks including a frivolous

  proxy fight, to weaken Hemostemix, cause it to capitulate to demands by Makofka

  and Jed Wood to take control over Hemostemix, and install Makofka as the CRO,

  CEO and President of Hemostemix which enabled Makofka and Jed Wood to use

  self-dealing activities to undermine Hemostemix’s operations and slowly and

  methodically take control of and ownership over Hemostemix and its IP.

        468. Additionally, Makofka and Jed Wood have now held Hemostemix’s IP

  for more than (2) years, unlawfully and without authority, including Clinical Trial

  Data and other property, and refused to return such property, or allow Hemostemix

  access to such property.

        469. At all times, Makofka and Jed Wood have known that Hemostemix is

  the rightful owner of all Hemostemix IP.

        470. At all times, Makofka and Jed Wood have known that the Hemostemix

  IP is critical for and essential to the continuation of the Clinical Trial.

        471. Makofka and Jed Wood now hold, refuse to return and are threating

  harm to Hemostemix’s IP, including Clinical Trial Data and other property, absent

  the payment of exorbitant sums of money that are not otherwise due and owing.

        472. Makofka and Jed Wood obstructed, delayed, or affected interstate

  commerce or the movement of any article or commodity in commerce—that being

                                             124
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 125 of 187 PageID 125




  ACP-01—by extorting and attempting to extort Hemostemix through Makofka’s and

  Jed Wood’s: (a) refusal to return Hemostemix’s data and property unless

  Hemostemix acquiesced to their demands; (b) threats to destroy and destruction of

  Hemostemix’s relationships with its Clinical Trial sites and vendors, contractors,

  and consultants; (c) abusive litigation; (d) threats of continued abusive litigation; (e)

  abusive and opportunistic corporate attacks including a frivolous proxy fight to

  weaken Hemostemix and cause it to capitulate to demands by Makofka and Jed

  Wood to take control over Hemostemix and install Makofka as CRO, CEO and

  President of Hemostemix, which enabled Makofka and Jed Wood to use self-dealing

  activities to undermine Hemostemix’s operations and slowly and methodically take

  control of Hemostemix and its IP.

        473. The extortion affected interstate commerce because, among other

  things: Hemostemix’s Clinical Trial Data, IP and other assets were stolen outside of

  the State of Florida and are being held in Florida; and the abusive litigation and

  threats of abusive litigation occurred in Florida and other jurisdictions.

        474. Makofka’s and Jed Wood’s acts of extortion furthered the goal of the

  RICO Enterprise to increase the control over Hemostemix, its IP and business and

  confidential proprietary information, thereby increasing and perfecting their control

  over Hemostemix directly and attempting to secure payment of exorbitant funds

  from Hemostemix for the return of its own property.

                                            125
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 126 of 187 PageID 126




  Tortiously and unlawfully interfering with and misappropriating contractual
                                  relationships

        475. Makofka and Jed Wood have falsely and fraudulently held themselves,

  and KSM employees including Cooper and others, out as representatives of and

  authorized agents for Hemostemix in order to misappropriate, convert and acquire

  the full benefit of Hemostemix’s vendor, consultant and Clinical Trial site contracts

  and relationships, including but not limited to Medrio, Accudata and Anju.

        476. The predicate acts set forth above constitute a “pattern of racketeering

  activity” as defined in 18 U.S.C. § 1961(5).

        477. Makofka and Jed Wood have directly and indirectly, through entities

  they own and/or control or by directing others to carry out the activities set forth

  above, conducted and participated in the conduct of the RICO Enterprises affairs

  through the pattern of racketeering activity described above, in violation of 18

  U.S.C. § 1962(c).

        478. As a direct and proximate result of Makofka’s and Jed Wood’s

  racketeering activities and violations of 18 U.S.C. § 1962(c), Hemostemix has been

  injured in its business and property, to wit:

            a. being forced to divert precious assets and resources to funding a defense

               to frivolous litigation and corporate attacks that would otherwise have

               been applied to underwriting clinical trial costs;


                                            126
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 127 of 187 PageID 127




           b. being defrauded out of millions of dollars;

           c. being deprived the use and benefit of having its IP and proprietary data;

           d. being deprived the opportunity to capitalize on bona fide capital finance

               opportunities intentionally squandered by Makofka and Jed Wood;

           e. being deprived the ability to continue the Clinical Trial;

           f. being impeded from taking the ACP-01 therapy to market; and

           g. being disparaged and having its management publicly disparaged in

               retaliation for not succumbing and ceding to Makofka and Jed Wood’s

               demands.

        WHEREFORE Plaintiff Hemostemix Inc. demands judgment be entered in its

  favor and against Makofka and Jed Wood for actual damages in an amount to be

  determined at trial but in any event not less than $46 million in actual damages and

  not less than $300 million for Hemostemix’s inability to take its ACP-01 therapy to

  market due to the foregoing conduct. Hemostemix further seeks treble damages, an

  award of reasonable attorneys’ fees and costs, an order for preliminary and

  permanent injunction ordering the immediate return of all Hemostemix IP and other

  assets, an order affirmatively preventing Makofka and Jed Wood from taking any

  action to impede on, encroach on or impair Hemostemix’s ability to exercise and

  enjoy the full benefits of its IP, and all other and such further relief as this Court

  deems just and proper under the circumstances.

                                           127
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 128 of 187 PageID 128




                                COUNT II
    RACKETEERING INFLUENCED AND CORRUPT ORGANIZATIONS
                              ACT (“RICO”)
         18 U.S.C. § 1962(b) (Acquisition of Control of Enterprise)
              (Against Defendants Makofka and Jed Wood)

        479. Hemostemix hereby realleges and incorporates as if fully set forth

  herein paragraphs 1 through 428 above.

        480. Hemostemix brings this claim against Defendants Makofka and Jed

  Wood.

        481. Hemostemix is a “person” with standing to sue under 18 U.S.C. §

  1962(b) within the meaning of 18 U.S.C. § 1964(c).

        482. Hemostemix is an “enterprise” engaged in an whose activities affect

  interstate commerce.

        483. Makofka and Jed Wood acquired and maintained interests in and

  control of Hemostemix through a pattern of racketeering activity. Specifically,

  Makofka and Jed Wood agreed to and did conduct and participate in a pattern of

  racketeering activity for the unlawful common purpose of acquiring control over

  Hemostemix. Once in control of Hemostemix, Makofka and Jed Wood impaired

  Hemostemix financially and stole Hemostemix’s IP and other assets.

        484. Makofka and Jed Wood engaged in the certain conduct in furtherance

  of their efforts to acquire and maintain interests in and control Hemostemix, to wit:

  (a) fraud; (b) predatory and commercially unreasonable loans and other funding

                                           128
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 129 of 187 PageID 129




  arrangements; (c) self-dealing and related transactions; (d) wire fraud; (e) extortion;

  (f) theft and misappropriation of assets; and (g) tortiously and unlawfully interfering

  with and misappropriating contractual relationships, discussed above in Count I.

        485. The predicate acts set forth above constitute a “pattern of racketeering

  activity” as defined in 18 U.S.C. § 1961(5).

        486. Makofka and Jed Wood have directly and indirectly, through entities

  they own and/or control or by directing others to carry out the activities set forth

  above, acquired and maintained interests in and control of Hemostemix, the

  enterprise, through the pattern of racketeering activity described above, in violation

  of 18 U.S.C. § 1962(b).

        487. As a direct and proximate result of Makofka’s and Jed Wood’s

  racketeering activities and violations of 18 U.S.C. § 1962(b), Hemostemix has been

  injured in its business and property, to wit:

            a. being forced to divert precious assets and resources to funding a defense

               to frivolous litigation and corporate attacks that would otherwise have

               been applied to underwriting clinical trial costs;

            b. being defrauded out of millions of dollars;

            c. being deprived the use and benefit of having its IP and proprietary data;

            d. being deprived the opportunity to capitalize on bona fide capital finance

               opportunities intentionally squandered by Makofka and Jed Wood;

                                            129
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 130 of 187 PageID 130




           e. being deprived the ability to continue the Clinical Trial;

           f. being impeded from taking the ACP-01 therapy to market; and

           g. being disparaged and having its management publicly disparaged in

               retaliation for not succumbing and ceding to Makofka and Jed Wood’s

               demands.

        WHEREFORE Plaintiff Hemostemix Inc. demands judgment be entered in its

  favor and against Makofka and Jed Wood for actual damages in an amount to be

  determined at trial but in any event not less than $46 million in actual damages and

  not less than $300 million for Hemostemix’s inability to take its ACP-01 therapy to

  market due to the foregoing conduct. Hemostemix further seeks treble damages, an

  award of reasonable attorneys’ fees and costs, an order for preliminary and

  permanent injunction ordering the immediate return of all Hemostemix IP and other

  assets, an order affirmatively preventing Makofka and Jed Wood from taking any

  action to impede on, encroach on or impair Hemostemix’s ability to exercise and

  enjoy the full benefits of its IP, and all other and such further relief as this Court

  deems just and proper under the circumstances.




                                           130
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 131 of 187 PageID 131




                                 COUNT III
   RACKETEERING INFLUENCED AND CORRUPT ORGANIZATIONS
                               ACT (“RICO”)
                   18 U.S.C. § 1962(d) (RICO Conspiracy)
  (Against Defendants Makofka, Jed Wood, Blake Wood, Randi Wood, Jacobs,

                                     and Cooper)

        488. Hemostemix hereby realleges and incorporates as if fully set forth

  herein paragraphs 1 through 428 above.

        489. Hemostemix brings this claim against Defendants Makofka, Jed Wood,

  Blake Wood, Randi Wood, Jacobs and Cooper (the “RICO Conspiracy

  Defendants”).

        490. Hemostemix is a “person” with standing to sue under 18 U.S.C. §

  1962(d) within the meaning of 18 U.S.C. § 1964(c).

        491. The RICO Conspiracy Defendants engaged in interstate commerce in

  that their activities and transactions relating to RICO Conspiracy and predicate acts

  involved their international and interstate actions which affect interstate commerce,

  and frequently required travel and communication across state and international lines

  from Alberta or other provinces in Canada into to Florida, during the period covered

  by this Complaint to secure Hemostemix’s IP at Aspire’s laboratory in or around

  Orlando, Florida, confirm the status of the production and manufacturing processes

  controlled entirely by Aspire, and collect, retain and refuse Hemostemix access to

  the IP and Clinical Trial Data.

                                           131
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 132 of 187 PageID 132




        492. These travels for Makofka, Cooper and Fairbairn occurred throughout

  2017. 2018, 2019 and into 2020. Likewise, these travels for Jacobs occurred

  throughout 2019 and 2020

        493. As set forth above, the RICO Conspiracy Defendants agreed and

  conspired to violate 18 U.S.C. § 1962(c), specifically, by engaging in a pattern of

  racketeering activity for the unlawful common purpose of impairing Hemostemix

  financially, stealing Hemostemix’s IP and other assets, and ultimately taking control

  of Hemostemix and its operations through such acts as: (a) fraud; (b) predatory and

  commercially unreasonable loans and other funding arrangements; (c) self-dealing

  and related transactions; (d) wire fraud; (e) extortion; (f) theft and misappropriation

  of assets; and (g) tortiously and unlawfully interfering with and misappropriating

  contractual relationships.

        494.    As set forth above, the RICO Conspiracy Defendants agreed and

  conspired to violate 18 U.S.C. § 1962(b), specifically, acquiring and maintaining

  interests in and control of Hemostemix through a pattern of racketeering activity for

  the unlawful common purpose of acquiring control over Hemostemix and, once in

  control of Hemostemix, to impair Hemostemix financially and steal Hemostemix’s

  IP and other assets.

        495. The RICO Conspiracy Defendants have intentionally conspired and

  agreed to conduct and participate in the conduct of the affairs of the RICO Enterprise

                                           132
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 133 of 187 PageID 133




  through a pattern of racketeering activity, and to acquire or maintain interests in

  Hemostemix through a pattern of racketeering activity.

         496. The RICO Conspiracy Defendants knew that their predicate acts were

  part of a pattern of racketeering activity and agreed to the commission of those acts

  to further the schemes described above. That conduct constitutes a conspiracy to

  violate 18 U.S.C. §§ 1962(c) and (b), in violation of 18 U.S.C. § 1962(d).

         497. As a direct and proximate result of the RICO Conspiracy Defendants’

  conspiracy, the overt acts taken in furtherance of that conspiracy, and violations of

  18 U.S.C. § 1962(d), Hemostemix has been injured in its business and property, to

  wit:

            a. being forced to divert precious assets and resources to funding a defense

               to frivolous litigation and corporate attacks that would otherwise have

               been applied to underwriting clinical trial costs;

            b. being defrauded out of millions of dollars;

            c. being deprived the use and benefit of having its IP and proprietary data;

            d. being deprived the opportunity to capitalize on bona fide capital finance

               opportunities intentionally squandered by Makofka and Jed Wood;

            e. being delayed and deprived the ability to continue the Clinical Trial;

            f. being delayed and impeded from taking the ACP-01 therapy to market;

               and

                                           133
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 134 of 187 PageID 134




            g. being disparaged and having its management publicly disparaged in

               retaliation for not succumbing and ceding to Makofka and Jed Wood’s

               demands.

        WHEREFORE Plaintiff Hemostemix Inc. demands judgment be entered in its

  favor and against the RICO Conspiracy Defendants—Makofka, Jed Wood, Blake

  Wood, Randi Wood, Jacobs, and Cooper—for actual damages in an amount to be

  determined at trial but in any event not less than $46 million in actual damages for

  lost equity and not less than $300 million for Hemostemix’s inability to take its ACP-

  01 therapy to market. Hemostemix further seeks treble damages, an award of

  reasonable attorneys’ fees and costs, an order for preliminary and permanent

  injunction ordering the immediate return of all Hemostemix IP and other assets, an

  order affirmatively preventing Makofka and Jed Wood from taking any action to

  impede on, encroach on or impair Hemostemix’s ability to exercise and enjoy the

  full benefits of its IP, and all other and such further relief as this Court deems just

  and proper under the circumstances.

                                COUNT IV
             VIOLATION OF DEFEND TRADE SECRETS ACT
                              18 U.S.C. § 1832
  (Against Defendants Makofka, Jed Wood, Jacobs, Cooper, KSM, and Aspire)

        498. Hemostemix hereby realleges and incorporates as if fully set forth

  herein paragraphs 1 through 428 above.


                                           134
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 135 of 187 PageID 135




        499. As set forth above, Hemostemix’s IP, including confidential and

  proprietary trade secrets, include the Clinical Trial Data generated in the course of

  the Clinical Trial. Such Clinical Trial Data includes computerized records of the

  batch data, quality control and quality assurance data, cell count and cell viability

  data of each Clinical Trial batch, and the randomization key or table. These

  materials constitute trade secrets under 18 U.S.C. § 1839.

        500. Hemostemix’s trade secrets relate to products used in, or intended for

  use in, interstate commerce.

        501. The Clinical Trial data is valuable and proprietary, and is the result of

  years of work and more than $46 million invested by Hemostemix.

        502. Hemostemix has taken reasonable steps to protect the confidentiality of

  the Clinical Trial Data, by, among other things, entering into contracts with Drive

  Capital and KSM, both entities owned and controlled by Makofka and Jed Wood,

  that include strict confidentiality provisions.

        503. The records in the possession or under the control of Makofka, Jed

  Wood, Jacobs, Cooper, KSM and Aspire are central to the core business of

  Hemostemix, are required immediately to ensure Hemostemix’s regulatory and

  statutory compliance requirements, and are currently being held and maintained at

  Aspire’s office and laboratory in Florida.



                                            135
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 136 of 187 PageID 136




        504. Makofka, Jed Wood, Jacobs, Cooper, KSM and Aspire were at all

  relevant times aware of the confidentiality of the data, the fact that Hemostemix is

  the owner of such data, and the importance of such data to Hemostemix’s business.

        505. Notwithstanding this knowledge, Makofka, Jed Wood, Jacobs, Cooper,

  KSM, and Aspire intentionally, willfully, maliciously and with reckless disregard of

  Hemostemix’s rights, misappropriated Hemostemix’s trade secrets by refusing to

  turn over the data to Hemostemix and conspiring to deprive Hemostemix of access

  to the data.

        506. As a direct and proximate result of Makofka’s, Jed Wood’s, Jacobs’,

  Cooper’s, KSM’s, and Aspire’s wrongful conduct, Hemostemix has suffered, is

  suffering and will continue to suffer incalculable financial loss and imminent and

  permanent irreparable harm. Moreover, if the data is not immediately turned over,

  Hemostemix will continue to suffer irreparable harm that cannot be fully remedied

  by money damages.

        WHEREFORE Plaintiff Hemostemix Inc., demands judgment be entered in

  its favor and against Makofka, Jed Wood, Jacobs, Cooper, KSM, and Aspire, for the

  full value of its trade secrets and proprietary data misappropriated by Makofka, Jed

  Wood, KSM and Jacobs including the full value of the benefits and improvement

  obtained by Makofka, Jed Wood, KSM and Jacobs while using same, in an amount

  to be determined at trial but in any event not less than $46 million in actual damages

                                           136
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 137 of 187 PageID 137




  and not less than $300 million for Hemostemix’s inability to take its ACP-01 therapy

  to market due to the foregoing conduct. Hemostemix further seeks an award to

  Hemostemix of its reasonable attorneys’ fees and costs, an order for a preliminary

  and permanent injunction ordering the immediate return of all Hemostemix IP and

  other assets, and all other and such further relief as this Court deems just and proper

  under the circumstances.

                                 COUNT V
       VIOLATION OF FLORIDA UNIFORM TRADE SECRETS ACT
                         Fla. Stat. § 688.001 et. seq.
  (Against Defendants Makofka, Jed Wood, Jacobs, Cooper, KSM, and Aspire)

        507. Hemostemix hereby realleges and incorporates as if fully set forth

  herein paragraphs 1 through 428 above.

        508. Hemostemix is the rightful and exclusive owner of certain property and

  material containing highly confidential and non-public information, processes,

  intellectual property and other such trade secrets used throughout the business.

        509. Hemostemix has taken reasonable steps to safeguard the secrecy and

  confidentiality of its property which is necessary to protect its investment of

  substantial time and money to obtain same. Further, Hemostemix requires high-

  ranking executives among others, to sign confidentiality provisions to protect against

  inadvertent or unwanted disclosure of same.




                                           137
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 138 of 187 PageID 138




        510. The property at issue is in the possession or under the control of

  Makofka, Jed Wood, Jacobs, Cooper, KSM and Aspire and is central to the core

  business of Hemostemix, is required to ensure Hemostemix’s regulatory and

  statutory compliance requirements, and is currently being held and maintained at

  Aspire’s office and laboratory in Florida.

        511. Makofka, Jed Wood, Jacobs, Cooper, KSM and Aspire wrongfully

  misappropriated Hemostemix’s trade secrets for their own benefit by abusing

  Makofka’s position of trust and taking Hemostemix’s property knowing it was

  owned by Hemostemix. Makofka, Jed Wood, Jacobs, Cooper, KSM and Aspire

  have wrongfully obtained Hemostemix’s Clinical Trial data by improper means and

  without authorization.

        512. Makofka’s, Jed Wood’s, Jacobs’, Cooper’s, KSM’s and Aspire’s

  conduct in misappropriating or causing Hemostemix’s trade secrets to be

  misappropriated, was an unlawful act in furtherance of the Conspiracy.

        513. As a direct and proximate result of the misappropriation of its trade

  secrets and proprietary data, Hemostemix has suffered and continues to suffer

  additional damages as a result of such misappropriation and its subsequent refusal

  to return same.

        WHEREFORE Plaintiff Hemostemix Inc., demands judgment be entered in

  its favor and against Makofka, Jed Wood, Jacobs, Cooper, KSM and Aspire, for the

                                           138
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 139 of 187 PageID 139




  full value of its trade secrets and proprietary data misappropriated by Makofka,

  including the full value of the benefits and improvement obtained by Makofka while

  using same, in an amount to be determined at trial but in any event not less than $46

  million in actual damages and not less than $300 million for Hemostemix’s inability

  to take its ACP-01 therapy to market due to the foregoing conduct. Hemostemix

  further seeks an award to Hemostemix of its reasonable attorneys’ fees and costs, an

  order for a preliminary and permanent injunction ordering the immediate return of

  all Hemostemix IP and other assets, and all other and such further relief as this Court

  deems just and proper under the circumstances.

                                    COUNT VI
                  COMPUTER FRAUD AND ABUSE ACT (CFAA)
                                 18 U.S.C. § 1030
                 (Against Defendants Makofka, Cooper, and Jacobs)

        514. Hemostemix hereby realleges and incorporates as if fully set forth

  herein paragraphs 1 through 428 above

        515. During the period Makofka served as CRO, CEO and President under

  the Drive Capital Agreement and KSM Agreement, Makofka continuously had a

  Hemostemix email address and access to Hemostemix’s server and confidential

  information.

        516. The KSM Agreement was terminated effective October 31, 2019.

  Makofka’s resignation was effective as of that date.


                                           139
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 140 of 187 PageID 140




        517. Following termination of the KSM Agreement, Makofka was not

  entitled to or authorized to use his Hemostemix email address, hold himself out as

  an officer or agent of Hemostemix, or take action on behalf of Hemostemix.

        518. In addition to Makofka, other KSM employees providing contracted for

  services to Hemostemix were Cooper, the Chief Information/Technology Officer,

  and others.

        519. Unbeknownst to Hemostemix’s board or incoming management at the

  time, despite termination of the KSM Agreement, Makofka as well as Cooper and

  other KSM employees at Makofka’s direction, continued to use and access their

  Hemostemix email, access the Hemostemix server, and hold themselves out as

  representatives of Hemostemix in order to invite and entice communications from

  vendors, consultants and contractors to continue uninterrupted regarding sensitive,

  proprietary and confidential Hemostemix business matters.

        520. Unbeknownst to Hemostemix at the time, Makofka directed Cooper,

  who had administrative access rights to Hemostemix’s email network and server, to

  maintain such administrative access rights after termination of the KSM Agreement

  and also to hard-code the Hemostemix emails of Makofka, Cooper, Jacobs and other

  KSM and Aspire employees to automatically forward incoming emails to a separate

  aspire2cure.com email address also set up for Makofka, Cooper, Jacobs and other

  KSM and Aspire employees. In other words, Makofka, Cooper, Jacobs and other

                                         140
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 141 of 187 PageID 141




  KSM and Aspire employees continued to access their Hemostemix electronically

  stored information, including email, for months after termination of the KSM

  Agreement and cessation of authority.

        521. Makofka did this in order to ensure that he, Cooper, Jacobs and other

  KSM and Aspire employees could falsely and fraudulently hold themselves out as

  authorized representatives and agents of Hemostemix to receive and access

  Hemostemix’s sensitive, proprietary and confidential information.

        522. Also unbeknownst to Hemostemix for months after termination of the

  KSM Agreement, Makofka directed Cooper to continue to use his administrative

  access rights to access Hemostemix’s network and server to access Hemostemix’s

  highly confidential, sensitive and proprietary information such as financial and

  accounting information, banking information, and emails of Hemostemix employees

  and officers. Makofka knew that neither he nor Cooper had authority to access the

  protected computer network or server following termination of the KSM Agreement.

        523. Also, in or about December 2019, at Makofka’s direction, Cooper

  created accounting entries in Hemostemix’s books to falsely and fraudulently show

  paid payables of Hemostemix.

        524. Additionally, Jacobs continued to access Hemostemix computers,

  servers and network long after his resignation as Hemostemix CMO in order to

  continue holding himself out as an authorized agent and representative of

                                          141
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 142 of 187 PageID 142




  Hemostemix. As a result, Jacobs was able to continue receiving FDA and Health

  Canada communications directed to and designed for Hemostemix, through his

  pirated Hemostemix email address.

        525. Makofka, Cooper and Jacobs knew their actions were unlawful,

  unauthorized and wrong.

        526. The information accessed and taken included bank transfers and

  financial transactions to benefit Makofka, Wood and entities they own or control,

  far exceeding $5,000.00 in value, and more likely ranging in the hundreds of

  thousands to millions of dollars in value.

        WHEREFORE Plaintiff Hemostemix Inc., demands judgment be entered in

  its favor and against Makofka, Cooper and Jacobs for violating the CFAA and

  injuring Hemostemix for the full value of its trade secrets and proprietary data

  misappropriated by Makofka, including the full value of the benefits and

  improvement obtained by Makofka while using same, in an amount to be determined

  at trial but in any event not less than $46 million in actual damages and not less than

  $300 million for Hemostemix’s inability to take its ACP-01 therapy to market due

  to the foregoing conduct. Hemostemix further seeks an award to Hemostemix of its

  reasonable attorneys’ fees and costs, an order for a preliminary and permanent

  injunction ordering the immediate return of all Hemostemix IP and other assets, and



                                           142
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 143 of 187 PageID 143




  all other and such further relief as this Court deems just and proper under the

  circumstances.

                           COUNT VII
      BREACH OF CONTRACT – SPECIFIC PERFORMANCE (DRIVE
                    CAPITAL AGREEMENT)
                   (Against Defendant Makofka)

        527. Hemostemix hereby realleges and incorporates as if fully set forth

  herein paragraphs 1 through 428 above

        528. On or about December 21, 2016, Hemostemix and Drive Capital, and

  entity wholly-owned and controlled by Makofka and Jed Wood, entered into the

  Drive Capital Agreement pursuant to which Makofka and Drive Capital were

  required to provide management and operational services. Makofka and Jed Wood

  owned and controlled Drive Capital and were and still are responsible for all acts or

  omissions of Drive Capital.

        529. The Drive Capital Agreement was a valid and enforceable contract

  from December 21, 2016 through its expiration date of December 21, 2018.

        530. Hemostemix performed all obligations under the Drive Capital

  Agreement.

        531. Makofka and Drive Capital were required under the Drive Capital

  Agreement to maintain and protect the confidentiality all Hemostemix IP, were




                                          143
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 144 of 187 PageID 144




  prohibited from retaining and were required to return to Hemostemix its IP upon

  termination or expiration of the Drive Capital Agreement.

        532. Drive Capital and Makofka failed and refused to comply with and

  purposefully and intentionally violated this duty of confidentiality by mishandling

  and improperly retaining Hemostemix’s IP and other assets following termination

  or expiration of the Drive Capital Agreement.

        533. As a result of Drive Capital’s and Makofka’s breach involving failure

  to maintain and protect the confidentiality all Hemostemix IP, and withholding, and

  not returning to Hemostemix its IP, Hemostemix has been deprived the benefit of its

  bargain under the Drive Capital Agreement, as well as deprived of the benefit and

  use of its IP during the intervening time, and has suffered irreparable harm.

  Hemostemix has no adequate remedy at law because it is seeking return of its IP and

  data critical to completing the Clinical Trial.

        WHEREFORE Plaintiff Hemostemix Inc., demands judgment be entered in

  its favor and against Makofka compelling the immediate return of all IP, confidential

  and proprietary information and other assets of Hemostemix, and such further relief

  as this Court deems just and proper under the circumstances.




                                            144
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 145 of 187 PageID 145




                             COUNT VIII
          BREACH OF CONTRACT – DAMAGES (DRIVE CAPITAL
                           AGREEMENT)
                     (Against Defendant Makofka)

        534. Hemostemix hereby realleges and incorporates as if fully set forth

  herein paragraphs 1 through 428 above.

        535. On or about December 21, 2016, Hemostemix and Drive Capital, and

  entity wholly-owned and controlled by Makofka and Jed Wood, entered into the

  Drive Capital Agreement pursuant to which Makofka and Drive Capital were

  required to provide management and operational services. Makofka and Jed Wood

  owned and controlled Drive Capital and were and still are responsible for all acts or

  omissions of Drive Capital.

        536. The Drive Capital Agreement was a valid and enforceable contract

  from December 21, 2016 through its expiration date of December 21, 2018.

        537. Hemostemix performed all obligations under the Drive Capital

  Agreement.

        538. Makofka and Drive Capital were required under the Drive Capital

  Agreement to advise, manage, assist and support Hemostemix in its day-to-day

  operations in order to effectuate Hemostemix’s business and strategic plans,

  including assigning Drive Capital employees to provide services, including




                                           145
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 146 of 187 PageID 146




  information technology and information security, administrative support, controller

  and accounting services, and oversight of the Clinical Trial to Hemostemix.

        539. Makofka and Drive Capital were required under the Drive Capital

  Agreement to maintain and protect the confidentiality all Hemostemix IP, were

  prohibited from retaining and were required to return to Hemostemix its IP upon

  termination or expiration of the Drive Capital Agreement.

        540. Drive Capital and Makofka failed and refused to comply with and

  purposefully and intentionally violated this duty of confidentiality by mishandling

  and improperly retaining Hemostemix’s IP and other assets following termination

  or expiration of the Drive Capital Agreement.

        541. Pursuant to the Drive Capital Agreement, Makofka’s principal

  responsibilities as President and CEO of Hemostemix included raising funds for

  Hemostemix to fund its operations, including the Clinical Trial. Makofka was

  expected to capitalize on opportunities for fundraising and promoting Hemostemix,

  ACP-01 and its Clinical Trial successes.

        542. Makofka failed to raise meaningful capital for Hemostemix to grow the

  business or improve operations, despite being given multiple leads and multiple

  promising opportunities to do so. Instead, Makofka misled the Board into taking

  action designed to force Hemostemix to accept new and onerous secured debt



                                         146
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 147 of 187 PageID 147




  obligations in transactions financed by entities owned and controlled by Makofka

  and Wood.

        543. Makofka engaged in an ill-advised and ill-conceived reorganization of

  Hemostemix, including transferring manufacturing operations from HEM-Israel to

  Aspire, and transferring ownership of Hemostemix’s IP from Kwalata to

  Hemostemix.

        544. Pursuant to the Drive Capital Agreement, Drive Capital and Makofka

  were entitled to earn lucrative compensation in exchange for full time work on behalf

  of Hemostemix.

        545. Drive Capital and Makofka did not provide full-time services to

  Hemostemix; rather, Drive Capital and Makofka dedicated far less than full-time

  due to Drive Capital and Makofka also providing services to Aspire that were

  contrary to and inconsistent with its responsibilities for Hemostemix. Despite

  dividing his time between Hemostemix and Aspire, however, Makofka and Drive

  Capital did not reduce the compensation due from Hemostemix. Instead, Makofka

  continued to pay himself and his Drive Capital employees unearned compensation

  for full time work that they did not perform in violation of the Drive Capital

  Agreement.

        546. As a result of Drive Capital’s and Makofka’s breach involving failure

  to properly and competently advise, manage, assist and support Hemostemix in its

                                          147
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 148 of 187 PageID 148




  day-to-day operations in order to effectuate Hemostemix’s business and strategic

  plans, Hemostemix has been harmed and seeks money damages in an amount to be

  determined at trial.

        WHEREFORE Plaintiff Hemostemix Inc., demands judgment be entered in

  its favor and against Makofka for the full value of its trade secrets and proprietary

  data misappropriated by Makofka, including the full value of the benefits and

  improvement obtained by Makofka while using same, in an amount to be determined

  at trial but in any event not less than $46 million in actual damages and not less than

  $300 million for Hemostemix’s inability to take its ACP-01 therapy to market due

  to the foregoing conduct. Hemostemix further seeks an award to Hemostemix of its

  reasonable attorneys’ fees and costs, an order for a preliminary and permanent

  injunction ordering the immediate return of all Hemostemix IP and other assets, and

  all other and such further relief as this Court deems just and proper under the

  circumstances.

                              COUNT IX
        BREACH OF CONTRACT – SPECIFIC PERFORMANCE (KSM
                            AGREEMENT)
                (Against Defendants Makofka and KSM)

        547. Hemostemix hereby realleges and incorporates as if fully set forth

  herein paragraphs 1 through 428 above.




                                           148
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 149 of 187 PageID 149




        548. On or about January 1, 2019, Hemostemix and KSM entered into the

  KSM Agreement pursuant to which KSM and its principal, Makofka, were required

  to provide management and operational services. Makofka owns and controls KSM

  and is responsible for all acts or omissions of KSM.

        549. The KSM Agreement was a valid and enforceable contract by and

  between Hemostemix and KSM from January 1, 2019 until its termination date

  effective October 31, 2019.

        550. Hemostemix performed all obligations under the KSM Agreement.

        551. Pursuant to the KSM Agreement, KSM and Makofka were obligated to

  maintain all Hemostemix IP and other property as strictly confidential, and were

  obligated to return, and not retain, all Hemostemix’s IP, including all files, records,

  documents, data and other information, to Hemostemix upon termination or

  expiration of the KSM Agreement.

        552. KSM and Makofka failed to comply with and purposefully and

  intentionally violated this duty of confidentiality, failed to maintain the

  confidentiality of Hemostemix’s IP, failed to return and, in fact, retained

  Hemostemix’s IP, including all files, records, documents, data and other

  information, to Hemostemix upon termination or expiration of the KSM Agreement.




                                           149
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 150 of 187 PageID 150




        553. As a result of KSM’s and Makofka’s multiple breaches, Hemostemix

  has been deprived the use and benefit of its property and deprived the benefit of its

  bargain under the KSM Agreement.

        554. KSM has suffered irreparable harm.

        555. Hemostemix has no adequate remedy at law because it is seeking return

  of the Hemostemix IP, including clinical trial data, necessary to continue and

  complete the Clinical Trial.

        WHEREFORE Plaintiff Hemostemix Inc., demands judgment be entered in

  its favor and against Makofka and KSM compelling the immediate return of all IP,

  confidential and proprietary information and other assets of Hemostemix, and such

  further relief as this Court deems just and proper under the circumstances.

                              COUNT X
        BREACH OF CONTRACT – DAMAGES (KSM AGREEMENT)
                (Against Defendants Makofka and KSM)

        556. Hemostemix hereby realleges and incorporates as if fully set forth

  herein paragraphs 1 through 428 above.

        557. On or about January 1, 2019, Hemostemix and KSM entered into the

  KSM Agreement pursuant to which KSM and Makofka were required to provide

  management and operational services. Makofka owns and controls KSM and is

  responsible for all acts or omissions of KSM.



                                           150
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 151 of 187 PageID 151




        558. The KSM Agreement was a valid and enforceable contract by and

  between Hemostemix and KSM from January 1, 2019 until its termination date

  effective October 31, 2019.

        559. Hemostemix performed all obligations under the KSM Agreement.

        560. Pursuant to the KSM Agreement, KSM and Makofka were obligated to

  maintain and protect the confidentiality of all Hemostemix IP and other property as

  strictly confidential, and were obligated to return, and not retain, all Hemostemix’s

  IP, including all files, records, documents, data and other information, to

  Hemostemix upon termination or expiration of the KSM Agreement.

        561. KSM and Makofka failed and refused to comply with and purposefully

  and intentionally violated this duty of confidentiality by mishandling and improperly

  retaining and failing and refusing to return Hemostemix’s IP and other assets,

  including all files, records, documents, data and other information, to Hemostemix

  upon termination or expiration of the KSM Agreement.

        562. Pursuant to the KSM Agreement, KSM and Makofka were obligated to

  provide full-time professional management services, including advising, managing,

  assisting and supporting Hemostemix in its day-to-day operations in order to

  effectuate Hemostemix’s business and strategic plans, including assigning KSM

  employees to provide information technology and information security,



                                          151
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 152 of 187 PageID 152




  administrative support, controller and accounting services, and oversight of the

  Clinical Trial.

        563. Pursuant to the KSM Agreement, Makofka’s principal responsibilities

  as CRO, CEO, and President of Hemostemix included raising funds for Hemostemix

  to fund its operations, including the Clinical Trial. Makofka was expected to

  capitalize on fundraising and capital financing opportunities to promote

  Hemostemix, ACP-01 and its Clinical Trial successes, grow the business, and

  improve operations.

        564. Pursuant to the KSM Agreement, KSM and Makofka earned lucrative

  compensation in exchange for full time work on behalf of Hemostemix.

        565. Pursuant to the KSM Agreement, KSM and Makofka were obligated to

  abstain from conduct that reasonably could cause harm to Hemostemix’s interests

  and to abstain from self-dealing or other self-interested conduct from which

  Makofka could derive benefits rightfully belonging to Hemostemix.

        566. Pursuant to the KSM Agreement, KSM and Makofka were obligated to

  protect and preserve confidential data, information, material or processes owned by

  Hemostemix.

        567. Pursuant to the KSM Agreement, KSM and Makofka were obligated to

  maintain all Hemostemix IP and other property as strictly confidential, and were

  obligated to return, and not retain, all Hemostemix’s IP, including all files, records,

                                           152
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 153 of 187 PageID 153




  documents, data and other information, to Hemostemix upon termination or

  expiration of the KSM Agreement.

        568. KSM and Makofka failed to fulfill and, in fact, breached, their

  contractual obligations to Hemostemix by inter alia:

           a. violating Section 7 by failing to provide workmanlike and competent

              professional services to Hemostemix;

           b. stealing from Hemostemix in the form of unearned compensation by

              failing to provide full-time services to Hemostemix;

           c. failing to raise capital for Hemostemix from outside sources other than

              Jed Wood or corporate entities owned and controlled by Makofka or

              Jed Wood;

           d. failing to grow Hemostemix’s business or improve operations, despite

              being given multiple leads and multiple promising opportunities to do

              so

           e. engaging routinely in acts of self-dealing designed to benefit himself

              and Jed Wood at Hemostemix’s expense;

           f. abusing his position as CRO, CEO and President of Hemostemix to

              engage in conduct to undermine and harm Hemostemix’s business or

              other interests in order to derive a personal benefit for himself and Jed

              Wood, and/or corporate entities they owned or controlled;

                                          153
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 154 of 187 PageID 154




           g. violating Sections 8 and 10 by failing to properly handle, treat, protect

              and return and, in fact, misappropriating and improperly retaining

              Hemostemix’s IP, confidential and proprietary information following

              termination of the KSM Agreement, an obligation that survived

              termination of the KSM Agreement;

           h. violating Section 11 by taking action designed to benefit KSM,

              Makofka, Jed Wood and Aspire at the expense of Hemostemix;

           i. violating the Non-Solicitation covenant in Section 12 by soliciting,

              encouraging, and/or facilitating clients, customers, vendors and

              consultants, to alter, modify, diminish and/or cease their respective

              relationships with Hemostemix, and soliciting, inducing, encouraging

              and/or facilitating, under false and fraudulent pretenses, employees,

              consultants,   suppliers,   contractors    and/or   subcontractors    of

              Hemostemix to leave the employment of, consultancy, contractor or

              subcontractor or other relationship with Hemostemix; and

           j. misleading the Board into taking action designed to force Hemostemix

              to accept new and onerous secured debt obligations in transactions

              financed by entities owned and controlled by Makofka and Jed Wood.

        569. As a result of KSM’s and Makofka’s breaches involving failure to

  properly and competently advise, manage, assist and support Hemostemix in its day-

                                          154
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 155 of 187 PageID 155




  to-day operations in order to effectuate Hemostemix’s business and strategic plans,

  Hemostemix has been harmed and seeks money damages in an amount to be

  determined at trial.

        570. KSM’s failures and refusals to uphold its obligations under the KSM

  Agreement constitute material breaches of same.

        571. Hemostemix has suffered significant damages as a direct and proximate

  result of KSM’s material breaches of the KSM Agreement

        WHEREFORE Plaintiff Hemostemix Inc., demands judgment be entered in

  its favor and against Makofka and KSM for the full value of its trade secrets and

  proprietary data misappropriated by Makofka, including the full value of the benefits

  and improvement obtained by Makofka while using same, in an amount to be

  determined at trial but in any event not less than $46 million in actual damages and

  not less than $300 million for Hemostemix’s inability to take its ACP-01 therapy to

  market due to the foregoing conduct. Hemostemix further seeks an award to

  Hemostemix of its reasonable attorneys’ fees and costs, an order for a preliminary

  and permanent injunction ordering the immediate return of all Hemostemix IP and

  other assets, and all other and such further relief as this Court deems just and proper

  under the circumstances.




                                           155
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 156 of 187 PageID 156




                                     COUNT XI
                          BREACH OF FIDUCIARY DUTY
                            (Against Defendant Makofka)

        572. Hemostemix hereby realleges and incorporates as if fully set forth

  herein paragraphs 1 through 428 above.

        573. Makofka served as President and CEO of Hemostemix.

        574. At all times serving in those roles, Hemostemix placed its trust and

  confidence in Makofka appointing him to executive level positions with their

  attendant responsibilities. In doing so, Hemostemix expected and entrusted that

  Makofka would serve in such capacity in its best interests and those of shareholders.

  Similarly, Hemostemix expected and trusted Makofka would act to preserve and

  protect its IP and proprietary data in his capacity as CRO, CEO and President of

  Hemostemix. Makofka knowingly and voluntarily accepted Hemostemix’s trust and

  confidence and agreed to act in its best interest while working in his various positions

  or its IP and proprietary data.

        575. Makofka committed material breaches of his fiduciary duties owed to

  Hemostemix by engaging in overt conduct designed to harm Hemostemix while

  benefitting himself, Jed Wood, and entities and organizations in which they had

  personal and financial interests, including, without limitation:




                                            156
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 157 of 187 PageID 157




          a. orchestrating, planning, and engaging in a RICO and other conspiracy

             with Jed Wood and the other RICO defendants to harm Hemostemix in

             order to take control of its valuable IP and other property;

          b. and fulfilling Serving simultaneously as President and CEO of both

             Hemostemix and Aspire and, despite disclosure of his dual and

             competing roles, subordinating Hemostemix’s interests to those of

             Aspire;

          c. failing and refusing to fulfill one of his principal responsibilities as

             CRO, President and CEO of Hemostemix to raise capital financing for

             Hemostemix to fund the Clinical Trial;

          d. providing substandard and negligent service as CRO, President and

             CEO of Hemostemix;

          e. steering Hemostemix to financing arrangements with entities and

             individuals in or with whom Makofka had or shared financial and

             business interests on terms unfavorable to Hemostemix that were

             designed instead to benefit Makofka or entities or individuals in or with

             whom Makofka had or shared financial and business interests;

          f. misappropriating and diverting funds from Hemostemix to Makofka,

             Jed Wood and the other RICO Conspiracy Defendants while

             amplifying the debt load and obligations on Hemostemix,

                                         157
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 158 of 187 PageID 158




          g. orchestrating and receiving payments from Hemostemix as an

             interested-party to each of the predatory “Loan-to-Own” transactions;

          h. defrauding and misleading Hemostemix’s Board and shareholders;

          i. making unilateral sale and assignment of Hemostemix debt to entities

             or individuals in or with whom Makofka shared financial and business

             interests;

          j. disclosing and failing to treat as confidential the confidential

             proprietary, business information, and trade secrets of Hemostemix

             without authority and for the purpose of harming Hemostemix and

             bolstering Aspire’s interests;

          k. steering contracts from Hemostemix affiliates and contractors to Aspire

             in order to benefit Aspire and provide Makofka and individuals and

             entities with and in whom Makofka shared financial and business

             interests more direct access to Hemostemix’s IP and other confidential,

             proprietary business information in order to ultimately convert,

             misappropriate and steal such information;

          l. issuing false and materially misleading press releases about

             Hemostemix’s financial health in order to cause investor aversion and

             impair Hemostemix’s ability to secure new capital financing;



                                         158
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 159 of 187 PageID 159




          m. interfering with, misappropriating and stealing Hemostemix’s vendor,

             consultant and clinical trial site contracts and relationships;

          n. misappropriating and stealing Hemostemix’s IP and other property;

          o. covering up and/or fraudulently concealing the misappropriation and

             theft of Hemostemix’s IP and other property;

          p. profiteering and profiting by securing control over the management and

             finances of Hemostemix,

          q. intentionally and knowingly impairing Hemostemix’s financial

             condition;

          r. engaging in self-dealing transactions designed to benefit Makofka, Jed

             Wood and the other RICO Conspiracy Defendants at the expense of

             Hemostemix;

          s. engaging in bank, mail and wire fraud to secure control over

             Hemostemix’s liquid assets and IP;

          t. taking possession and physical custody over Hemostemix’s IP; and

          u. while still serving as the titular CEO of Hemostemix, following his

             resignation, unlawfully and without authority accessing, and/or

             directing Cooper and other to unlawfully and without authority to

             access Hemostemix’s computer network and server, to hard-code

             emails to automatically be forwarded from the Hemostemix email

                                          159
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 160 of 187 PageID 160




               addresses to an Aspire email address, and continue to steal sensitive,

               proprietary trade secret and other information.

        576. Makofka’s actions and omissions alleged above were unlawful acts that

  he took in furtherance of the Conspiracy and to realize its primary purpose.

        577. As a direct and proximate result of Makofka’s breach of his fiduciary

  duties, Hemostemix has suffered and accrued damages that will continue to accrue

  over time.

        WHEREFORE, Hemostemix hereby demands judgment be entered in its

  favor and against Makofka and seeks monetary damages against Makofka in an

  amount to be determined at trial but in any event, not less than $46 million in actual

  damages and not less than $300 million for Hemostemix’s inability to take its ACP-

  01 therapy to market due to the foregoing conduct. Hemostemix further seeks an

  award to Hemostemix of its reasonable attorneys’ fees and costs, an order for a

  preliminary and permanent injunction ordering the immediate return of all

  Hemostemix IP and other assets, and all other and such further relief as this Court

  deems just and proper under the circumstances.

                               COUNT XII
          AIDING AND ABETTING BREACH OF FIDUCIARY DUTY
                      (Against Defendant Jed Wood)

        578. Hemostemix hereby realleges and incorporates as if fully set forth

  herein paragraphs 1 through 428 above.

                                           160
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 161 of 187 PageID 161




        579. Jed Wood has had a close business partnership with Makofka for years.

        580. Jed Wood was an original member and organizer of the RICO

  conspiracy.

        581. As set forth above, Makofka executed multiple predicate acts in

  violation of his fiduciary duty of care and loyalty to Hemostemix, including without

  limitation:

            a. orchestrating, planning, and engaging in a RICO and other conspiracy

                with Jed Wood and the other RICO defendants to harm Hemostemix in

                order to take control of its valuable IP and other property;

            b. and fulfilling Serving simultaneously as President and CEO of both

                Hemostemix and Aspire and, despite disclosure of his dual and

                competing roles, subordinating Hemostemix’s interests to those of

                Aspire;

            c. failing and refusing to fulfill one of his principal responsibilities as

                CRO, President and CEO of Hemostemix to raise capital financing for

                Hemostemix to fund the Clinical Trial;

            d. providing substandard and negligent service as CRO, President and

                CEO of Hemostemix;

            e. steering Hemostemix to financing arrangements with entities and

                individuals in or with whom Makofka had or shared financial and

                                            161
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 162 of 187 PageID 162




             business interests on terms unfavorable to Hemostemix that were

             designed instead to benefit Makofka or entities or individuals in or with

             whom Makofka had or shared financial and business interests;

          f. misappropriating and diverting funds from Hemostemix to Makofka,

             Jed Wood and the other RICO Conspiracy Defendants while

             amplifying the debt load and obligations on Hemostemix,

          g. orchestrating and receiving payments from Hemostemix as an

             interested-party to each of the predatory “Loan-to-Own” transactions;

          h. defrauding and misleading Hemostemix’s Board and shareholders;

          i. making unilateral sale and assignment of Hemostemix debt to entities

             or individuals in or with whom Makofka shared financial and business

             interests;

          j. disclosing and failing to treat as confidential the confidential

             proprietary, business information, and trade secrets of Hemostemix

             without authority and for the purpose of harming Hemostemix and

             bolstering Aspire’s interests;

          k. steering contracts from Hemostemix affiliates and contractors to Aspire

             in order to benefit Aspire and provide Makofka and individuals and

             entities with and in whom Makofka shared financial and business

             interests more direct access to Hemostemix’s IP and other confidential,

                                         162
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 163 of 187 PageID 163




             proprietary business information in order to ultimately convert,

             misappropriate and steal such information;

          l. issuing false and materially misleading press releases about

             Hemostemix’s financial health in order to cause investor aversion and

             impair Hemostemix’s ability to secure new capital financing;

          m. interfering with, misappropriating and stealing Hemostemix’s vendor,

             consultant and clinical trial site contracts and relationships;

          n. misappropriating and stealing Hemostemix’s IP and other property;

          o. covering up and/or fraudulently concealing the misappropriation and

             theft of Hemostemix’s IP and other property;

          p. profiteering and profiting by securing control over the management and

             finances of Hemostemix,

          q. intentionally and knowingly impairing Hemostemix’s financial

             condition;

          r. engaging in self-dealing transactions designed to benefit the Makofka,

             Jed Wood and the other RICO Conspiracy Defendants at the expense

             of Hemostemix;

          s. engaging in bank, mail and wire fraud to secure control over

             Hemostemix’s liquid assets and IP;

          t. taking possession and physical custody over Hemostemix’s IP; and

                                          163
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 164 of 187 PageID 164




            u. while still serving as the titular CEO of Hemostemix, unlawfully and

               without authority accessing, and/or directing Cooper and other to

               unlawfully and without authority to access Hemostemix’s computer

               network and server, to hard-code emails to automatically be forwarded

               from the Hemostemix email addresses to an Aspire email address, and

               continue to steal sensitive, proprietary trade secret and other

               information.

        582. At all times, Jed Wood was aware of, had knowledge of, encouraged,

  supported, facilitated, funded and otherwise worked closely with Makofka to ensure

  Makofka was able to execute the numerous foregoing acts in violation of Makofka’s

  fiduciary duty.

        583. Jed Wood rendered substantial assistance to Makofka in Makofka’s

  execution of the above predicate acts of wrongdoing, including without limitation,

  providing all necessary financing to Makofka, leveraging the entities under Jed

  Wood’s control in the Wood Group Family Office including JMWI, Wood Capital,

  and REJ, and to such extent, Makofka was able to fully execute on his actions in

  violation of his fiduciary duty.

        WHEREFORE, Hemostemix hereby demands judgment be entered in its

  favor and against Jed Wood and seeks monetary damages against Jed Wood in an

  amount to be determined at trial but in any event, not less than $46 million in actual

                                           164
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 165 of 187 PageID 165




  damages and not less than $300 million for Hemostemix’s inability to take its ACP-

  01 therapy to market due to the foregoing conduct. Hemostemix further seeks an

  award to Hemostemix of its reasonable attorneys’ fees and costs, an order for a

  preliminary and permanent injunction ordering the immediate return of all

  Hemostemix IP and other assets, and all other and such further relief as this Court

  deems just and proper under the circumstances.

                                COUNT XIII
                        BREACH OF FIDUCIARY DUTY
                          (Against Defendant Jacobs)

        584. Hemostemix hereby incorporates and realleges as if fully set forth

  herein paragraphs 1 through 428 above.

        585. Jacobs served as President and CMO of Hemostemix and, as such,

  owed fiduciary duties to Hemostemix. By his acceptance of these positions, Jacobs

  agreed to act in accordance with the fiduciary duties he owed to Hemostemix.

        586. Jacobs committed a material breach of his fiduciary duty of loyalty

  owed to Hemostemix by acting in a disloyal and self-interested manner upon his

  resignation, including but not limited to: (a) joining the RICO Conspiracy and

  providing material support to Makofka and Jed Wood in furtherance of the

  Conspiracy; (b) failing to advise Hemostemix or provide any advance notice of his

  intention to resign, conduct that directly harmed the interests and operations of

  Hemostemix for his own personal benefit as Jacobs failed to allow sufficient time

                                           165
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 166 of 187 PageID 166




  for Hemostemix to locate adequate replacements for either of Jacob’s executive-

  level positions; and (c) aligning himself Aspire and provided material support for

  Aspire’s, Makofka’s and Jed Wood’s theft, misappropriation, and improper

  retention of Hemostemix’s property for their own use and benefit.

        587. As a direct and proximate result of Jacob’s breach of fiduciary duty,

  Hemostemix suffered and accrued damages as Jacobs’ sudden departure caused

  substantial operational inefficiencies and threatened the Clinical Trial that was

  Jacobs’ primary concern and responsibility as CMO. Hemostemix suffered further

  damages for the costs incurred to location and train two qualified replacements for

  his former positions.

        WHEREFORE Plaintiff Hemostemix Inc. demands judgment be entered in its

  favor and against Jacobs for the full value of its damages suffered as a direct and

  proximate result of Defendant Jacob’s breaches the fiduciary duties he owed to it in

  an amount to be determined at trial but in any event not less than $46 million in

  actual damages and not less than $300 million for Hemostemix’s inability to take its

  ACP-01 therapy to market due to the foregoing conduct. Hemostemix further seeks

  an award to Hemostemix of its reasonable attorneys’ fees and costs pursuant to the

  indemnification provision of the Jacobs Agreement, and all other and such further

  relief as this Court deems just and proper under the circumstances.



                                          166
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 167 of 187 PageID 167




                                  COUNT XIV
                                    FRAUD
                   (Against Defendants Makofka and Jed Wood)

        588. Hemostemix hereby realleges and incorporates as if fully set forth

  herein paragraphs 1 through 428 above.

        589. Makofka and Jed Wood engaged in fraud to mislead the Board. In

  particular, Makofka and Jed Wood falsely advised the Board, on which the Board

  relied to Hemostemix’s detriment thereon, that entering into the Drive Capital

  Agreement and KSM Agreement were in Hemostemix’s best interest. In reality, the

  intent and design by Makofka and Jed Wood of those agreements was to give them

  access to and control over Hemostemix’s operations and IP in furtherance of the

  overall scheme to impair Hemostemix financially, steal Hemostemix’s IP and other

  assets and ultimately take control of Hemostemix and its operations.

        590. Makofka and Jed Wood engaged in fraud when they advised the Board

  as part the proposed restructuring and reorganization, on which the Board relied to

  Hemostemix’s detriment thereon, that winding up Kwalata and transferring the IP

  ownership rights from Kwalata to Hemostemix was in Hemostemix’s best interests.

  In reality, the intent and design by Makofka and Jed Wood was to not to benefit

  Hemostemix but to consolidate ownership of the IP within Hemostemix, over which

  Makofka and Jed Wood exercised virtually total control and position himself and

  Jed Wood to seize control of Hemostemix’s IP.

                                           167
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 168 of 187 PageID 168




        591. Makofka and Jed Wood engaged in fraud when they advised the Board

  as part the proposed restructuring and reorganization, on which the Board relied to

  Hemostemix’s detriment thereon, that winding up HEM-Israel and moving all

  manufacturing operations to Aspire, which had no experience, infrastructure or

  know-how to handle a clinical trial manufacturing operation of any scale. In reality,

  the intent and design by Makofka and Jed Wood was not to benefit Hemostemix but

  to consolidated all manufacturing operations over the keystone therapy product in

  Aspire, to benefit Makofka and Jed Wood.

        592. Makofka and Jed Wood engaged in fraud when they advised the Board,

  on which the Board relied to Hemostemix’s detriment thereon, that Hemostemix

  needed “emergency funding” and, thus, must enter into the 2017 Loan-to-Own

  scheme. In reality, the 2017 Loan-to-Own scheme had commercially unreasonable

  terms, benefit only Makofka and Jed Wood while increased Hemostemix’s debt

  obligations with no material benefit to Hemostemix.

        593. Makofka and Jed Wood engaged in fraud when they advised the Board,

  on which the Board relied to Hemostemix’s detriment thereon, that Hemostemix

  needed additional “emergency funding” and it was in Hemostemix’s best interest to

  enter into the 2017 Wood Capital Loan. In reality, the 2017 Wood Capital Loan was

  secured by all Hemostemix assets, increased Hemostemix’s secured debt

  obligations, impaired Hemostemix financially, impeded its ability to obtain

                                          168
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 169 of 187 PageID 169




  financing from other outside sources, and resulted in no material benefit to

  Hemostemix. In fact, as Makofka and Jed Wood were aware, more than half of the

  funds allocated through the Wood Capital Loan were used to pay Wood Capital to

  benefit Jed Wood and Makofka.

        594. Makofka and Jed Wood engaged in fraud when they advised the Board,

  on which the Board relied to Hemostemix’s detriment thereon, that Hemostemix

  should enter into the Manufacturing Agreement and Original License Agreement for

  no consideration or benefit to Hemostemix. In reality, the intent and design by

  Makofka and Jed Wood of those agreements was to give them access to and control

  over Hemostemix’s manufacturing and licensing operations and rights, access to and

  control over Hemostemix’s IP and proprietary clinical trial data, with no material

  benefit to Hemostemix.

        595. Makofka and Jed Wood engaged in fraud when they falsely held

  themselves out, and directed Jacobs, Cooper, and others to hold themselves out, as

  authorized representatives and agents of Hemostemix to act on behalf of

  Hemostemix after Makofka’s resignation as CEO, after termination of the KSM

  Agreement, after termination of the Jacobs Agreement, in order to lure, solicit, and

  induce vendors, consultants and contractors, including without limitation Medrio,

  Accudata and Anju, to leave their contractor, consultant, or vendor relationship with

  Hemostemix in favor of Aspire, and on which the contractors, consultants and

                                          169
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 170 of 187 PageID 170




  vendors relied to Hemostemix’s detriment thereon. In reality, the intent and design

  by Makofka and Jed Wood, and their agents, was to benefit Makofka, Jed Wood and

  Aspire, to harm Hemostemix and undermine its operations and ability to continue

  conducting the Clinical Trial.

        596. Makofka engaged in fraud when he purported to provide full time and

  attention to his duties as CRO, CEO and President of Hemostemix and received

  compensation equivalent to full time service. The Board relied to Hemostemix’s

  detriment on Makofka’s representations. In reality, Makofka dedicated very little of

  his time to services for Hemostemix, prioritized Aspire’s interests and subordinated

  Hemostemix’s interests. Despite this, he continued to receive full-time equivalent

  compensation, thereby defrauding Hemostemix of tens of thousands of dollars in

  unearned compensation.

        597. Makofka and Jed Wood engaged in fraud when they advised the Board,

  on which the Board relied to Hemostemix’s detriment thereon, that Hemostemix

  needed additional “emergency funding” and it was in Hemostemix’s best interest to

  enter into the 2019 Wood Debenture and 2019 Wood Loan-to-Own. In reality, the

  2019 Wood Debenture and 2019 Wood Loan-to-Own were had commercially

  unreasonable terms, were secured by all Hemostemix assets, increased

  Hemostemix’s secured debt obligations, impaired Hemostemix financially, impeded



                                          170
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 171 of 187 PageID 171




  its ability to obtain financing from other outside sources, and resulted in no material

  benefit to Hemostemix.

        598. Makofka and Jed Wood engaged in fraud when they advised the Board,

  on which the Board relied to Hemostemix’s detriment thereon, that Hemostemix

  should enter into the Amended License Agreement for no consideration or benefit

  to Hemostemix. The Amended License Agreement imposed drastically unfavorable

  and commercially unreasonable terms on Hemostemix, essentially stripped

  Hemostemix functionally of any oversight or ownership rights over its IP and control

  over its licensing activities, and provided no financial benefit whatsoever to

  Hemostemix. In reality, the intent and design by Makofka and Jed Wood of the

  Amended License Agreement was to give them full and complete access to and

  control over Hemostemix’s manufacturing and licensing operations and rights, and

  access to and control over Hemostemix’s IP and proprietary clinical trial data.

  Hemostemix received no material benefit.

        599. Makofka and Jed Wood engaged in fraud when they misled

  shareholders by failing to disclose material information and changed information in

  the consolidated financial statements in 2019, which they had an obligation to do,

  including omitting disclosure about a demand by Jed Wood to collect principal and

  interest on the 2019 Wood Loan-to-Own, all the while not paying Hemostemix $1



                                           171
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 172 of 187 PageID 172




  million (USD) as required by the Condition Precedent 1 of the Amended License

  Agreement.

        600. Makofka and Jed Wood engaged in fraud when, after failing to satisfy

  Condition Precedent 1 and knowing they could not obtain Board approval of any

  extension of the Condition Precedent Satisfaction Date, they manufactured the Sham

  Addendum and sought to pass it off to new management and the reconstituted Board

  as a valid and enforceable modification of the Amended License Agreement which

  would allow Makofka and Jed Wood to provide “emergency funding” to

  Hemostemix to pay its clinical trial costs. In reality, the intent and design by

  Makofka and Jed Wood of the Sham Addendum was to give them the ability to

  impose on Hemostemix one more round-trip funding scheme by which Makofka and

  Jed Wood purported, falsely, to be providing necessary financial assistance when, in

  fact, more than 75% of the funds were used to Makofka, Jed Wood, Jacobs, Aspire,

  and Aspire’s attorneys, none of which amounted to bona fide clinical trial costs,

  while providing no benefit whatsoever to Hemostemix.

        601. Makofka and Jed Wood further engaged in fraud when they falsely

  represented that the full $1 million payment was made to the benefit of Hemostemix

  by paying Hemostemix’s “creditors” thereby satisfying Condition Precedent 1 of the

  Amended License Agreement. In reality, among other payments never made, Aspire

  never made a $273,000 payment to Jed Wood related to the 2019 Wood Debenture

                                          172
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 173 of 187 PageID 173




  and/or 2019 Wood Loan-to-Own. It was not until the Canadian receivership court

  ordered the payment to be made in response to Jed Wood’s receivership application

  demand was that payment made.          Accordingly, Jed Wood’s and Makofka’s

  contention that Aspire satisfied Condition Precedent 1 was and is false.

        602. Makofka and Jed Wood engaged in fraud when they directed Cooper

  and others to access, without authority, Hemostemix’s computer network and server,

  hard-code program its emails to automatically forward from the Hemostemix email

  addresses to an Aspire email address, to use those email addresses to falsely hold

  themselves out as Hemostemix representatives and agents, to steal sensitive,

  proprietary trade secret and other information, and to steal Hemostemix’s financial

  information and banking information.

        603. Makofka and Jed Wood engaged in fraud when they disseminated the

  false and misleading Trial Suspension Notice that Aspire was suspending the clinical

  trial of ACP-01 due to Hemostemix’s conduct through no fault of Aspire. In reality,

  the Trial Suspension Notice was not only false and misleading, as discussed above,

  but was issued without Aspire having any authority to do so. The intent and design

  by Makofka and Jed Wood was to falsely disparage Hemostemix, disrupt and

  sabotage the clinical trial, and further impair Hemostemix financially.

        604. Makofka and Jed Wood engaged in fraud when they issued the

  improper, false and misleading Aspire Press Release. In reality, no final analysis

                                          173
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 174 of 187 PageID 174




  was ever released, Aspire did not do so “under protest,” the report was unsigned and

  of no verifiable authenticity, and despite its false representations, neither Aspire nor

  any of its agents or representatives had any ownership rights to ACP-01 clinical trial

  data, the Hemostemix IP, or the results of any midpoint analysis. The Aspire Press

  Release further made false and fraudulent representations about the efficacy of ACP-

  01 and Aspire falsely held itself out as having authority to speak for or on behalf of

  Hemostemix or the clinical trial. The intent and design by Makofka and Jed Wood

  of issuing the Aspire Press Release was to falsely and fraudulently impugn and

  disparage Hemostemix and its management, falsely call into question and undermine

  ACP-01 and the clinical trial, and to drive the Hemostemix stock price down so that

  Hemostemix would be left with no choice but to cede and surrender to Makofka’s

  and Jed Wood’s extortionate, repressive and exploitive demands .

        605. Hemostemix and its Board relied to the detriment of Hemostemix on

  Makofka’s and Jed Wood’s false and fraudulent representations above, all of which

  harmed Hemostemix by undermining and impeding its operations and ability to

  continue conducting the Clinical Trial.

        606. Makofka and Jed Wood intended that their false and fraudulent

  statements, representations and/or material omissions would induce Hemostemix’s

  reliance thereon and take action to benefit Hemostemix to.



                                            174
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 175 of 187 PageID 175




        607. Hemostemix reasonably relied upon Makofka’s and Jed Wood’s false

  and fraudulent representations or material omissions and had no reason to believe

  Makofka’s representations were false.

        608. Hemostemix was entitled to rely on the false and fraudulent

  representations.

        609. As a direct and proximate result of Makofka’s and Jed Wood’s false

  and fraudulent representations or material omissions, Hemostemix has been injured.

        610. Hemostemix believed Makofka’s and Jed Wood’s false and fraudulent

  representations, and did not identify his material omissions, and in reasonable and

  justifiable reliance thereon, Hemostemix entered into various harmful and

  detrimental loan-to-own schemes, lopsided and damaging licensing and

  manufacturing agreements, contract services agreements, all designed to benefit

  Makofka and/or entities in which he had a financial interest, and harm Hemostemix.

        611. Makofka and Jed Wood showed willful, conscious, wanton, and

  reckless disregard for Hemostemix’s right and for the deleterious consequences and

  unjust hardship placed upon Hemostemix as a result of the false and fraudulent

  representations of Makofka.

        612. Hemostemix is entitled to recover any and all damages available to it

  in an amount to be determined at trial.



                                            175
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 176 of 187 PageID 176




        WHEREFORE Plaintiff Hemostemix Inc. demands judgment be entered in its

  favor and against Makofka and Jed Wood for the full value of its damages suffered

  as a direct and proximate result of Makofka’s and Jed Wood’s fraud in an amount to

  be determined at trial, but in any event not less than $46 million in actual damages

  and not less than $300 million for Hemostemix’s inability to take its ACP-01 therapy

  to market due to the foregoing conduct. Hemostemix further seeks an award to

  Hemostemix of its reasonable attorneys’ fees and costs, and all other and such further

  relief as this Court deems just and proper under the circumstances.

                               COUNT XV
       TORTIOUS INTERFERENCE WITH BUSINESS RELATIONSHIP
         (Against Defendants Makofka, Jed Wood, Jacobs, and Aspire)

        613. Hemostemix hereby realleges and incorporates as if fully set forth

  herein paragraphs 1 through 428 above.

        614. As alleged above, Hemostemix benefited from its actual and potential

  business relationship with third parties to this case. Such relationships include those

  between Hemostemix and the Clinical Trial sites, its relationship with Accudata

  Solutions, LLC, and its relationship with the FDA and its subsidiary parts.

        615. Aspire had actual knowledge of these and other relationships have

  provided services to Hemostemix the nature of which required them to communicate

  and work with them.



                                           176
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 177 of 187 PageID 177




        616. Aspire intentionally and unjustly interfered with and disrupted the

  business relationships between Hemostemix and its Clinical Trial sites by calling or

  otherwise providing a site with negative and false information regarding pendency

  or status of the Clinical Trial.

        617. Aspire intentionally and unjustly interfered with and disrupted the

  business relationships between Hemostemix and Accudata to which it fraudulently

  and falsely claimed to be the owner of Hemostemix’s property that Aspire knew at

  the time to be in Accudata’s possession and claiming owners sites by calling or

  otherwise providing a site with negative and false information regarding pendency

  or status of the Clinical Trial.

        618. Aspire intentionally and unjustly interfered with and disrupted the

  business relationships between Hemostemix and the FDA as a direct result of its

  fraudulent and false claim to be the owner of Hemostemix’s Clinical Trial data

  includes specific Phase II results in Accudata’s possession and control and which

  Hemostemix wrongly has been precluded from exercising or asserting any of its

  legal rights as the true owner of its property. Therefore, Aspire’s conduct has

  interference with its business relationship between Hemostemix by indefinitely

  delaying its review of the Midpoint Analysis that threaten its ability to properly

  proceed.



                                          177
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 178 of 187 PageID 178




        WHEREFORE Plaintiff Hemostemix Inc., demands judgment be entered in

  its favor and against Makofka, Jed Wood, Jacobs and Aspire for the full value of its

  damages incurred as a result of their substantial and unjustified tortious interference

  with Hemostemix’s business relationships with the clinical trial sites, contractors

  and consultants such as Accudata, and shareholders, in an amount to be determined

  at trial but in any event not less than $46 million in actual damages and not less than

  $300 million for Hemostemix’s inability to take its ACP-01 therapy to market due

  to the foregoing conduct. Hemostemix further seeks an award to Hemostemix of its

  reasonable attorneys’ fees and costs, and all other and such further relief as this Court

  deems just and proper under the circumstances.

                                COUNT XVI
                              CONVERSION
  (Against Defendants Makofka, Jed Wood, Jacobs, Cooper, KSM, and Aspire)

        619. Hemostemix hereby realleges and incorporates as if fully set forth

  herein paragraphs 1 through 428 above.

        620. Hemostemix is the sole and rightful owner of all right, title and interest

  to its property described herein including but not limited to its IP and Clinical Trial

  data that it provided to Aspire.

        621. Hemostemix has the right to immediate possession, access and use of

  all IP and other property described herein due to its status as the sole and rightful

  owner of all right, title and interest to same.

                                             178
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 179 of 187 PageID 179




        622. Makofka, Jed Wood, Jacobs, Cooper, KSM and Aspire wrongfully

  deprived Hemostemix of its rights to immediate possession, access and use of its

  property as the sole and rightful owner of same by wrongfully retaining possession

  of same despite its full knowledge and aware of Hemostemix’s status as the owner

  of same.

        623. Makofka, Jed Wood, Jacobs, Cooper, KSM and Aspire are not

  authorized to possess Hemostemix property as the sole and rightful owner of same.

  Makofka, Jed Wood, Jacobs, Cooper, KSM and Aspire were expressly obligated to

  return such property upon termination of their agreements, which obligation

  survived such termination and thereby remains in full force and effect.

        624. Hemostemix properly has submitted multiple demands to Aspire for the

  immediate return of its property. To date, Makofka, Jed Wood, Jacobs, Cooper,

  KSM and Aspire have ignored Hemostemix’s demands and thus remains in

  unauthorized possess of same, harming Hemostemix by depriving it of the use and

  benefit of its property.

        625. Additionally, at the direction of Makofka and Jed Wood, Aspire

  misappropriated Hemostemix’s raw Clinical Trial statistics and data for sixty-five

  (65) patients, which Aspire then used to create ACT-20 purportedly to treat COVID-

  19 related pneumonia.



                                          179
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 180 of 187 PageID 180




        WHEREFORE Plaintiff Hemostemix Inc., demands judgment be entered in

  its favor and against Makofka, Jed Wood, Jacobs, Cooper, KSM and Aspire, for the

  full value of its property that Aspire has wrongfully converted by its continued and

  unauthorized possession of same even after Hemostemix properly demanded the

  immediate return of same, in an amount to be determined at trial but in any event

  not less than $46 million in actual damages and not less than $300 million for

  Hemostemix’s inability to take its ACP-01 therapy to market due to the foregoing

  conduct. Hemostemix further seeks an award to Hemostemix of its reasonable

  attorneys’ fees and costs, and all other and such further relief as this Court deems

  just and proper under the circumstances.           Hemostemix further demands

  disgorgement and recovery of all revenues resulting from Aspire’s development of

  ACT-20.

                                       COUNT XVII
                                BREACH OF CONTRACT
                           (Against Defendants Jacobs and AJIA)

        626. Hemostemix realleges and incorporates as if fully set forth herein

  paragraphs 1 through 428 above.

        627. During the period covered by this Complaint, Jacobs served as

  Hemostemix’s President and CMO. The terms and conditions of Jacob’s position at

  Hemostemix are set forth in the Jacobs Agreement between Hemostemix, AJIA and

  its principal, Jacobs.

                                           180
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 181 of 187 PageID 181




        628. The Jacobs Agreement was a valid and enforceable contract by and

  between Hemostemix and AJIA and its principal, Jacobs.

        629. The Jacobs Agreement contained a noncompete provision whereby

  Jacobs and AJIA covenanted to Hemostemix not to obtain employment with a

  competitor subject to the limitations set forth therein. This provision expressly

  provides that the benefits and obligation therein survive after termination of the

  Jacobs Agreement for a set period of time.

        630. Pursuant to the Jacobs Agreement, Jacobs and AJIA were obligated to

  protect and properly treat Hemostemix’s confidential data, information, material or

  processes owned by Hemostemix and revealed or disclosed to him in the course of

  his employment. This obligation survived termination or expiration of the Jacobs

  Agreement.

        631. Jacobs and AJIA breached the Jacobs Agreement by violating his

  covenant not to compete immediately upon his resignation. By resigning his

  position to join Aspire, a direct competitor, Jacobs breached the noncompete

  provision in his contract as well his fiduciary duties.

        632. Jacobs and AJIA further breached his employment agreement by failing

  to protect and properly maintain the confidential information owned and belonging

  to Hemostemix by engaging in or allowing any or all of Makofka, Wood, KSM, and

  Aspire to misappropriate same.

                                            181
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 182 of 187 PageID 182




        633. Jacobs’ and AJIA’s failures and refusals to uphold his obligations to

  Hemostemix under the Jacobs Agreement constitute material breaches of same.

        634. Hemostemix has suffered significant damages as a direct and proximate

  result of Jacobs’ and AJIA’s material breaches of the Jacobs Agreement.

        WHEREFORE Plaintiff Hemostemix Inc. demands judgment be entered in its

  favor and against Jacobs for the full value of its damages incurred as a result of

  Jacobs’ breaches of the Jacobs Agreement, in an amount to be determined at trial but

  in any event not less than $46 million in actual damages and not less than $300

  million for Hemostemix’s inability to take its ACP-01 therapy to market due to the

  foregoing conduct. Hemostemix further seeks an award to Hemostemix of its

  reasonable attorneys’ fees and costs pursuant to the indemnification provision of the

  Jacobs Agreement, and all other and such further relief as this Court deems just and

  proper under the circumstances.

                            COUNT XVIII
       PETITION FOR REPLEVIN WITH NOTICE - § 78.067, FLORIDA
                             STATUTES
                      (Against Defendant Aspire)

        635. Hemostemix hereby incorporates and realleges as if fully set forth

  herein paragraphs 1 through 428 above.

        636. Hemostemix brings this petition for replevin with notice pursuant to

  Fla. Stat. §§ 78.01, 78.03-04, 78.055, 78.065-67 and Fed. R. Civ. P. 64.


                                           182
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 183 of 187 PageID 183




        637. Consistent with and further to the factual allegations above,

  Hemostemix seeks to replevy from Aspire that Hemostemix property wrongfully

  retained by Aspire, as follows: all Clinical Trial Data and confidential information

  presently possessed and hereafter acquired by Aspire including, without limitation,

  all documents, records, physical materials, retains, samples, compilations and/or any

  other tangible property related to the Clinical Trial, all of which Aspire has and

  continues to wrongfully possess and control and refuses to return same to

  Hemostemix despite its repeated and proper demands that it do so.

        638. Hemostemix reasonably estimates that its property described herein has

  a commercial value of at least $300 million.

        639. According to Cooper’s prior sworn testimony, Aspire wrongfully keeps

  and holds Hemostemix’s property identified above at its warehouse facility located

  in Orlando, Florida. To the best of Hemostemix’s knowledge, information and

  belief, Aspire’s Orlando facility is located at 2100 N. Alafaya Trail, Suite #600,

  Orlando, Florida 32826.

        640. Hemostemix is the sole and rightful owner of its property described

  above and, as such, Hemostemix is entitled to immediate possession of its property

  that Aspire has and continues to wrongfully possess and control and refuses to return

  same to Hemostemix despite its repeated and proper demands that it do so.

  Hemostemix’s ownership and possessory rights to its property described herein are

                                          183
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 184 of 187 PageID 184




  evidenced by the Original License Agreement and Manufacturing Agreement, as

  well as other agreements identified above, both of which expressly acknowledge and

  recognize Hemostemix’s ownership and possessory rights to same. Hemostemix’s

  right to immediate possession of its property described herein is evidenced by the

  Original License Agreement and the Manufacturing Agreement, both of which

  require Aspire to return Hemostemix’s property upon their respective expiration or

  termination.

        641. The property Hemostemix seeks to be replevied is being wrongfully

  retained by Aspire. Aspire lost its right to use and possess Hemostemix’s property

  upon termination or expiration of the Original License Agreement and the

  Manufacturing Agreement, after which Aspire was obligated to return all of

  Hemostemix’s property to Hemostemix. Aspire has and continues to wrongfully

  possess and control Hemostemix’s property described herein, which it refuses to

  return to Hemostemix despite its repeated and proper demands that it do so.

        642. The property Hemostemix seeks to be replevied was not and has not

  been taken for a tax, assessment or fine pursuant to applicable law.

        643. The property Hemostemix seeks to be replevied was not and has not

  been taken under execution or attachment against the property of Aspire.

        WHEREFORE Plaintiff Hemostemix Inc. respectfully requests that this

  Court: (a) examine this Complaint on its face and, without consideration of further

                                          184
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 185 of 187 PageID 185




  or additional evidence, issue an Order to Show Cause to Defendant, Aspire Health

  Sciences, LLC, and schedule a hearing on the Order to Show Cause; (b) after the

  hearing, Hemostemix respectfully requests that this Court enter an Order authorizing

  and directing the Clerk of Court to issue a pre-judgment writ of replevin requiring

  the immediate return of Hemostemix’s property described herein and precluding

  Aspire from taking any action to interfere with such Order, and further authorize and

  direct the United States Marshal to forthwith seize Hemostemix’s property its seeks

  to be relieved and further authorize the United States Marshall to cause Aspire’s

  house, building, warehouse, commercial facility or enclosure to be broken open and

  make replevin according the Writ, and, if necessary, further authorizing the United

  States Marshall to take to his or her assistance the power of the state and/or county;

  (c) after the seizure, and during the pendency of this action, Hemostemix respectfully

  requests that this court authorize Hemostemix to use and enjoy its possessory rights

  to the property described herein; and (d) that this Court enter a final judgment in

  Hemostemix’s favor for its possession of the property sought to be replevied and

  described herein, award Hemostemix its attorneys’ fees and costs incurred to obtain

  the replevin of its property, along with all other and such further relief as this Court

  deems just and appropriate.




                                            185
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 186 of 187 PageID 186




                              PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Hemostemix Inc. respectfully requests that this

  Honorable Court grant relief in its favor and against Defendants as follows:

           a. compensatory damages against Defendants jointly and severally

              exceeding $75,000.00, with interest at the maximum amount permitted

              by law but, in any event, not less than $46 million in actual damages

              and not less than $300 million for Hemostemix’s inability to take its

              ACP-01 therapy to market due to the foregoing conduct;

           b. statutory treble damages;

           c. reasonable attorneys’ fees, costs, and other expenses as permitted by

              law;

           d. indemnification of attorneys’ fees, costs and other expenses as against

              Jacobs pursuant to the Jacobs Agreement;

           e. a preliminary and permanent injunction ordering the immediate return

              of all IP and other confidential information and assets of Hemostemix

              held by or at the direction Makofka, Jed Wood, Jacobs, Cooper, KSM

              and Aspire;

           f. disgorgement and recovery of all revenues resulting from Aspire’s

              development of ACT-20; and

           g. such other and further relief as the Court may deem just and proper.

                                          186
Case 6:21-cv-02036-WWB-EJK Document 1 Filed 12/03/21 Page 187 of 187 PageID 187




                                 JURY DEMAND
        Hemostemix hereby demands trial by jury as to all issues and claims in this

  action triable by jury.

  Dated: December 3, 2021                      Respectfully submitted,
                                               DLA PIPER LLP (US)

                                               /s/ Christopher Oprison
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                                         187
